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                                     No. 1:15-CV-42

                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION
     ________________________________________________________________

                              MILTON DWAYNE GOBERT,

                                                        Petitioner,

                                             v.

                                  WILLIAM STEPHENS,

                                          Director, Texas Department of Criminal Justice,
                                          Institutional Division,

                                             Respondent.
     ________________________________________________________________

                             Petition for Writ of Habeas Corpus
      from a Capital Murder Conviction in the 331st Judicial District of Travis County

     ________________________________________________________________

                  PETITION FOR WRIT OF HABEAS CORPUS
     ________________________________________________________________


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Court-Appointed Attorneys for Petitioner Milton Dwayne Gobert
       __________________________________________________________

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                PETITION FOR WRIT OF HABEAS CORPUS
    ________________________________________________________________

      TO THE HONORABLE U.S. DISTRICT COURT:

      NOW COMES, MILTON DWAYNE GOBERT, the Petitioner, and

respectfully submits his Petition for Writ of Habeas Corpus, asking the Court to

issue a writ ordering his release from the Institutional Division of the Texas

Department of Criminal Justice. This application follows his conviction and death

sentence in the 403rd Judicial District of Travis County, cause number D-1-06-

904006, styled State v. Milton Dwayne Gobert.

      Gobert is illegally restrained of his liberty by the Director of the Texas

Department of Criminal Justice – Institutional Division, by virtue of a sentence and

judgment imposing the penalty of death in the aforementioned case.




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                      CERTIFICATE OF INTERESTED PARTIES

      The undersigned counsel of record for Petitioner, MILTON DWAYNE

GOBERT, certifies that the following listed persons have an interest in the

outcome of this case. These representations are made in order that this court may

evaluate possible disqualifications or recusal.

                                   Interested Parties
         Individual                    Address                     Participation


Milton Dwayne Gobert         Polunsky Unit                 Petitioner

Mr. Seth Kretzer             The Lyric Center              Appointed attorney for
                             440 Louisiana Street          current federal habeas
                             Suite 200
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Mr. Carlo D’Angelo           100 East Ferguson             Appointed attorney for
                             Suite 1210                    current federal habeas
                             Tyler, TX 75702

Leonard Martinez             812 San Antonio, Ste. 101     Trial Counsel
                             Austin, TX 78701
Kent Anschutz                1012 Rio Grande               Trial Counsel
                             Austin, TX 78701
Paul Anthony Quinzi          707 West 10th Street          Trial Counsel
                             Austin, TX 78701
Jon Evans                    806 West 11th Street          Trial Counsel
                             Austin, Texas 78701
Karyl Anderson Krug          812 San Antonio, Suite G-12   Counsel for Direct Appeal
                             Austin, TX 78701

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                                    Interested Parties
         Individual                       Address                Participation
John W. Stickels              P.O. Box 121431            State Writ Lawyer
                              770 North Fielder
                              Arlington, Texas 76012


                                         Respondent
Gary Cobb, Allison Wetzel     Travis County District     Assistant District Attorney
                              Attorney’s Office
                              509 West 11th Street
                              Austin, TX 78701
Corby Holcomb, Howard F.      Travis County District     Assistant District Attorney
‘Buddy’ Meyer,                Attorney’s Office
                              509 West 11th Street
                              Austin, TX 78701
              Judges
Honorable Bob Perkins         Judge Presiding, 331st     Trial Judge and State Habeas
                              Judicial District Court    Judge
                              Travis County Courthouse
                              1000 Guadalupe St,
                              Austin, TX 78701



                       DESIGNATION OF ABBREVIATIONS and
                       EXPLANATION OF THE TRIAL RECORD

      “RR” refers to reporter’s record from the state trial court. “CR” refers to

clerk’s record from state trial court.




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                        S TATEM ENT    OF    J URISDICTION


      This petition is submitted pursuant to 28 U.S.C. § 2254 et. seq., clause two

of the United States Constitution, and various amendments, including (but not

limited to) Amendments Five, Six, Eight, Nine, and Fourteen.




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                G OBERT ’ S AEDPA D EADLINE I S S ATISFIED

      Gobert’s direct appeal to the Court of Criminal Appeals (CCA) was decided

on November 23, 2011. Gobert v. State, No. AP-76,345, 2011 Tex. Crim. App.

Unpub. LEXIS 891 (Tex. Crim. App. 2011); 2011 WL 5881601. The Supreme

Court denied cert on October 1, 2012. Gobert v. Texas, 133 S. Ct. 103 (2012).

      Gobert’s state writ was filed on January 26, 2012. Ex Parte Gobert, 2012

WL 479689 (February 15, 2012) (granting a one-day extension due to inclement

weather outside of writ counsel’s control). The state district judge entered his

Findings of Fact and Conclusion of Law on October 15, 2014. The CCA denied

habeas relief on January 14, 2015. Ex Parte Gobert, No. WR-77,090-01 (Tex.

Crim. App. 2015). The actual order from the CCA reads, “SO ORDERED THIS

14th DAY OF JANUARY 2014”. But “2014” is clearly a typographical error, as

this was handed down in “2015” as confirmed by the docket sheet:

      DATE               EVENT TYPE

      1/14/15            11.071 WRIT DISP

      The state writ was pending until January 14, 2015, when the CCA ruled.

Gobert’s AEDPA deadline is therefore January 14, 2016. 28 U.S.C. 2244(d)(2);

see also Fields v. Johnson, 159 F.3d 914, 916 (5th Cir. 1998).




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         In an order dated February 26, 2015, this Court set a briefing deadline for

the initial writ of January 12, 2016. Doc. No. 10. This Court also permitted

Gobert to amend his writ by March 11, 2016.



                                                 EXHAUSTION

         Gobert states that most of the federal constitutional claims alleged herein

have been exhausted in proceedings before the Texas courts.1 The first exception is

a claim trained on Claim V, that state habeas counsel was ineffective in failing to

thoroughly investigate and raise the issue of trial counsel’s ineffective assistance of

counsel in failing to investigate Deputy Lass prior to calling her to testify.

         Second, an unexhausted Martinez v. Ryan claim exists with respect to Claim

VI, the failure of state habeas counsel to raise the issue of trial counsel’s

ineffective assistance of counsel in failing to file a motion for new trial in Mr.

Gobert’s case.

                                        Summary of Arguments

I.     The trial court’s finding that trial counsel was not deficient in failing to
interview Jason Gibson, who would have provided evidence of the existence of a
prior relationship between Gobert and Cotton, thereby allowing Gobert to rebut the
claim that he killed Cotton during the course of attempting to commit the robbery”


1
 The burden is on Respondents to demonstrate that Gobert failed to exhaust a particular claim. See, e.g., Johnson v.
Zerbst, 304 U.S. 458, 464 (1938); Esslinger v. Davis, 44 F.3d 1515, 1528 (11th Cir. 1995); Herbst v. Scott, 42 F.3d
902, 905 (5th Cir. 1995); English v. United States, 42 F.3d 473, 477 (9th Cir. 1994); Brown v. Maass, 11 F.3d 914,
914-15 (9th Cir. 1993); Harmon v. Ryan, 959 F.2d 1457, 1461 (9th Cir. 1992).

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was the product of an unreasonable analysis of the facts of this cause and how
those facts apply against the backdrop of Strickland.

II.    The trial court’s ruling denying this claim on the basis that Gibson’s
affidavit did not constitute “newly discovered” or “newly available” evidence and
that Gobert failed to demonstrate that this evidence would have had an impact on
the outcome of the case is the result of an unreasonable application of the well-
settled federal authorities set forth supra to the facts of this case.

III. The trial court’s ruling denying this claim on the basis that trial counsel’s
Wiggins investigation in this case was neither deficient nor prejudiced the outcome
of this case is the result of an unreasonable application of Strickland and Wiggins
to the facts in the prosecution of Gobert.

IV. The trial court’s ruling denying this claim on the basis that appellate counsel
was ineffective in failing to argue on appeal that: 1) it was not error to admit the
testimony of paramedic Brian Mason that Demetrius’s injuries were consistent
with someone trying to kill him; 2) it was not error to exclude the hearsay
testimony of Detective de los Santos under Crawford v. Washington; and 3) it was
not error to admit a video recording showing Demetrious’s physical condition as
he was being interviewed at the hospital, is the result of an reasonable application
of Strickland and Wiggins to the facts of this case.

V.     State habeas counsel was ineffective under Martinez v. Ryan for failing to
fully investigate and develop claim five in the state habeas writ addressing whether
trial counsel rendered ineffective assistance of counsel by failing to thoroughly
investigate the testimony of Tasha Lass prior to calling her as a defense witness
during the guilt/innocence phase of trial

V(a). The trial court’s FFCL that this claim was barred because Gobert’s appellate
counsel raised this claim on direct appeal and state habeas counsel failed to offer
new evidence and that trial counsel was nevertheless not ineffective for failing to
thoroughly investigate Lass is the result of a misapplication of the facts of this case
to well-settled federal law under Strickland.

VI. State habeas counsel was ineffective under Martinez v. Ryan for failing to
raise the issue of whether trial counsel rendered ineffective assistance of counsel
by failing to timely pursue the investigation and filing of a motion for new trial and
thereafter moving to withdraw five days prior to the filing deadline for said
motion.
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VII. Gobert’s death sentence was arbitrarily and capriciously assigned based on
the jury’s answer to the unconstitutionally vague future dangerousness issue.

VIII. Gobert’s Fourteenth Amendment due process rights were violated
under Apprendi because it put the burden of proving the mitigation special
issue on Gobert rather than requiring the State to make the finding beyond a
reasonable doubt.

IX. Gobert’s Fourteenth Amendment right to due process and Eight
Amendment right to be free from arbitrary and capricious punishments were
violated because the Texas death penalty statute lacks minimal standards for
a jury to determine who should live and who should die.

X.    Gobert’s Fourteenth Amendment due process rights and Eighth
Amendment rights were violated under Penry v. Johnson because the
mitigation special issue sends mixed signals.

XI. Texas’s 12-10 Rule as amended in 1991 violates the Eighth and
Fourteenth Amendments as construed by Mills v. Maryland and McKoy v.
North Carolina.

XXII. The CCA’s holding that Merillat’s testimony concerning specific acts of
violence by Gobert while incarcerated did not violate Gobert’s 8th Amendment
right to an individualized assessment of his future dangerousness was the product
of an unreasonable analysis of the facts of this cause and how those facts apply
against the backdrop of well settled Supreme Court precedent.

XIII. The CCA’s holding that Dr. Coon’s testimony rendering an opinion as to the
issue of future dangerousness based totally on hypothetical scenarios violates well
settled federal precedent under Daubert, offends Gobert’s 8th Amendment right to
an individualized assessment of his future dangerousness and was the product of an
unreasonable analysis of the facts of this case and how those facts apply against the
backdrop of well settled Supreme Court precedent.

XIV. The CCA’s holding that Article 37.071 is: 1) not “too broad” to guarantee
fair application of the death penalty; 2) not inadequate and unconstitutional
because the future dangerousness issue is submitted to the jury for determination,
but not set forth in the indictment; and 3) not unconstitutional even though it
permits unreliable evidence to suffice as the basis for a death verdict is all the

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product of an unreasonable analysis of the facts of this cause and how those facts
apply against the backdrop of well settled Supreme Court precedent.

XV. The CCA’s holding that trial counsel’s introductory questions expressing
concern about Gobert’s decision to testify and subject himself to cross-examination
was not constitutionally deficient performance under Strickland is the product of
an unreasonable application of the facts of this case to settled Supreme Court
precedent.

XVI. The CCA’s holding that after excising the Gobert’s confession, there was
still sufficient probable cause in the search warrant affidavits to support the second
search of his apartment and the search to obtain his DNA, is the product of an
unreasonable application of the facts of this case to settled Supreme Court
precedent.

                             P ROCEDURAL H ISTORY

      A.     Procedural History in State Court

             1.    Indictment

      On February 1, 2006, Gobert was charged in an Indictment of committing

the murder of Mel Kernena Cotton by stabbing with a knife, a deadly weapon, on

or about October 6, 2003. Two different death-eligibility theories were presented:

1) that the murder happened in the course of attempting to commit and committing

kidnapping and 2) that the murder happened in the course of attempting to commit

and committing robbery:




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             2.    Extensive Litigation of Suppression Issue

      Gobert was arrested for a parole violation and for the assault of a woman

named Christine or Christina. Following his arrest, Gobert was questioned by

Austin detectives Burgh and Scanlon. Burgh began the interview by advising

Gobert of his constitutional and statutory rights under Miranda v. Arizona, 384

U.S. at 479 (1966); TEX. CODE CRIM. PROC. ANN. art. 38.22, §§ 2, 3 (West 2005).

Asked if he understood his rights, Gobert replied that he did and then said, “I don’t

want to give up any right, though, if I don’t got no lawyer.” Scanlon immediately

asked, “You don’t want to talk?” The question was repeated by Burgh, “You don’t

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want to talk to us?” Gobert answered, “I mean, I’ll talk to y’all. I mean, I know,

you know, what she had said about it, you know. I’ll speak with y’all, but

(inaudible), man. I mean, I’ll speak with y’all, you know.” Scanlon then said,

“Okay, signing this—signing this is not giving up your right. Signing this is

acknowledging that this was read to you.” He then added, “Okay? Your choice to

talk to us is different. This—all this is, is acknowledging that you were warned.”

      Burgh then began to question Gobert regarding his relationship with

Christina. After a number of questions were asked and answered, Scanlon

interrupted to ask, “I want to clear something up, though, because earlier you said

you don’t want to give up your right to a lawyer. I want you—I want you—I want

to clear up the fact that you want to talk to us about this. Okay? You understand

what I’m saying?” Gobert answered, “Yeah.” Scanlon continued, “I want to clear it

up. I mean, that’s—that’s what you want to do, right?” Gobert again answered,

“Yeah.” The interrogation continued for several hours and ultimately resulted in

appellant confessing to the murder of Mel Kernena Cotton.

      Gobert’s motion to suppress trained on the statement, “I don’t want to give

up any right, though, if I don’t got no lawyer.” The trial court concluded that this

was an unequivocal invocation of the right to counsel during questioning. The

State appealed, and originally the CCA affirmed. State v. Gobert, 228 S.W.3d 221

(Tex. Crim. App.-April 19, 2007).

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      But the CCA withdrew this opinion on October 4, 2007. 2007 WL 4234657.

In an opinion dated February 1, 2008, the CCA reversed itself and remanded, and

held that the statement “I don’t want to give up any right, though, if I don’t got no

lawyer” was not an unequivocal request for counsel. State v. Gobert, 244 S.W.3d

861 (Tex. Crim. App. – 2008).

      But in an opinion January 28, 2009, the CCA held that this statement was a

clear and unequivocal invocation of the right to counsel, so the interrogation had to

cease. State v. Gobert, 275 S.W.3d 888 (Tex. Crim. App. – 2009). The trial

court’s order was reinstated and the case remanded.

               2.   Trial

      Voir dire commenced on January 19, 2010 (RR 17/17). The guilt/innocence

phase began on February 22, 2010 (RR 26/11) and concluded on March 2, 2010

(RR 32/134) with Gobert’s conviction. The punishment phase began on March 3,

2010 (RR 33/4). Thirty-four witnesses were called. The last punishment phase

witness was Gobert (38/41), but before he testified his lawyer said in the presence

of the jury:

      Mr. Martinez: Mr. Gobert asked, against the advice of counsel, he had
      asked that we reopen so that he might have an opportunity to address
      the jury.

      The Court: So you wish to make a motion to reopen?

      Mr. Martinez: I am being told that I must make a motion to reopen.

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      The Court: All right. Who will be [sic] the Defense be calling?

      Mr. Martinez: Mr. Gobert wants to take the stand.

(RR 38/40). On March 10, 2010, Gobert was sentenced to death (RR

38/280).


             3.     State Direct Appeal

      Gobert appealed, raising seven points of error: 1) notorious prison

investigator A.P. Merillat’s expert testimony concerning prison conditions and

opportunities for violence was not reliable or relevant to future-dangerousness

issue in penalty phase; 2) admission of an investigator’s testimony violated the

Eighth Amendment’s guarantee for individualized sentencing; 3) the admission of

forensic psychiatrist’s testimony concerning future dangerousness was error; 4) the

trial court abused its discretion in declining a longer mid-trial continuance of

sentencing proceeding so the defense could investigate its own witness, Tasha

Lass, who effectively became an adverse witness for the state; 5) trial counsel’s

failure to investigate Tasha Lass before calling her amounted to ineffective

assistance; 6) trial counsel’s punishment-phase closing argument expressing

disapproval about Gobert’s decision to testify against counsel’s advice was not the

result of any plausible trial strategy under the first prong of Strickland; and 7)



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search warrant affidavits did provide probable cause to search Gobert’s apartment

and car and to obtain his DNA.

      The CCA rejected each argument in an opinion dated November 23, 2011.

Gobert v. State, No. AP-76,345, 2011 Tex. Crim. App. Unpub. LEXIS 891 (Tex.

Crim. App. 2011); 2011 WL 5881601. Thereafter, Gobert petitioned the Supreme

Court for certiorari; relief was denied on October 1, 2012. 133 S.Ct. 103.

            4.     State Habeas

      The trial court appointed John Stickles to represent Gobert in his 11.071

habeas application. Twelve allegations contesting the validity of Gobert’s

conviction and sentence were presented; without holding a live evidentiary

hearing, the state trial court entered its FFCL denying relief on November 3, 2014.

On January 14, 2015, the CCA affirmed.

      B.    Procedural History in Federal Court

      On January 21, 2015, Gobert’s state habeas counsel filed a motion with this

Court requesting the appointment of federal habeas counsel (Doc. 1). On January

26, 2015, this Court appointed the undersigned counsel (Doc. 4). On February 26,

2015, this Court entered a scheduling order and set the deadline for submission of

Gobert’s federal capital habeas writ for January 12, 2015, and any amendment to

the writ to be due on or before March 22, 2016. (Doc. 10).



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                            S TATEM ENT     OF   F ACTS

      The guilt/innocence and punishment facts are taken from the opinion of the

Texas Court of Criminal Appeals opinion rendered in this case.

A)    Guilt/Innocence Facts

      In the early hours of October 6, 2003, five-year-old Demetrius Cotton was

awakened by the sound of his mother, Mel Cotton, screaming from her bedroom.

He went into her room and saw a strange man there–“kind of tall, bald, and buff.”

He had a mustache and was wearing boots and boxers. He had gloves on his hands.

Demetrius saw his mom sitting on the edge of the bed with duct tape on her mouth;

the man was standing in front of her, stabbing her in the arms with a sharp knife.

She was trying to get away from him. She stood up, but then lost her balance and

fell. The man kept stabbing, so Demetrius “ran over and tried to pull him down by

his leg.” He said, “Stop,” but the man pushed him off, turned on the bedside light

and continued stabbing at his mom. The man told Demetrius, “sit down and shut

up,” so Demetrius sat down scared.

      Then the man put duct tape on Demetrius’s ankles and mouth. He told

Demetrius to get out of the room, so the child hopped out into the hallway. The

man locked the door when Demetrius tried to get back inside the bedroom. He

heard his mom scream, “Leave me alone,” but the man said, “Give me the money”

and “Where is it at in your purse?” Demetrius hopped into his room and sat on a

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pallet of blankets beside his bed. He heard the man take his mom’s phone and

“stomp on it” in the bathroom. The man also cut the telephone cord.

      Demetrius fell asleep, but he woke up when he heard the man come into his

room. The man “choked” Demetrius with both hands. Demetrius tried to scream,

but he couldn’t. He blacked out. When he woke up later, he had a hole in his chest

with blood coming out. He went to his mom’s room. She was laying on the floor

on her side. Demetrius felt her neck. It was cold. “[S]he was gone.” He touched her

hand and talked to her for a while. Then he went to the bathroom for a washcloth

to stop his chest from bleeding. He looked to see if anyone else was there in the

apartment. The man was gone. Demetrius ate a popsicle, then went back to his

room, got his stuffed caterpillar, and waited for a long time for someone to come.

He fell asleep again, but woke up early that Monday morning when he heard

knocking on the door. He took his stool to the door to see out of the peephole, and

when he saw his “Aunt Tweety,” he opened the door.

      Monica Salinas, who lived in the same Austin apartment complex as Mel

Cotton and Demetrius, heard a hysterical woman crying, “My sister is dead, my

sister is dead, please help me.” She ran up the stairs, saw Demetrius with duct tape

still around his neck and Mel Cotton’s body in the master bedroom, so she called

911. She saw “blood everywhere and handprints of blood all over the room.”



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      Paramedics rushed Demetrius to the hospital. He had four stab wounds in his

chest. They were so deep that a paramedic saw Demetrius’s lung inflating and

deflating. Demetrius said that he could hear the air coming out of the hole in his

chest; it sounded like “a farting noise.” Demetrius lost twenty to thirty percent of

his blood volume and had a pneumothorax (collapsed lung) and a pulmonary

contusion. Doctors also determined that Demetrius had been strangled. Although

his wounds were life-threatening, Demetrius recovered.

      The medical examiner testified that Mel Cotton had a total of 107 stab

wounds that were inflicted during a drawn-out attack. Thirty-eight of the wounds

were centered around Ms. Cotton’s left breast, indicating “some degree of [the

victim’s] incapacitation or lack of movement.” Another group of wounds were in

her back. She had approximately thirteen defensive wounds to her hands and arms.

Twenty of the wounds reached her internal organs.

      She, like Demetrius, had been strangled. The medical examiner said that Ms.

Cotton had probably been conscious for about ten to twenty minutes after her

jugular vein had been cut.

      Christina Pocharasang, Gobert’s former girlfriend, learned of Ms. Cotton’s

murder later that day. She immediately suspected Gobert. Pocharasang testified

that Ms. Cotton had helped her move out of Gobert’s apartment two weeks earlier

by arranging for a man named Kenneth to haul her heavy furniture. Gobert had

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been furious and accused Ms. Cotton and Kenneth of stealing his things, including

his vacuum cleaner.1 Christina called Gobert to ask him about the murder. When

he answered the phone, Gobert was breathing heavily and said that he had been in

a fight with Kenneth, who had stabbed him in the stomach, causing an injury that

required sixteen stitches. Christina then called the Austin police to report her

suspicions.

       Austin police discovered that Gobert had an outstanding parole-violation

warrant and went to his apartment to arrest him. After peeking through his blinds,

Gobert refused to open the door, so the officers made a forced entry. Gobert did

not have a stab wound in his stomach, but he did have cuts on his right hand that

looked like those made when an attacker loses his grip on a knife shaft and cuts his

own hand.

       Officers obtained a search warrant for Gobert’s apartment and car. They

found stain remover, bleach, and vinegar containers; a glove on top of the washing

machine; and a glove, tennis shoes, and a striped shirt inside the washing machine.

DNA consistent with that of Ms. Cotton’s DNA was found on the left tennis shoe,




1Gobert left numerous threatening voicemails for Christina, saying such things as
“Yeah, ho, you go on and do what you like. I don’t give a f__ no more . But I bet you this one
thing. You still got my shit, you keep that. That’s yours. Since you distributed my shit to all this
different mother f____ and shit. And gave my shit to these n____. You gave my shit to these
n____. But bitch, one day you’re going to look up, and you’re going to see me. Bet that.”
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and DNA consistent with that of Gobert, Ms. Cotton, and an unknown male2 was

found on the glove on top of the washing machine. A latent fingerprint, matching

Gobert’s fingerprint, was found on Ms. Cotton’s bedroom window blind.

       While in jail, Gobert bragged to his cellmate about stabbing Ms. Cotton and

Demetrius. He recounted details of the crime, including wrapping Ms. Cotton in an

extension cord, washing his bloody clothes, and throwing the knife that he used in

a lake.3

       Gobert called a jail guard, Deputy Tasha Lass, to testify that the inmates did

not have much privacy in their jail cells, thus suggesting that perhaps the cellmate

could have learned details about the murder from reading Gobert’s case files in his

jail cell.

       Gobert also made numerous phone calls from the jail to family members,

suggesting to one brother that he might remember that he and Mel Cotton had a

sexual relationship. Gobert’s older brother told Gobert to stop asking him, his

brother, and their mother to lie for him. These calls were recorded and played at

trial.4 In them, Gobert told various versions of the events.



2 When the DNA analysis was made, the technician did not have Demetrius’s DNA.
3 During his punishment-stage testimony, Gobert confirmed that he threw the knife into the lake.
4 In one of them, Gobert told his brother that a jury would surely sentence him to death if they
heard that he had attacked and stabbed his mother when he was nineteen, so he wanted his
mother to lie about that event. “I can’t have her up there. That’s, that’s suicide. . . . What am I
going to look like in these folks’ eyes? . . . I mean it’s not about telling the truth, get up there and
tell the truth, that’s suicide, man. . . . How can you say if you love somebody that you’re gonna
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       One of Gobert’s brothers testified at trial to the version of events that Gobert

told him. According to Gobert, he and Mel Cotton had had sex that night, and then

he went to sleep in her bed. She later woke him up, and they began arguing. She

came at him with a knife, saying that she was going to shoot him with a gun. They

struggled over the knife. He got the knife, but when he tried to get dressed and

leave, she attacked him again. Demetrius came into the room and “fell” on the

knife that his mother was holding. Gobert told his brother that he had stayed with

the little boy, giving him pain pills, until Demetrius’s aunt arrived the next

morning. Gobert told his family members that “wasn’t nothing wrong with

[Demetrius], he was–he’s alive and he wasn’t seriously hurt. . . . He wasn’t hurt

bad at all. He went to school the next day.”

       The jury found Gobert guilty of capital murder.

B)     Punishment Evidence

       During the punishment phase, the State introduced Gobert’s prior

convictions for burglary of a habitation, robbery, false imprisonment, assault, and

dating-violence assault.

       Christina Pocharasang testified again and recounted three different violent

episodes. One time, several months before the murder, Gobert punched her in her

face because she did not want to cut her hair the way Gobert desired; Gobert

sit up there and, and, and get up there and, and help go to the death chamber? That’s suicide for
me, man.”
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chased her into the bathroom and kept hitting her for about thirty minutes. Then,

about two weeks before the murder, Gobert got angry when Christina asked him to

go to his brother’s church. He closed the bedroom door so Christina’s son couldn’t

see him, and he choked Christina with both hands around her neck. Christina

decided to move out of town, and she contacted her friend, Mel Cotton, who found

Kenneth to help her move. But, in late September, Christina forgave Gobert and

came back to Austin. One night, Gobert attacked her as she was driving. He

punched her in the face five or six times, choked her neck, bit her on the shoulder,5

hit her in her lower back about fifteen times, and crushed her cell phone so she

couldn’t call for help. He told Christina he was going to kill her. Christina finally

escaped, drove to a hospital, and called the police. Nine days later, Gobert killed

Mel Cotton.

        Another woman testified that she had dated Gobert in 2002, but he got

jealous and began hitting her and grabbing her by the neck when he was angry. She

told him that she wanted nothing more to do with him. But one day he came over,

and she got into his car to talk to him. Gobert became angry again and, after she

jumped out of his moving car, he came after her and started hitting her in the face.

Her father called the police and she filed assault charges against him.




5 Six years later, Christina still had a scar from that bite.
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        A third woman testified that she had dated Gobert when they were both in

high school. He was often verbally abusive to her, but one day he got jealous and

hit her in the nose, then threatened to kill her as he forcibly took her back to his

apartment. The next morning, she escaped by grabbing her car keys. She drove off,

speeding and running red lights when she saw Gobert driving behind her. She

stopped, got out of her car and started calling for help, but no one paid attention to

her, so she raced back to her car. Gobert was on the roof of her car. She

nevertheless drove to a friend’s house, got out, and Gobert drove off in her car.

Several years later, Gobert found her in Round Rock, burglarized her friend’s

home, stole a TV and purse, and kidnapped her. The police eventually found her at

Gobert’s apartment, and he went to prison for burglary. She related another

incident in which Gobert choked her when he found out she was dating someone

else.

        A former cellmate testified that Gobert assaulted him while he was lying in

his bunk. Gobert said that he was a Muslim and did not want to be in a cell with a

Catholic. Gobert accused the cellmate of being flatulent while Gobert was praying,

and then he began hitting the man in the chest, saying that he would kill him. The

cellmate, in fear of his life, asked to be moved. Gobert had numerous instances of

disruptive conduct while in jail and, at one point, was assessed fifteen days of

administrative segregation for his actions.

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      A former female jailer who had given Gobert special privileges resigned

when her superiors discovered that she had been “fraternizing” with Gobert.

Thereafter, she visited Gobert in jail seventeen times in six months.

      Tasha Lass, the female jailer whom Gobert had called to testify during the

guilt stage, was called by the prosecution during the punishment stage. She

admitted that she, too, had been fraternizing with Gobert for several weeks. She

said that she had brought Gobert a cell phone so he could call her from the jail

without their conversations being recorded. They talked on the phone every day,

and Gobert repeatedly told Deputy Lass that he loved her. She testified that he was

still talking to her every day on the smuggled cell phone.

      Another jailer testified that, after Deputy Lass’s testimony, he had searched

Gobert’s jail cell and found the cell phone stuffed into a bag of Cheetos inside

Gobert’s commissary bag. A cell phone charger was also found. Deputy Lass was

then arrested and charged with the felony of bringing a prohibited item into a

correctional facility. Yet another officer testified that a piece of plastic had been

wedged into Gobert’s leg brace that he was required to wear as he was transported

each day from the jail to the courtroom so that it would not lock. A different officer

testified that Gobert had tampered with his leg brace on a second occasion as well.

That time Gobert was walking around in the open courtroom with his leg brace

unlocked.

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       After the defense offered several mitigation witnesses and rested, the State

then recalled Tasha Lass to testify about “an escape plan.” This time, Deputy Lass

testified that she had originally been a missionary in Romania, and then had

traveled to Sri Lanka, Australia, and England for eight years. She then became a

police officer in Chattanooga, Tennessee, and was named Patrol Officer of the

Year in 2008. She moved to Austin, became a deputy in June 2009, and first met

Gobert near the end of that year. She listened to Gobert talk about his case, his

family, and his problems in jail. He made her feel “needed.” Gobert told her about

his escape plan and wanted her to buy a storage shed so he could hide out “with

food and stuff” until he escaped to Dubai. He chose Dubai because it is a Muslim

country and he could not be extradited from there. He also wanted her a buy a .45

pistol with a silencer and four magazines and bring it into the jail “so he could

shoot people and locks to get out.”

       Gobert told Deputy Lass that he planned to call Deputy Fernandes over to

his cell at 2:30 a.m., shoot him, drag the deputy’s body into the cell, change into

his clothes, grab his car keys, shoot any other inmates who saw him, kill the

control-room6 operator,7 take the keys to the fire closet, grab the bag inside that

closet that contained a rope, then go to the top floor fire closet for another rope, go


6 Gobert told Ms. Lass that he had seen Deputy Fernandes drive in and out of the parking garage,
so he knew which car was his and where it was parked.
7 Gobert wanted Ms. Lass to be in the control room so she could give him the keys.	  
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out the roof door, tie the two ropes together and attach one end to the building, toss

the rope over the edge and climb down, run over to the parking garage and drive

away. Gobert would “knock out” Deputy Lass and put her in the fire closet, but

she did not believe that he would leave her alive. She said that she did not want to

aid in this escape plan, but Gobert kept asking her every day.

      The State also called Dr. Richard Coons who testified that, in his opinion, a

hypothetical person with Gobert’s history, conduct, and character would likely

pose a danger of violence in the future. Finally, Gobert testified in his own

defense. Gobert admitted that he had hurt a lot of women, had hit his brother over

the head with a statue, and beaten his mother and other women that he loved. It

was because of “anger issues and situations. . . . Maybe sometimes I go

overboard.”

      Based on the jury’s answers to the special issues, the trial judge sentenced

Gobert to death.

                         ARGUMENT AND AUTHORITIES


                          Overview of Claims for Relief

                            D ETAILED A RGUM ENTS

      I.      C LAIM I: GOBERT’S 6TH AND 14TH AMENDMENT
              RIGHTS WERE VIOLATED WHEN HE RECEIVED
              INEFFECTIVE ASSISTANCE OF COUNSEL AS A RESULT
              OF HIS LEGAL TEAM’S FAILURE TO ADEQUATELY
              INVESTIGATE THE FACTS OF THIS CASE AS
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             REQUIRED BY STRICKLAND V. WASHINGTON, 466 U.S.
             668 (1984).

             EXHAUSTION:

      This claim was properly preserved for federal review, having been presented

at pages 36-45 of the state writ as Claim One.

ISSUE RESTATED: The trial court’s finding that trial counsel was not deficient
in failing to interview Jason Gibson, who would have provided evidence of the
existence of a prior relationship between Gobert and Cotton, thereby allowing
Gobert to rebut the claim that he killed Cotton during the course of attempting to
commit the robbery” was the product of an unreasonable analysis of the facts of
this cause and how those facts apply against the backdrop of Strickland.

A.     Facts Supporting Gobert’s Claim

      Gobert’s legal team failed to adequately investigate and present

guilt/innocence evidence related to the “attempting to commit and committing

robbery” allegation contained in the indictment. As a result, Gobert was prevented

from presenting a defense to the robbery allegation contained in the indictment.

Specifically, the facts and circumstances surrounding Gobert’s trial and the pre-

trial investigation show the following:

          a) Gobert’s legal team failed to thoroughly investigate the facts and
             circumstances of Gobert’s case when they failed to interview Jason
             Gibson, and

          b) Because of these failures, Gobert’s legal team was not able to present
             a defense to the robbery element of the capital murder charge.

B. Lack of Thorough Factual Investigation


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      Gobert received ineffective assistance of counsel because of counsel’s

failure to conduct an adequate factual investigation and the failure to present an

adequate defense to the robbery allegation contained in the indictment and

necessary to prove a capital murder. As seen herein, Gobert has demonstrated that

(1) counsel’s assistance was outside the range of competence demanded of

attorneys in criminal cases, and (2) there is a reasonable probability that, but for

counsel’s unprofessional errors, the result of the proceeding would have been

different. See Strickland v. Washington, 466 U.S. 668, 687, 104 S.Ct. 2052, 80

L.Ed.2d 674 (1984); Hernandez v. State, 988 S.W.2d 770, 770 n. 3 (Tex. Crim.

App. 1999) (applying Strickland's two-prong test to punishment phase). Gobert

has also shown that there is reasonable probability that is sufficient to undermine

confidence in the outcome of here trial. See Strickland, 466 U.S. at 694, 104 S.Ct.

2052; Thompson v. State, 9 S.W.3d 808, 812 (Tex. Crim. App. 1999).

      Among counsel’s duties is that of making an independent investigation of

the facts of the client’s case, although its scope may fluctuate under varying

circumstances. See Butler v. State, 716 S.W.2d 48, 54 (Tex. Crim. App. 1986); see

also McFarland, 928 S.W.2d at 502 (counsel has duty to make reasonable

investigations or to make reasonable decision that makes particular investigations

unnecessary); Rangel v. State, 972 S.W.2d 827, 838, n. 8 (Tex.App.-Corpus Christi

1998, pet. ref’d) (counsel who has duty to seek and investigate potential witnesses

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for guilt/innocence phase, should have same duty during punishment phase). As

part of this duty, counsel has a responsibility to seek out and interview potential

witnesses and to present a defense, if one is available. See Ex parte Welborn, 785

S.W.2d 391, 393 (Tex. Crim. App. 1990).

Jason Gibson

      State habeas counsel provided an affidavit on behalf of Jason Gibson in

support of Gobert’s state habeas writ (SHCR 2/422-23).

      Jason Gibson is a fact witness who has knowledge of relevant facts that were

vital and important to Gobert’s defense. Yet, these facts were undiscovered by

Gobert’s trial team. Indeed, Gobert’s trial team failed to interview Mr. Gibson to

determine whether he had knowledge of the events giving rise to this offense. The

facts contained in Mr. Gibson’s affidavit are as follows:


   1. My name is Jason Gibson. I am over the age of 18 and competent to give
      this affidavit. No promises have been made to me in exchange for signing
      this affidavit.

   2. I know Milton Dwayne Gobert. I first met him in 2003 or 2004 when we
      were both incarcerated in the Travis County Jail. I was there in 2003 or
      2004 and Dwayne came later. We were in Travis County at the same time
      for about four or five months until I was transferred to San Angelo in 2004.
      I have not seen him since then. I once wrote him a letter once from the
      Holliday unit in 2004, but I don’t recall him ever responding.


   3. In jail, Dwayne was known as “ATL” because he talked a lot about how
      much time he spent in Atlanta. I didn’t know him to have problems with

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   other prisoners or guards. He used to talk a lot about his plans for
   redemption if he ever got out of prison. He would talk about how he wanted
   to mentor at-risk youth if he ever got out.

4. Even though I met Dwayne for the first time in the Travis County Jail, this
   was not the first time I had seen him. I had some friends who, lived in an
   apartment complex in North Austin off of I-35. I was at this apartment
   complex a lot in 2002 and 2003. I would go there on and off for about a
   year, probably about once a week on average. Right after Dwayne got to
   Travis County, I told him that I thought he looked familiar. We started
   talking and figured out that we had known each other in passing from these
   apartments off I-35.

5. Prior to him being at Travis County, I saw Milton Gobert several times at the
   apartments off of I-35. I would see him in the hallway or the parking lot. At
   that time, we weren’t friends and never talked aside from maybe saying
   hello if we passed each other.

6. I did not know Ms. Cotton personally but I knew her as someone who lived
   in the apartment complex. I would sometime see her in the parking lot with
   her son. She was a heavy set woman with medium skin complexion. She
   had shoulder-length, dark hair. We never talked, but I sometimes might nod
   “hello” to her. I don’t know anything about her or what her reputation was
   like. I just knew that she lived there. When I saw her, she would be walking
   from her car to her apartment or from her apartment to her car.

7. I saw Milton Gobert and Mel Cotton together more than once. I thought
   they were a couple. I saw the two of them get into her car in the parking lot.
   Dwayne got into the driver’s seat and Mel got into the passenger’s seat. Mel
   used to park the car in the left side of the fence right as you turn into the
   apartment complex off the I-35 frontage road. It was either a black or red
   car and it was small. On this day, both Mel and Dwayne looked upset, like
   maybe they had just gotten into an argument. This is why I thought they
   were a couple. They didn’t look like brother and sister to me. But I never
   heard them yell or scream at each other. It was just this one time I thought
   that maybe they had been in an argument. I remember I didn’t say “hi” to
   either of them that day, I just stayed out of the way.



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     8. I learned that Dwayne was charged with capital murder of this woman when
        he came to Travis County. This was in 2003 or 2004.

     9. I was never contacted by an investigator or by any of Milton Gobert’s
        attorneys prior to his trial in 2010. Before signing this affidavit, I have
        never been asked about my knowledge of Milton Gobert or Mel Cotton. If I
        had been contacted, I would have told them everything I have stated in this
        affidavit, and I would have willingly testified to these facts at trial.

(SHCR 2/422-23).

        Despite this vital and important knowledge, Mr. Gibson was never contacted

by Gobert’s lawyers, an investigator, or by any other person on Gobert’s behalf

prior to his trial. If Mr. Gibson had been contacted, he would have testified to

these facts during Gobert’s trial and been able to rebut the claim that Gobert killed

Mel Cotton during the course of “attempting to commit and committing robbery.”

Instead, this evidence would have shown that Mel Cotton was not killed during the

course of “attempting to commit and committing robbery.” As a result, this vital

and important information was not available to the jury during the guilt/innocence

phase of Gobert’s trial. Therefore, Gobert did not receive a fair trial because of his

attorneys’ omissions.

C.      Argument and Authorities

        The State’s theory of the case was that Milton Gobert went to Mel Cotton’s

apartment with the intent to rob her. In support of this theory, the State’s witnesses

consistently denied that there was any relationship between Milton Gobert and Mel


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Cotton. For example, Sergeant De Los Santos testified that he spoke with Mel

Cotton’s son in the hospital on the day of the crime and that, as far as he knew,

“there was no connection between [Mel Cotton] and Milton Dwayne Gobert” (26

R.R. 167). Eric Gobert, Dwayne’s brother, testified that he never saw Dwayne

with Mel Cotton (26 RR 212). Dwayne’s ex-girlfriend, Christina Pocharasang,

said that she was not aware of Mel Cotton seeing Dwayne back in high school (27

R.R. 148). Christina further stated that even though Dwayne had told her that he

had slept with Mel Cotton in the past, he did not always tell the truth (27 R.R.

152). Dwayne’s older brother, Michael Gobert, testified that in 1991 Dwayne went

to prom with someone named Mel but that he did not know her last name and did

not know whether Dwayne had a relationship with her in 2003 (27 R.R. 47-49).

      The State correctly stated in closing argument that the defense had not

shown any evidence of a relationship between Mel Cotton and Milton Gobert,

despite their representation in opening argument that they would do just that. Gary

Cobb, District Attorney for the State, stated:

          [H]e wants to talk about this supposed relationship. Funny how
          his brothers don’t know about this relationship. There’s no
          witnesses about this relationship. It’s all his talk after he’s killed
          the victim about the relationship. So do your life experiences
          match up with if someone is involved in a relationship like that,
          wouldn’t somebody other than the last survivor of that relationship
          have heard something about it? His brother Michael testified that
          back in 1991 the defendant went to a prom with somebody named


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          Mel. That’s the extent of the relationship evidence that they
          promised to show you, and they did not.

(32 R.R. 24).

      The State’s theory was that Milton Gobert had his property taken by

someone that Mel knew, he was upset about it, and the reason that he called her

two days before the murder was to get back his vacuum cleaner. (32 R.R. 26). The

defense’s theory that Milton Gobert went over there because they had a

relationship, “no evidence supports that” (32 R.R. 30). Mr. Cobb stressed that if

the defense is said to the jury that they would provide that a relationship exists,

then they should have brought forward some evidence to show them the

relationship exists (32 R.R. 50).

      For Gobert to establish a violation of his Sixth Amendment right to effective

assistance of counsel, he must show (1) that his counsel’s performance fell below

an objective standard of reasonableness and (2) there was a reasonable probability

that but for his counsel’s deficient performance, the result of the proceeding would

have been different. Strickland v. Washington, 466 U.S. 668, 687-88, 692-694, 104

S.Ct. 2052, 80 L.Ed.2d 674 (1984).           Courts are “not required to condone

unreasonable decisions parading under the umbrella of strategy, or to fabricate

tactical decisions on behalf of counsel when it appears on the face of the record

that counsel made no strategic decision at all.” Moore v. Johnson, 194 F.3d 586,


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604 (5th Cir.1999); Loyd v. Whitley, 977 F.2d 149, 158 (5th Cir. 1992) (noting that

“whether counsel's omission served a strategic purpose is a pivotal point in

Strickland and its progeny” and that this “crucial distinction between strategic

judgment calls and plain omissions has echoed in the judgments of this court”).

      Counsel’s performance in this case “did not measure up to the standard

required under the holding of Strickland. As noted by the Supreme Court in

Williams v. Taylor, 529 U.S. 362, 389 (2000):


      [t]he statute directs federal courts to attend to every state-court
      judgment with utmost care, but it does not require them to defer to the
      opinion of every reasonable state-court judge on the content of federal
      law. If, after carefully weighing all the reasons for accepting a state
      court's judgment, a federal court is convinced that a prisoner's
      custody-or, as in this case, his sentence of death-violates the
      Constitution, that independent judgment should prevail.

Id.


      In addition to falling below professional standards, counsel’s failure

investigate and call Gibson as a witness at trial invites a “reasonable probability”

that the outcome of this case would have been different had Gibson been called to

establish the prior existing relationship between Gobert and Cotton. Trial counsel’s

deficiency in this respect deprived Gobert of his Sixth Amendment right to the

effective assistance of counsel.




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      The failure of Gobert’s defense team to conduct an adequate factual

investigation harmed Gobert and resulted in valuable information being

unavailable to the jury. The defense team failed to present the “complete picture”

to the jury.   Since the jury did not understand the “complete picture” of the

‘kidnapping’ issue, they could be easily swayed by the limited evidence available

to them when they found Gobert guilty of capital murder.

      In this case, Gobert received ineffective assistance of counsel because his

trial attorneys failed to conduct an adequate investigation of the facts of the case.

Particularly, Gobert’s attorneys failed to investigate the facts and circumstances

surrounding the ‘robbery’ allegation contained in the indictment. Without this

evidence, Gobert’s attorneys were not able to present a defense to the robbery

allegations contained in the indictment.

      There is a reasonable probability that, if this evidence had been presented,

the outcome would be different. For example, the evidence supporting the robbery

element of Gobert’s conviction was testimony from Demetrius Cotton. According

to Demetrius, he went into his mother’s bedroom in response to some screaming

and saw a man he had never seen before talking to his mother. Demetrius’ mother

was telling the man, “Stop” (28 R.R 190-92). The man had a knife and was

wearing gloves, boxers, and boots (28 R.R 192-93). His mother had duct tape on

her face and mouth. 28 R.R 195. Demetrius testified that the man had stabbed his

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mother’s upper arms and that his mother was trying to get away from him (28 R.R

194-95). He also testified that while he had been in his mother’s bedroom the man

had told his mother, “Give me the money” and Where is it at in your purse?” (28

R.R 202). This was the sum and substance of the evidence supporting the robbery

allegation of Gobert’s conviction.

      Gobert was prevented from defending against the robbery charge because

his attorneys failed to adequately investigate the facts surrounding the robbery

allegation. If Gobert’s attorneys would have presented the testimony of Jason

Gibson, the jury would have had additional evidence to deny the robbery allegation

and, would in a reasonable probability, would have found Gobert not guilty of

capital murder. Since the evidence establishes that no reasonable juror would have

convicted Gobert, there is reasonable probability that is sufficient to undermine

confidence in the outcome of here trial. These failures resulted in a violation of

Gobert’s right to effective assistance of counsel pursuant to the Sixth and

Fourteenth Amendments.

      D.     Unreasonable Misapplication OF Federal Constitutional Law

      The trial court’s denial of relief as to this claim is the result of an

unreasonable application of well-settled federal law under Strickland to the facts of

the case. More particularly, no reasonable jurist could countenance the FFCL’s



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conclusion that “trial counsel’s performance was not deficient for failing to

investigate and present testimony from Jason Gibson.”

      Gobert submits that trial lawyers enjoy the professional discretion to call, or

not to call, a witness once that person has been located and interviewed. But it is

ineffective assistance not to find and locate relevant witnesses a priori.

      “The failure to interview key defense witnesses is objectively unreasonable”

under Strickland. Poindexter v. Booker, No. 07–1795, 301 Fed.Appx. 522, 528,

2008 WL 4997500, *5 (6th Cir. Nov. 24, 2008). “Constitutionally effective

counsel must develop trial strategy in the true sense—not what bears a false label

of ‘strategy’—based on what investigation reveals witnesses will actually testify

to, not based on what counsel guesses they might say in the absence of a full

investigation.” Ramonez v. Berghuis, 490 F.3d 482, 489 (6th Cir.2007).

      In the particular context of robbery, in United States v. Graves, 951 F. Supp.

2d 758 (E.D. Pa. 2013), it was held that defense counsel’s decision not to call bank

robbery defendant’s girlfriend at trial represented reasonable trial strategy (and

therefore was not ineffective assistance) when counsel considered disadvantages of

calling girlfriend as witness, including fact that she placed defendant in area at

time of robbery and her testimony was not particularly credible.




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      By contrast, it is undisputed that Gobert’s counsel never so much as sought

out, much less interviewed, Jason Gibson before a strategic decision was made not

to call him as a witness.


      CLAIM II: GOBERT HAS BEEN DENIED HIS RIGHT TO DUE
      PROCESS UNDER THE 5TH AND 14TH AMENDMENTS TO THE
      U.S. CONSTITUTION AS HE IS INCARCERATED FOR AN
      OFFENSE FOR WHICH HE IS “ACTUALLY INNOCENT”

      EXHAUSTION: This claim was properly preserved for federal review.

Gobert raised the violation of federal constitutional rights in his State habeas writ

at pages 47-51. The trial court signed Findings of Fact and Conclusions of Law

(“FFCL”) denying relief as to this claim (SHCR1/158-59).

      The CCA agreed with the trial court’s findings. Ex Parte Gobert, No. WR-

77,090-01 (Tex. Crim. App. 2015). The trial court held no evidentiary hearing in

this case. Instead, the trial court adopted verbatim the State’s proposed findings of

facts and conclusions of law (SHCR 1/158-59).

ISSUE RESTATED: The State trial court’s ruling denying this claim on the basis
that Gibson’s affidavit did not constitute “newly discovered” or “newly available”
evidence and that Gobert failed to demonstrate that this evidence would have had
an impact on the outcome of the case is the result of an unreasonable application of
the well-settled federal authorities set forth supra to the facts of this case.

A.    Governing Law – Innocence Claim

      A claim of actual innocence is “a gateway through which a habeas petitioner

must pass to have his otherwise barred constitutional claim considered on the

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merits.” Herrera v. Collins, 506 U.S. 390, 400 (1993) (holding that actual

innocence claims are cognizable on post-conviction writs of habeas corpus). In

order for Gobert to obtain relief on this claim, “the evidence must establish

substantial doubt about his guilt to justify the conclusion that his execution would

be a miscarriage of justice unless his conviction was the product of a fair trial.”

Schlup v. Delo, 513 U.S. 298, 316, (1995) (emphasis added).


      There are two types of “innocence” claims. The first–a Herrera claim–is a

substantive claim in which the person asserts a “bare claim of innocence” based

solely on newly discovered evidence. Id. at 390. The other type of innocence

claim–a Schlup claim–is one that “does not by itself provide a basis for relief,” but

is intertwined with constitutional error that renders a person’s conviction

constitutionally invalid. See Schlup, 513 U.S. at 315.

      To succeed in an actual innocence claim the Gobert must show “by clear and

convincing evidence that, despite the evidence of guilt that supports the conviction,

no reasonable juror could have found the Gobert guilty in light of the new

evidence.” Ex parte Tuley, 109 S.W.3d at 392; see also State ex rel. Holmes, 885

S.W.2d at 399 (“To be entitled to relief, however, petitioner would at the very least

be required to show that based on proffered newly discovered evidence and the

entire record before the jury that convicted him, ‘no rational trier of fact could find

proof of guilt beyond a reasonable doubt.’”) (quoting Jackson v. Virginia, 443 U.S.
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307, 324 (1979)). This showing must overcome the presumption that the

conviction is valid and it must unquestionably establish Gobert’s innocence. See

Jackson v. Virginia, 443 U.S. at 324.        Not only must Gobert make a truly

persuasive showing of innocence, he must also prove that the evidence he relies

upon is “newly discovered” or “newly available.”

      The term “newly discovered evidence” refers to evidence that was not

known to Gobert at the time of trial and could not be known to him even with the

exercise of due diligence. For example, evidence of complaining witness’s prior

conviction, while impeaching, was of such serious nature that general rule that

cumulative or impeaching evidence is insufficient to justify new trial on grounds of

newly discovered evidence was inapplicable. Gordon v. United States, 383 F.2d

936, 938 n. 2 (D.C. Cir. 1967).

      In United States v. Atkinson, newly discovered evidence, unknown to the

prosecution in a drug case, in form of evidence that prosecution witness, who

testified that he had but one conviction and had not been paid for his undercover

informer work, had been convicted of numerous offenses, including court martial

convictions, and had been paid for informer work, required new trial where witness

was only one who testified to defendant’s participation in transaction. 429 F. Supp.

880(E.D.N.C.1977).

      In another example, where counts in indictment could not be sustained

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without testimony of government witness who had been convicted of perjury in

state court, and defendant was denied right to cross-examine witness relative to his

conviction because at time of trial witness had not exhausted his right of appeal,

proof that witness’s conviction had been sustained on appeal and that witness had

commenced service of his sentence required that defendant’s motion for new trial

following his conviction be granted in order to afford defendant privilege of

developing fact that witness had been convicted of perjury. United States v.

Segelman, 83 F. Supp. 890 (W.D. Pa. 1949).

      B. Argument and Authority

      In his state habeas writ, Gobert presented an affidavit sworn out by Jason

Gibson stating facts that help to prove Milton Gobert did not kill Mel Cotton

during the course of “attempting to commit and committing robbery” (SHCR

2/422-23).

      Such evidence was not available at trial due to the ineffective assistance of

Gobert’s counsel.    Thus, Gobert has established that the evidence is “newly

available.” Moreover, the newly discovered evidence establishes by clear and

convincing evidence that no reasonable juror could have convicted him of the

charged offense of capital murder. See Ex parte Tuley, 109 S.W.3d, at 392; see

also State ex rel. Holmes, 885 S.W.2d at 399.



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       In the event the Court finds that the evidence obtained from Jason Gibson is

not ‘newly discovered’ and thus, not a Herrera claim, Gobert urges this court to

consider this as a Schlup claim. The evidence obtained from Gibson clearly shows

that Gobert did not commit or attempt to commit a robbery. This evidence was not

available because Gobert’s attorneys failed to adequately investigate the facts of

this case as described in Claim No. 1, thereby making this a Schlup-type claim.

This new evidence is inexorably intertwined with Gobert’s claim of ineffective

assistance of trial counsel and mandates a new trial for Gobertt.

       Realistically, it makes no difference whether Gobert’s claim is a Herrera or

a Schlup claim. In either way, the evidence from Jason Gibson establishes by clear

and convincing evidence that no reasonable juror could have convicted Gobert of

the charged offense of capital murder because no robbery occurred in this case. See

Ex parte Tuley, 109 S.W.3d, at 392; see also State ex rel. Holmes, 885 S.W.2d at

399.

       To commit the offense of robbery, the State had to establish, beyond a

reasonable doubt, that Gobert killed Mel Cotton while in the course of committing

theft. Tex. Penal Code § 29.02. As detailed above, the evidence—Demetrius’s

testimony—supporting the robbery element of in this case was slim, at best. This

was the sum and substance of the evidence supporting the robbery allegation of



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Gobert’s conviction. As a result, this evidence is insufficient, as a matter of law, to

support his conviction for capital murder.

      CLAIM III: GOBERT’S 6TH AND 14TH AMENDMENT RIGHTS TO THE
                                                           EFFECTIVE
ASSISTANCE OF COUNSEL WERE VIOLATED WHERE HIS TRIAL   COUNSEL   FAILED
TO ADEQUATELY INVESTIGATE AND PRESENT MITIGATION EVIDENCE AS REQUIRED
UNDER WIGGINS.

      EXHAUSTION: This claim was properly preserved for federal review.

Gobert raised the violation of federal constitutional rights in his State habeas writ

at pages 52-85. The claim was presented in tripartite format; i.e., 3A, 3B, and 3C.

      The trial court signed FFCL denying relief as to this claim (SHCR1/159-61).

The CCA agreed with the trial court’s findings. Ex Parte Gobert, No. WR-77,090-

01 (Tex. Crim. App. 2015). The trial court held no evidentiary hearing in this case.

Instead the trial court adopted verbatim the State’s proposed findings of facts and

conclusions of law (SHCR 1/159-61).

ISSUE RESTATED: The State trial court’s ruling denying this claim on the basis
trial counsel’s Wiggins investigation in this case was not deficient and did not
prejudice the outcome of this case is the result of an unreasonable application of
Strickland and Wiggins to the facts in the prosecution of Gobert.


A.    Legal Bases for Claim

      To establish a claim that a petitioner was deprived of effective assistance of

counsel in violation of the Sixth Amendment, a petitioner must show that counsel’s

performance was deficient and that the deficient performance prejudiced the

defense. Strickland v. Washington, 466 U.S. 668, 687 (1984). The standards set
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forth in Strickland control the question of whether trial counsel conducted a

constitutionally sufficient mitigation investigation. See Wiggins v. Smith, 539 U.S.

510, 537 (stating that Strickland applies to mitigation investigations).

      In cases where a petitioner alleges that trial counsel failed to discover

mitigating evidence, the inquiry turns not on the single issue of whether counsel

should have presented a mitigation case, but whether the investigation supporting

counsel’s decision not to introduce mitigating evidence is itself reasonable.

Wiggins, 539 U.S. at 523 (2003).         The principle that any decision to limit

investigation must be reasonable under the circumstances of the case is rooted in

Strickland. See Strickland, 466 U.S. at 690 (strategic choices made after less than

complete investigation are reasonable precisely to the extent that reasonable

professional judgments support the limitations on investigation).

      Prevailing norms of practice such as those reflected in the American and

state bar associations are guides to determining the reasonableness of counsel’s

conduct. Strickland, 466 U.S. at 688; Williams v. Taylor, 529 U.S. 362, 395

(2000). Under these prevailing professional norms, it is “unquestioned” that trial

counsel in a capital case has a duty to conduct a “thorough investigation of the

defendant’s background.” Porter v. McCollum, 130 S. Ct. 447, 452 (2009).

Specifically, counsel must investigate such that (s)he may present “medical

history, educational history, employment and training history, family and social

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history, prior adult and juvenile correctional experience, and religious and cultural

influences.” Wiggins, 539 U.S. at 524 (citations omitted).

      In this case, the guidelines reflected in the American Bar Association’s

Guidelines for the Appointment and Performance of Defense Counsel in Death

Penalty Cases (“ABA Guidelines”), the Supplementary Guidelines for the Defense

Function of Defense Teams in Death Penalty Cases (“Supplementary Guidelines”)

and the Guidelines and Standards for Texas Capital Counsel promulgated by the

State Bar of Texas (“Texas Guidelines”) are relevant prevailing norms of practice.

      The ABA Guidelines state unequivocally that lead counsel at any stage of

capital representation should assemble a defense team as soon as possible after

designation with at least one mitigation specialist and at least one member

qualified by training and experience to screen individuals for the presence of

mental or psychological disorders or impairments (Guideline 10.4), in order to

conduct a thorough and independent investigation relating to penalty (Guideline

10.7 and Guideline 10.11). The previous Guidelines, adopted in 1989, similarly

required counsel to begin investigation immediately upon counsel’s entry into the

case and to “discover all reasonably available mitigating evidence.”           (1989

Guideline 11.4.1.) The 1989 Guidelines also required counsel to retain experts for

investigation and “preparation of mitigation” (1989 Guideline 11.4.1.(7)) The

1989 ABA Guidelines were recognized by the U.S. Supreme Court in Wiggins as

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“well-defined norms.” Wiggins, 539 U.S. at 524. “The new ABA Guidelines

adopted in 2003 simply explain in greater detail than the 1989 Guidelines the

obligations of counsel to investigate mitigating evidence.” Hamblin v. Mitchell,

354 F.3d 482 at 487 (6th Cir. 2003).

      The 2003 Revised ABA Guidelines also provide that “counsel at every stage

have an obligation to conduct thorough and independent investigations relating to

issues of both guilt and penalty.” (2003 Guideline 10.7(A)). Investigations of

mitigating evidence necessarily include considering

   - witnesses familiar with and evidence relating to the client’s life and
     development, from conception to the time of sentencing, that would be
     explanatory of the offense(s) for which the client is being sentenced, would
     rebut or explain evidence presented by the prosecutor, would present
     positive aspects of the client’s life, or would otherwise support a sentence
     less than death.

   - Expert and lay witnesses along with supporting documentation (e.g. school
     records, military records) to provide medical, psychological, sociological,
     cultural, or other insights into the client’s mental and/or emotional state and
     life history that may explain or lessen the client’s culpability for the
     underlying offense(s)...

(2003 Guideline 10.11(F)(1)-(2)) (emphasis added).

      The State Bar of Texas Guidelines and Standards for Texas Capital Counsel,

which closely mirror the ABA Guidelines, provide that “[c]ounsel at every stage

have an obligation to conduct thorough and independent investigations relating to

the issues of both guilt and penalty.” State Bar of Texas Guidelines and Standards


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for Texas Capital Counsel 11.1(A), p. 15 (April 21, 2006). Investigation at the

penalty phase should include:

   (i.)      Development of character witnesses and family background evidence,
             and where applicable, relevant records and witnesses from additional
             sources, including military, school, hospital, past employment, etc., to
             corroborate the mitigating theory;

   (ii.)     Development of expert witnesses on mental health issues, if any;

   (iii.) Development of rebuttal witnesses for State’s extraneous evidence, if
          any.

State Bar of Texas: Guidelines and Standards for Texas Capital Counsel: Standing

Committee on Legal Services to the Poor in Criminal Matters Adopted by the State

Bar Board of Directors April 21, 2006, 69 TEX. B. J. 966 (2006) at

11.1(A)(3)(b)(i.)-(iii.).

          The prejudice inquiry for an ineffective assistance of counsel claim is not

outcome determinative. The Strickland Court itself expressly rejected an “outcome

determinative standard” requiring the defendant to show that counsel’s deficient

conduct “more likely than not altered the outcome” of the case. Strickland, 466

U.S. at 693-94. Instead, “[t]he result of a proceeding can be rendered unreliable,

and hence the proceeding itself unfair, even if the errors of counsel cannot be

shown by a preponderance of the evidence to have determined the outcome.” Id.

(emphasis supplied). Thus, the “reasonable probability” standard—a probability

sufficient to undermine confidence in the outcome—is a less onerous burden than

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even the preponderance of the evidence standard.8 The Supreme Court reiterated

this point in Williams v. Taylor, 529 U.S. 362 (2000), expressly noting that a state

court’s use of a preponderance of the evidence standard rather than the lesser

reasonable probability standard would result in a decision that was contrary to

federal law as determined by that Court. Id. at 405-06 (“a state court’s rejection of

a prisoner’s claim of ineffective assistance of counsel on the grounds that the

prisoner had not established by a preponderance of the evidence that the result of

his criminal proceeding would have been different would be “diametrically

different,” “opposite in character or nature,” and “mutually opposed” to our clearly

established precedent because we held in Strickland that the prisoner need only

demonstrate a “reasonable probability that … the result of the proceeding would

have been different.”)

       Federal courts have consistently held that trial counsel rendered ineffective

assistance of counsel for failure to discover and present particularly sensitive

information about a client’s background, such as evidence of physical or sexual

abuse of someone in the Gobert’s family. See Boyde v. Brown, 404 F.3d 1159 (9th

8 In Bouchillon v. Collins, 907 F.2d 589 (5th Cir. 1990), the Fifth Circuit observed that the
prejudice prong imposes “a lower burden of proof than the preponderance standard.” Id. at 595.
Even when “the evidence arguably supports a different result under a preponderance standard,” a
reviewing court still can be “confident that it meets the ‘reasonable probability’ standard.” Id.
See also Buckner v. Polk, 453 F.3d 195, 203 (4th Cir. 2006) (reciting Strickland prejudice
standard of “reasonable probability” as “somewhat less than a preponderance of the evidence”);
Hodge v. Hurley, 426 F.3d 368, 376 n. 18 (6th Cir. 2005) (Strickland standard “is a lesser
standard than preponderance of the evidence”).
	  
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Cir. 2005) (vacating death sentence because of counsel’s failure to develop and

present evidence of petitioner’s abuse as a child, that petitioner’s sister was

sexually molested, and that petitioner knew about the molestation); Cargle v.

Mullin, 317 F.3d 1196 (10th Cir. 2003) (ineffective assistance of counsel for

failure to present evidence that petitioner’s father abused drugs and abused his

mother, despite no evidence that petitioner was himself abused); Karis v.

Calderon, -66-283 F.3d 1117 (9th Cir. 2002), cert denied, 539 U.S. 958 (2003)

(penalty phase relief where counsel failed to discover that petitioner suffered abuse

and watched his mother regularly and violently beaten by men); Ainsworth v.

Woodford, 268 F.3d 868 (9th Cir. 2001) (counsel’s performance was deficient

where he failed to investigate, develop and present available evidence concerning

Gobert’s troubled background, emotional stability and what led to the development

of the person who committed the crime).

B.    Facts Supporting Gobert’s Claim

      The defense’s principle theory at the punishment phase focused on a single

incident in Milton Gobert’s history. The defense attempted to show that, as a

result of Dwayne being struck by a newspaper delivery truck when he was five

years old, he became angry and aggressive towards family members. This defense

attempted to diminish Dwayne’s moral blameworthiness by showing that he

simply lost control.

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      Both of Dwayne’s older siblings, Michael Gobert and Michelle Sams,

witnessed Dwayne get struck by a newspaper delivery truck when he was five

years old (35 R.R. 211) (36 R.R. 9). Dwayne was following his older brother

Michael down the driveway on his Hot-Wheel (39 RR 9). Michael, who was on

his bicycle, swerved towards the curb when he saw a truck coming; Dwayne kept

riding into the middle of the street and was hit by the car. Id. After the truck hit

him, it drug him a few feet and then continued to drag his bike down the street

while Dwayne lay there in a puddle of blood (35 R.R. 211). Dwayne’s mother did

not see the accident, but she heard the crash and ran to the door (36 R.R. 76). She

saw the truck dragging Dwayne’s bike and saw that Dwayne had been thrown to

the other side of the street. Id. She ran to his aid and found him semiconscious,

just rattling and not coherent. Id. at 77.

      Dwayne was taken to the hospital, where he remained for about one month

(36 R.R. 77). He had contusions on both legs and multiple injuries about his head.

Id. He had a scar that remained on his head for a long time after the injury. Id. He

was in a full body cast with his arms and legs stretched out, “just hanging there like

a mummy” (35 R.R. 212-13).

      Dwayne acted strange while in the hospital, so much so that Mrs. Gobert

thought the demons had gotten into her child (36 RR 77). After the accident,

Dwayne became more agitated and started getting in trouble more consistently in

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school (35 R.R. 213). He had more temper tantrums and got a little angry faster

(36 R.R. 10). Dwayne’s Aunt Belinda Shavers, who was 18 at the time, took care

of him after he was released from the hospital (36 R.R. 59). She noticed that if she

got on Dwayne for something, he would get mad. Id. at 61. He started cursing at

her and calling her names, which was strange since she had never seen him act that

way before. Id. at 64-65. After the two months that she took care of him, she got

married and went on with her life and had no further interaction with Dwayne. Id.

at 66. Dwayne did okay in school until the third grade, when he was sent to an

alternative school because of his aggressive behavior (36 R.R. 82).

      In addition to the testimony concerning Dwayne’s car accident, the jury

heard testimony that Dwayne’s biological father, Milton Epperson, was not around

when Milton was growing up and that he was very abusive with Dwayne’s mother

when she was with him (36 R.R. 72). Milton Epperson beat Dwayne’s mother

when she was eight months pregnant and as a result, Dwayne was born

prematurely. Id. Dwayne’s mother tried to abort her pregnancy with him when

she was about three months along. Id. at 73. Since Dwayne bore a striking

resemblance to Milton Epperson, his mother often compared them, saying that

Dwayne would wind up in the pen or become an alcoholic just like his father (35

R.R. 214-15).



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      The jury also heard that the Gobert children engaged in typical kind of

sibling fights, but nothing particularly serious (35 R.R. 218). They fought over

many things, like what the children wanted to watch on TV (36 R.R. 19). If they

got into an argument over what to watch on TV, Michael might push Dwayne

down the hallway, tell him to go to his room, or tell him to sit down, and

eventually they would begin to scuffle and start wrestling. Id. As they got older,

the confrontations got more and more physical, and the boys sometimes ended up

putting a couple of holes in their mom’s walls. Id. at 19-20. Outside the home,

Michael and Dwayne used to get chased home by neighborhood bullies until one of

their uncles finally taught them to fight back. Id. at 11. As the children got older,

Michael took on the big brother role and took care of his siblings while their

mother worked (36 R.R. 10).

      When Dwayne was 11 or 12 years old, his mother would give him

whippings to deal with his aggression and cursing (36 R.R. 94-95). She once

accidentally cut his arm with a curtain rod because Dwayne refused to do

something she had asked him to do. Id. at 94. She testified that she applied steri-

strips instead of taking him to the doctor because she didn’t want them to think that

she was abusing him. Id. at 96.

      Talicia Gobert, Dwayne’s 21-year old niece, testified that growing up, she

would write to Dwayne when he was in prison and that he would write back and

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encourage her in her studies and participation in sports. 35 R.R. 231. After the

age of six, Talicia did not know Dwayne outside of prison, and most of her contact

with him throughout her life was through letters. Id. at 239.

      On cross-examination, the State undermined the defense’s theory that as a

result of the car accident, Dwayne could not control his aggressive behavior. The

State questioned Dwayne’s sister, Michelle Sams, about whether she thought that

Dwayne had the ability to control himself:

      MR. COBB: I’m asking you about your brother and his ability to control
      himself. Do you believe your brother can control himself? Does he have
      control over what he does?
      MS. SAMS: I don’t -- you will have to ask him that question.
      MR. COBB: Well you grew up with him. And they called you in here
                   to testify, so I am going to ask you that question, Ms.
                   Sams. Can your brother control himself, based on what
                   you have observed being around him?

      MS. SAMS: Can he control himself?

      MR. COBB: Yes, ma’am.

      MS. SAMS: Like I said, I believe he can like everyone has control to a
                certain extent.

      …

      MR. COBB: So you have seen your brother angry:

      MS. SAMS: Yes, sir.

      MR. COBB: When you have seen him angry, does he go grab
                weapons and start attacking people?


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      MS. SAMS: No.

      MR. COBB: What does he do when he’s angry that you have seen?

      MS. SAMS: In what situation?

      MR. COBB: In any situation you want to tell us about.

      MS. SAMS: I have never seen him grab a weapon.

      MR. COBB: Okay. What does he do when you have seen him angry?

      MS. SAMS: I guess like normal people, he show his anger; his face
                tense up; he gets mad.

      MR. COBB: That kind of stuff is just normal getting angry stuff?

      MS. SAMS: I believe, yeah.

(35 R.R. 226-27).

      Similarly, the State asked Talicia Gobert whether she thought that he was

someone who was able to control himself, but she could not respond since they

only communicated through letters. 35 R.R. 239. When Michael Gobert was

asked whether he thought that Dwayne’s altercations with women was a lack of

impulse control, he said that he could not answer. 36 R.R. 52. When Michael was

asked to give an example of where he thought that Dwayne was out of control, the

State suggested that the behavior Michael described was not out of control, since

the person with whom Dwayne had fought survived the fight:

      MR. COBB:          Tell me a situation where you’ve seen your brother
                         out of control.

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MICHAEL GOBERT: Where he’s out of control?

MR. COBB:         Yes, sir, when he’s out of control.

MICHAEL GOBERT: He had a fight in the neighborhood.

MR. COBB:         How old was he then?

MICHAEL GOBERT: He was about 10, maybe 11 years old.

MR. COBB:         Okay. And who did he kill?

MICHAEL GOBERT: He didn’t kill anyone. He didn’t kill him.

MR. COBB:         How bad did he hurt him?

MICHAEL GOBERT: He bloodied them up. He bloodied them up. We
                pulled them apart. We had to pull them apart.

MR. COBB:         What happened after you pulled them apart?

MICHAEL GOBERT: I took him home.

MR. COBB:         That’s out of control for you?

MICHAEL GOBERT: Well, I mean, had he not -- I mean, when he got
                angry and goes into that type of mode, he’s not
                going to stop unless you’re able to either stop him
                or figure out how to, you know, get him away.

MR. COBB:         Did that male walk away from the fight after it was
                  over?

MICHAEL GOBERT: Something like that, yes. He didn’t walk away --
                he didn’t walk away without major injuries, no, but
                he walked away.

MR. COBB:         He limped away?

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       MICHAEL GOBERT: Yeah, I would say that.

       MR. COBB:              He survived the fight, though, right?

       MICHAEL GOBERT: Yeah, he survived it.

36 R.R. 40-41.

       The State stressed to the jury in closing that the family wanted the jury to

believe that Dwayne’s behavior must be associated with the accident because if it’s

not, then Dwayne is just “violent and evil and he’s going to hurt people.” 38 R.R.

227.

       1. Teachers Who Were Never Contacted Could Have Testified About
          Dwayne’s Lack of Impulse Control.

       At least three teachers from Gobert’s childhood who were never contacted

could have testified about academic and behavioral problems in school, and in

particular, how those problems related to what they perceived to be a lack of

impulse control.

       For example, Jane Allred-May recalled that Gobert came to the Houston

Student Achievement Center when he was in the second or third grade and

remained a student there for about three years before being sent back to his home

campus. See Affidavit of Jane Allred-May (SHCR 434-39).9 The Houston Student


9 Although Ms. Allred-May was never contacted by any of Dwayne’s attorneys prior to trial,
she was still living in Abilene and after the trial was over, she was contacted and interviewed by
a reporter from the Abilene News Reporter. Id. at ¶ 22.
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Achievement Center was an alternative school for students in Special Education

who needed assistance in the areas of behavior management and social skills

training. Id. Ms. Allred-May was lead teacher at the time, and because the school

was small, she knew all the students who attended. Id. at ¶ 16. Gobert was

referred there because he was a Special Education student who needed help

managing his behavior. Id. at ¶ 7. He needed a small classroom setting with

individualized attention. Id.

       Gobert was taught in a small, self-contained classroom with anywhere from

six to ten students. Id. at ¶ 11. The teachers worked with him on a daily point

sheet where he earned points for appropriate behavior — following directions,

respecting the rights, feelings and property of others, and completing his work at

his level of functioning. Id. Gobert was taught by an Individual Educational Plan,

or IEP, which is an educational plan designed to meet the unique educational needs

of a child. Id. at ¶ 12.

       Ms. Allred-May recalled that Gobert did not have much impulse control. Id.

at ¶ 15. If something made him mad, Gobert would take off running, and the

teachers would have to chase him down and bring him back to school. Id. He did

this more than once, and it was something that the teachers tried to work with him

on. Id. Ms. Allred-May has been an educator for 39 years, has worked with



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Special Education students for most of that time, and is qualified to work with

mentally retarded and emotionally disturbed students. Id. at ¶ 2. In her view,

students who lack impulse control have a tendency to overreact. Id. at ¶ 16. She

stated that with such students, it’s all about perception: “If someone looks at them

and they perceive that look as threatening in some way, then they react to that

perception.” Id. She also recalled that Gobert had a difficulty making a connection

with people. Id. at ¶ 18. While Gobert could be personable at times, he did not

develop a real nurturing connection with his teachers. Id. She finally stated that it

always appeared that Gobert was trying to be tough, which could have stemmed

from who his role model was at home or what he was being taught at home. Id. at

¶ 19.

        Gobert attended Abilene Christian School during the fall of his senior year.

Phyllis Gilbreth,10 his English teacher, recalled that he came to ACS with some

educational gaps and, as a result, she gave him individualized attention before or

after school to help him get up to speed. The grades he received in her class,

however, indicated that she bumped up his grades to make sure that he would pass

with a grade of 70. She stated that Dwayne struggled academically. He was taking

English III instead of English IV, a further indication that he was behind

academically. Gobert was able to attend the school with some financial assistance.


10 See Affidavit of Phyllis Gilbreth (SHCR ).
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       Kay Robbins11 was Gobert’s Fine Arts teacher. She recalled that Gobert was

so good in football that the students gave him the nickname “Bullet.” Ms. Robbins

did not have any problems with Gobert until he got into a fight with another

student who made a racially insensitive comment. As a result of this fight, Abilene

Christian Schools came to the decision that Gobert could not be allowed to stay

more than one semester. For the remainder of the semester, Gobert sat off to the

side of the class by himself while Ms. Robbins taught the rest of the class.

       According to Ms. Robbins, she had never seen someone react “in seconds”

the way that Gobert did, and she stated that he had no impulse control. She

perceived that Gobert came from a place where you can’t be pushed around; if

there is anything that can be perceived as an insult, you protected yourself

immediately otherwise you are perceived as “weak.” She further stated that Gobert

did not realize that a teacher would be able to help him resolve conflict. She

stated, “I don’t think that Gobert realized that I could have helped him resolve that

conflict…[i]t seemed to me that Dwayne did not realize that somebody would

intervene for him in a situation like that.” Furthermore, Abilene Christian School

was not equipped to handle kids with the kinds of problems that Gobert presented;

they school could not give him the structure that he needed. Ms. Robbins did not




11 See affidavit of Kay Robbins (SHCR ).
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recall meeting Gobert’s mother or father and stated that she did not perceive there

to be the necessary structure at home that he needed. She stated,

      It was unfortunate that Dwayne lasted only one semester because I
      believe that he really wanted to make it. I call that he enrolled at ACS
      with two other minority students. One of the students left right after
      registration because the curriculum was too demanding for him. The
      other student lasted a couple of weeks and then quit, too, also because
      the curriculum was too hard. Even though Dwayne left after one
      semester, he lasted longer than the other two students. It seemed to
      me that Dwayne really wanted to stay and do well. I think he saw
      football as the way he was going to make it. At the same time, ….
      Dwayne was too shortsighted to be able to visualize how this could
      have helped his future.

      2. Family Members Could Have Provided a Wealth of Mitigating
         Evidence Concerning Mr. Gobert’s Background.

      Although Gobert’s mother testified at trial about receiving a beating from

Gobert’s biological father in her eighth month of pregnancy with Gobert, the

information she could have provided about the extent of the physical, emotional

and psychological abuse she suffered at the hands of Milton Epperson would have

painted a far different picture than what the jury heard. Gobert’s mother was not

only beaten during her pregnancy with Gobert; she was beaten all the time by

Gobert, and she lived in fear the whole time that they were married. See Affidavit

of Alice Faye Gobert (SHCR ). Gobert would use his fists to hit her on her head,

her face, and all over her body. Id. She went to the hospital two or three times

after he beat her but, usually, she would not report him because it would only make


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the beatings worse. Id. Milton Epperson was a heavy drinker and was all the more

explosive and belligerent when he drank. Id. at ¶ 19. He would throw things,

break TV’s, and turn over furniture. Id. at ¶ 20. As a result of the beatings,

Gobert’s mother became very depressed and once contemplated committing

suicide by driving her car off of an overpass. Id. at ¶ 18.

      Milton Epperson could not keep a job because of his heavy drinking and

drug use. Id. at ¶ 29. After losing a job, Gobert would disappear for days or weeks

at a time. Id. at ¶ 13. He would take Faye’s car and drive it to Waco, leaving her

without any transportation to and from the West Texas Medial Center, where she

worked full-time as a nurse. Id. at ¶ 12-14. When her night shift ended at 10:00

p.m. and Milton wouldn’t come for her, Gobert’s mother would walk nearly two

miles home by herself. Id. at ¶ 14. The last time she did that, she was full-term

with Gobert’s older sister, Michelle. Id. Gobert’s mother did not want to tell her

mother and father because they already hated Gobert and would only hate him

even more. Id.

      Milton Epperson went back and forth from Abilene to Waco like this, never

telling her where he had been or why he had stayed gone for so long, Id. at ¶ 13,

until he convinced Faye to move out to Waco with him for good. Id. at ¶ 27. She

did and things were fine for a while, until she realized that Gobert had lost his job

again because he was not paying the rent. Id. Faye remembers almost starving to

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death the time she lived in Waco. Id. at ¶ 30. Gobert’s mother once brought them

a chicken and a pack of beans, which she and her two children lived off of for a

week. Id. At that time, she was still pregnant with Gobert. Id. It was also around

this time that Milton beat Faye, causing Gobert to be born prematurely, which she

testified about at trial. Id. at ¶ 31.

       Gobert’s mother was not asked to explain in detail the beating she suffered

from Milton Epperson that day. If she had been asked, Faye would have told the

jury that Gobert had gotten so angry over something that he dragged Faye out of

the house by her hair. Id. at ¶ 32. Faye fell over the front porch onto the lawn, and

Gobert started punching and kicking her while she lay on the ground. Id. Gobert’s

mother, Mae, stood there and watched but then eventually ran inside the house and

locked the door so that Faye could not get inside. Id. Gobert only stopped beating

Faye when two girls across the street who were witnessing all of this said that they

were calling the police. Id. The police arrived and escorted Faye to the apartment

where they were living at the time. Id.       Faye packed her and her children’s

belongings and asked the couple across the hall if she and her two children could

stay with them that night, which they allowed her to do. Id. at ¶ 33. Later that

night, Milton Epperson came banging on the door demanding to talk to “his wife,”

but he was told that Faye was not there. Id. The next day, Faye and her children

got a ride to Abilene from the woman’s sister. Id.

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      Milton Epperson was not the only alcoholic that Gobert’s mother married.

Her first husband and father of Dwayne’s older brother Michael, George Davis,

was also an alcoholic. Id. at ¶ 7. Faye met George Davis when she was 23 years

old and he was 37. Id. at ¶ 5-6. Even though George’s family warned Gobert’s

mother against marrying George because he was an alcoholic, they got married six

months later. Id. at ¶ 6-7. George would hide bottles of liquor in the closet or

under the bed; sometimes, he missed work because he was so hung over. Id. at ¶ 7.

Because of his drinking, Gobert’s mother divorced him less than a year later, when

she was pregnant with Michael. Id. at ¶ 8.

       The last man that Faye married was Johnny Gobert, and they remained

married for about 10 years. Id. at ¶ 42. Although Gobert’s mother never saw

Johnny drink, she would sometimes find liquor bottles in his closet. Id. at ¶ 43.

Johnny left after Faye found out that he had cheated on her with another woman;

he packed up his things, left without saying goodbye to the children, and never

came back. Id. Gobert’s mother became depressed again. Id. at ¶ 45.

      When Johnny Gobert left the family, Gobert’s older brother, Michael,

stepped into the role of a father figure at the age of 14. Exhibit 2 (Affidavit of

Michael Gobert) at ¶ 19. Michael testified that because his mother was by herself,

as he got older he took on a big brother role and took care of his siblings while she

worked. 36 R.R.10. Michael further testified that the neighborhood they grew up

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in was rough; he and Gobert used to get chased home by neighborhood bullies

until one of their uncles finally taught Michael to fight back. Id. at 11. Michael

also taught Gobert to fight in order to defense himself. Id. Michelle testified that

they engaged in the “typical” kind of sibling fights, but nothing particularly

serious. Id. at 218.

C. Harm Analysis

         A reasonable mitigation investigation would have armed trial counsel with

abundant mitigating evidence regarding Gobert’s background and upbringing, and

that evidence would have also allowed counsel to confront Gobert’s problematic

prone to aggression differently during the punishment phase.12 Counsel could have


12 See also Williams v. Taylor, 529 U.S. 362, 395, 120 S.Ct. 1495, 146 L.Ed.2d 389 (2000) (finding counsel's
performance deficient where counsel failed to investigate or otherwise prepare for mitigation until a week before trial
and failed to “conduct an investigation that would have uncovered extensive records graphically describing Williams'
nightmarish childhood”); Harries v. Bell, 417 F.3d 631, 638 (6th Cir. 2005) (finding that counsel failed to conduct an
adequate investigation where counsel limited their investigation to contacting by telephone the petitioner's mother
and brother, sent requests for information to some institutions in which the petitioner had been confined,
interviewed only four witnesses-the petitioner, his co-defendant, and two state witnesses, and declined to seek the
assistance of a mental health expert or to conduct a thorough investigation into the petitioner's history of mental
health or family background); Hamblin v. Mitchell, 354 F.3d 482, 488 (6th Cir. 2003) (adopting the 1989 and 2003
standard for attorneys representing death penalty prisoners in 1982 and holding that counsel's failure to adhere to
those guidelines constituted ineffective assistance of counsel; finding that had counsel investigated the case, counsel
would have found a large body of mitigating evidence including fact that the petitioner grew up in a poor and
unstable environment and likely suffered from a mental disability or disorder); Powell v. Collins, 332 F.3d 376, 399
(6th Cir. 2003) (holding that trial counsel's failure to construct the defendant's social history through access to
background records and interviews with family and friends constituted deficient performance); Coleman v. Mitchell,
268 F.3d 417, 452 (6th Cir. 2001) (holding that trial counsel were ineffective for failing to investigate and present the
petitioner's highly traumatic childhood, two head injuries, psychological history showing a borderline retarded range
IQ and mixed personality disorder); Carter v. Bell, 218 F.3d 581, 597, 599 (6th Cir. 2000) (finding deficient
performance because counsel failed to investigate and present at mitigation evidence of the defendant's illegitimacy,
family history, limited education, low IQ, mental condition and positive relationships with children); Austin v. Bell,
126 F.3d 843, 849 (6th Cir. 1997) (holding that counsel's failure to investigate and present mitigation “because he
didn't think it would do any good” rendered death sentence unreliable); Glenn v. Tate, 71 F.3d 1204, 1208-11 (6th
Cir. 1995) (holding that counsel's investigation was deficient where the attorneys presented some, but failed to
uncover more convincing mitigating evidence, including evidence of the petitioner's mental retardation, his
neurological impairment, and his need for attention and susceptibility to the influence of his brother). Counsel's
failure to investigate is not excused by the fact that Poindexter could have provided much of this information. Cf.
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made informed choices, knowing that Gobert’s childhood was subject to beatings,

emotional abuse, physical abuse, and ‘fighting for survival.’

         The defense trial team did not present readily available mitigating

information, including Gobert’s mental and emotional instability a year prior to the

crime and after just being released from prison after nine years of incarceration;

Gobert’s constant and persistent fear of being “possessed” by demons; Gobert’s

lack of impulse control as witnessed by elementary and high school teachers;

details about the extent of abuse suffered by Gobert’s mother before and after her

pregnancy with Gobert; and how Gobert suffered physical torture, both from

bullies in the neighborhood and from his older brother, Michael.

         A laundry list of mitigating factors that could have been, but not presented

include:

                  - Family history of substance abuse
                  - Family and personal history of depression
                  - Suicide ideation
                  - Gobert’s Suicide Attempt
                  - Gobert’s Substance Abuse
                  - Academic Problems
                  - Physical Abuse
                  - Gobert’s mother had a series of marriages to abusive and alcoholic
                  men.
                  - Gobert’s mother suffered severe physical, emotional, and
                  psychological abuse from Gobert’s biological father

Hamblin, 354 F.3d at 492 (noting that “ABA and judicial standards do not permit the courts to excuse counsel's
failure to investigate or prepare because the defendant so requested”; and cases cited therein). See also Dickerson v.
Bagley, 453 F.3d 690 (6th Cir. 2006).

	  
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              - Gobert was physically abused by his older brother

      The State’s focus on whether Gobert’s behavior was caused by the accident

is misguided and limited the effectiveness of the mitigation presentation. During

the mitigation presentation, the issues are: What was Gobert’s behavior like? What

are the potential causes of Gobert’s behavior? Did those causes contribute to this

crime?

      Had trial counsel presented the evidence submitted within the state habeas

writ there is a more than “reasonable probability” that it would have influenced at

least one of the jurors in Gobert’s punishment trial on the issue of his moral

culpability under the Texas mitigation issue. See Lewis v. Dretke, 355 F.3d 364,

369 (5th Cir. 2003) (affirming single juror standard for Wiggins prejudice). The

State trial court’s failure to grant relief on this claim is the result of an

unreasonable application of the facts of this case to well-settled Supreme Court

precedent.

      CLAIM IV: GOBERT’S 6TH                   TH
                                 AND 14 AMENDMENT RIGHTS TO THE
      EFFECTIVE ASSISTANCE OF COUNSEL WERE VIOLATED WHERE
      APPELLATE COUNSEL FAILED TO RAISE LEGALLY COGNIZABLE AND
      VIABLE CLAIMS ON DIRECT APPEAL.



      Exhaustion: This claim was properly preserved for federal review. Gobert

raised the violation of federal constitutional rights in his State habeas writ at pages



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86-95. The trial court signed FFCL denying relief as to this claim (SHCR1/162-

64).

       The CCA agreed with the trial court’s findings. Ex Parte Gobert, No. WR-

77,090-01 (Tex. Crim. App. 2015). The trial court held no evidentiary hearing in

this case. Instead the trial court adopted verbatim the State’s proposed findings of

facts and conclusions of law (SHCR 1/162-64).

ISSUE RESTATED: The State trial court’s ruling denying Gobert’s ineffective
appellate counsel claim on the basis that 1) it was not error to admit the testimony
of paramedic Brian Mason that Demetrius’s injuries were consistent with someone
trying to kill him; 2) it was not error to exclude the hearsay testimony of Detective
de los Santos under Crawford v. Washington; and 3) it was not error to admit a
video recording showing Demetrious’s physical condition as he was being
interviewed at the hospital is the result of an reasonable application of Strickland
and Wiggins to the facts of this case.

       A.     Inadmissibility of The Testimony of Paramedic Brian
              Mason

              1.   Statement at Issue

       Bryan Mason, a paramedic for Austin Travis County EMS, was dispatched

to the Woodland Heights Apartments on the morning of October 6, 2003. 26 R.R.

66. He noticed Mel Cotton’s son, Demetrius McCann Cotton, with some visible

injuries, and he began to assess him as soon as he walked into the apartment. Id. at

68, 70.     Mason saw what looked to be three penetrating stab wounds over

Demetrius’ left anterior chest wall. Id. at 73. The wounds were “very concerning”

and deep in nature. Id. He was surprised that his lung sounds were normal,

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because of how deep the wounds looked. Id. The State asked Mr. Mason, “Based

on the injuries to this child that you observed, in your opinion, did it seem to be

consistent with someone who was trying to kill him?” Id. at 87. Mason responded,

“Absolutely.” Id. at 88.

      Defense counsel objected on the basis that the answer called for speculation

and was outside of the witness’s expertise. Id. at 88. The State responded that

because Mason had testified about where the injuries were, how many there were,

and how deep they went, he was making a medical opinion. Id. Defense counsel

responded that the witness was not qualified to make a medical opinion or

diagnosis or do the job of a pathologist, and that he was speculating at this point.

Id. The Court found the State’s questioning objectionable under Rule 704 after a

bench discussion:

The Court:          The question that you asked him was did he --

Ms. Wetzel:         Were these injuries consistent with someone trying to kill him.
                    And what he’s testified is that he has 12 years as a paramedic
                    and that this child was stabbed at least three times in the chest
                    in the area of his heart. It’s not a -- it's a kind of common
                    sense.

Mr. Martinez:       He can’t testify under -- he cannot, under Rule 704, testify as to
                    what somebody’s state of mind might have been, like their
                    mental state, like intentional or --

The Court:          She says that the question that she asked was whether or not the
                    injuries were consistent with somebody trying to kill him. I
                    think he can answer that.

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Mr. Martinez:      I don’t think so.

The Court:         In terms of, you know, state of mind of somebody else and
                   everything, I think that’s clearly objectionable. But in terms
                   of whether or not the injuries were consistent, I think he can
                   testify on that.

Id. at 88-89 (emphasis added).

      The State then asked again whether the injuries he observed on Demetrius

were consistent with someone who trying to kill him, id. at 89, to which Mason

responded that they were.

             2.    Error In The Admission of Mason’s Statement

      The Texas Rules of Evidence set out three separate conditions regarding

admissibility of expert testimony. First, Rule 104(a) requires that “[p]reliminary

questions concerning the qualification of a person to be a witness ... be determined

by the court....” TEX. R. EVID. 104(a). Second, Rule 702 states: “If scientific,

technical, or other specialized knowledge will assist the trier of fact to understand

the evidence or to determine a fact in issue, a witness qualified as an expert by

knowledge, skill, experience, training, or education may testify thereto in the form

of an opinion or otherwise.” Tex. R. Evid. 702.      And third, Rules 401 and 402

render testimony admissible only if it “tend[s] to make the existence of any fact

that is of consequence to the determination of the action more probable or less



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probable than it would be without the evidence.” TEX. R. EVID. 401, 402. Vela v.

State, 209 S.W.3d 128, 130-31 (Tex. Crim. App. 2006).

      In the prosecution of Gobert, the State did not satisfy the requirements for

the opinion of Bryan Mason, a paramedic, to be admissible because this testimony

does not meet the three requirements discussed above. Vela, 209 S.W.3d at 130-31.

First, there are insufficient facts to show that Mr. Mason had the necessary

qualifications to provide the opinion. Second, Mr. Mason lacked the necessary

scientific, technical, or other specialized knowledge that would assist the trier of

fact to understand the evidence or to determine a fact in issue. Finally, the opinion

did not tend to make the existence of any fact that is of consequence to the

determination of the action more probable or less probable than it would be

without the evidence. As a result, the trial court erred in overruling Gobert’s

objection and allowing Bryan Mason to state an opinion that Demetrius’ injuries

were consistent with someone trying to kill him.

             3.    Harm Analysis

      Gobert was harmed by the improper admission of Bryan Mason’s opinion

that Demetrius’s injuries were consistent with someone trying to kill him because

that evidence was extremely inflammatory. Because of its ultimate and extreme

inflammatory nature, the prejudice caused by the admission of this evidence, i.e.,

the likelihood that the jury would use it improperly outweighed its probative value.

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The inflammatory nature of this type of evidence is so extreme there is no

reasonable inference other than the jury would have improperly considered it when

it was determining Gobert’s guilt.     Ultimately, this evidence was such as to

encourage resolution of material issues on an emotional and improper basis rather

than on the basis of the evidence on which the allegations of wrongdoing were

grounded. Gobert was improperly convicted of this offense based on character

evidence, that is, of being a ‘bad person’ in violation of the Texas Rules of

Evidence. Santellan v. State, 939 S.W.2d at 168. Smith v. State, 12 S.W.3d 149,

152 (Tex. App. -- El Paso 2000, pet. ref'd).       “This prohibition is not only a

substantial right, but a basic tenet of our criminal justice system.” Smith v. State,

12 S.W.3d at 152.

      The trial court abused its discretion by allowing by the improper admission

of Bryan Mason’s opinion that Demetrius’ injuries consistent with someone trying

to kill him. When such evidence is presented to a jury, for the reasons set out

above, it necessarily falls within the harm parameters set out by Tex. R. App. P.

44.2 as an error affecting the substantial rights of the accused to a fair trial. The

result of the improper and inflammatory evidence admitted in this case is a guilty

verdict that is clearly wrong and unjust that “shocks the conscience” and “clearly

demonstrates bias.”    Santellan v. State, 939 S.W.2d at 164. Thus, Gobert was



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harmed and this harm requires he be given a new trial. Enriquez v. State, 56

S.W.3d 596 (App. 13 Dist. 2001, pet. ref’d.).

             4.     Conclusion

      Appellate counsel was ineffective for failing to claim on appeal that the trial

court erroneously overruled trial counsel’s objection to Bryan Mason’s testimony

that Demetrius Cotton’s injuries were consistent with someone who was trying to

kill him. If Appellate counsel had raised this claim on appeal, the Texas Court of

Criminal Appeals would have reversed Gobert’s conviction and given him a new

trial. But for Appellate counsel’s unprofessional errors, the result of Gobert’s

would have been different. See Strickland v. Washington, 466 U.S. 668, 687, 104

S.Ct. 2052, 80 L.Ed.2d 674 (1984). The trial court’s failure to grant relief as to

this claim is the result of unreasonable application of well-settled Supreme Court

precedent to the facts of this case.


B.    The Testimony of Detective De Los Santos’s Testimony Under
      Crawford v. Washington

             1.     Introduction

      Eric De Los Santos testified that Demetrius told him, as he was lying in a

hospital bed, that the man who stabbed his mother “took all my mama’s purse and

money.” The trial court overruled Gobert’s objection that this testimony violated

his right to cross examine the witness in violation of his rights under the Sixth

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Amendment.

            2.     Argument

      The Sixth Amendment guarantees a criminal defendant the right to confront

“the witnesses against him.” This is the same protection guaranteed in the Texas

Constitution. Tex. Const. Art. I§10. The Sixth Amendment protection extends to

out-of-court statements used as evidence against the accused.         Crawford v.

Washington, 541 U.S. 36, 51, 124 S.Ct. 1354, 1364, 158 L.Ed.2d 177 (2004). Out-

of-court statements deemed as “testimonial” are impermissible as evidence against

the accused. Id. Out-of-court statements taken by police officers in the course of

interrogations are generally deemed “testimonial” under Sixth Amendment

Confrontation Clause standards. Id.; Davis v. Washington, 547 U.S. 813, 822;

(2006) (defining statements as testimonial when “the circumstances objectively

indicate that there is no such ongoing emergency and that the primary purpose of

the interrogation is to establish or prove past events potentially relevant to later

criminal prosecutions”).

      When deciding cases involving the federal constitution, Texas courts are

bound by United States Supreme Court decisions interpreting the federal

constitution. State v. Guzman, 959 S.W.2d 631, 633 (Tex. Crim. App. 1998). The

United States Supreme Court has held that “[t]estimonial statements of witnesses

absent from trial [may be] admitted only where the declarant is unavailable, and

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only where the defendant has had a prior opportunity to cross-examine.” Crawford

v. Washington, 541 U.S. 36, 59; 124 S.Ct. 1354; 158 L.Ed.2d 177 (2004).

      3.      Harm Analysis

      Having shown the admission of the Eric De Los Santos statement violated

Gobert’s constitutional confrontation rights, it is next demonstrated how its

admission harmed him. Federal constitutional error is harmless and not reversible

only if it appears “beyond a reasonable doubt that the error complained of did not

contribute to the verdict obtained.”     Chapman v. California, 386 U.S. 18, 24

(1967). A federal constitutional error “did not contribute to the verdict obtained’ if

the verdict ‘would have been the same absent the error.” Neder v. U.S., 527 U.S. 1

(1999).    The so-called Chapman test is codified in Texas Rules of Appellate

Procedure 44.2(a). Clay v. State, 240 S.W.3d at 904.

      To assess the likelihood that, absent the trial court’s error in admitting the

evidence, the jury’s verdict would have been the same, the reviewing court must

examine the entire record. Clay v. State, 240 S.W.3d at 904. Among the factors to

be considered are (1) the importance of the evidence to the State's case;

(2) whether the evidence was cumulative of other evidence; (3) the presence or

absence of other evidence corroborating or contradicting the evidence on material

points; and, (4) the overall strength of the State's case. Id. The court must also



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consider any other factor in the record that may shed light on the probable impact

of the trial court's error on the minds of average jurors. Id.

      The harmful impact of the Eric De Los Santos statement is obvious. This

statement supported the robbery allegation and the jury’s finding that Gobert was

guilty of a capital murder. As described above, the only evidence even remotely

supporting the robbery finding was evidence from Demetrius. The De Le Santos

inadmissible statement corroborated Demetrius’s testimony and made it more

believable.

      4.      Conclusion

      Appellate counsel was ineffective for failing to claim on appeal that the trial

court erroneously overruled trial counsel’s objection to this testimony.           If

Appellate counsel had raised this claim on appeal, the Texas Court of Criminal

Appeals would have reversed Gobert’s conviction and granted him a new trial.

But for Appellate counsel’s unprofessional errors, the result of Gobert’s appeal

would have been different. See Strickland v. Washington, 466 U.S. 668, 687, 104

S.Ct. 2052, 80 L.Ed.2d 674 (1984).

A.   The Admissibility of the Demetrious Cotton Hospital Video

      State’s Exhibit 12 is the videotape of an injured Demetrius in his hospital

bed. There is no sound to the video, only picture. The State claimed this evidence

was admissible and relevant because it demonstrated Demetrius’s physical state at

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the time he was interviewed. Trial counsel made a relevance objection. When that

objection was overruled, counsel objected under Rule 403 of the Texas Rules of

Evidence, arguing that prejudice will substantially outweigh the video’s probative

value. This objection was also overruled and the videotape was admitted. 26 R.R.

159.

   B. Argument and Authorities

       Evidence is relevant if it has any tendency to make the existence of any fact

of consequence to the determination of the action more probable or less probable

than it would be without the evidence. Tex. R. Evid. 401. The admission of

relevant evidence is largely left to the discretion of the trial court. Moreno v. State,

858 S.W.2d 453, 463 (Tex. Crim. App. 1993). Absent an abuse of discretion, the

trial court’s decision will not be reversed on appeal. Id. Although relevant,

evidence may be excluded if its probative value is substantially outweighed by the

danger of unfair prejudice. Tex. R. Evid. 403. Therefore, upon further objection

from the opponent of the evidence based on Rule 403, the trial court must weigh

the probative value of the evidence against the potential for unfair prejudice.

Montgomery v. State, 810 S.W.2d 372, 389 (Tex. Crim. App. 1990). In keeping

with the presumption of admissibility of relevant evidence, there is a presumption

that relevant evidence is more probative that prejudicial.          Santellan v. State,

939 S.W.2d 155, 169 (Tex. Crim. App. 1997). The trial court’s ruling whether to

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exclude evidence under Rule 403 is also measured by an abuse of discretion

standard and will not be reversed if the ruling is within the zone of reasonable

disagreement. Montgomery v. State, 810 S.W.2d at 391.

      Evidence that does not have relevance apart from character conformity is

inadmissible. Tex. R. Evid.404(a). Character evidence is not admissible under

Rule 404(b) if the extraneous-offense evidence is relevant to a fact of consequence

apart from its tendency to show conduct in conformity with character. Johnston v.

State, 145 S.W.3d 215 (Tex. Crim. App. 2004).

      Once a trial court rules that evidence is not barred under Rule 404(b), the

opponent of the evidence may further object under Rule 403. Santellan v. State,

939 S.W.2d 155, 169-70 (Tex. Crim. App. 1997). Rule 403 provides: “Although

relevant, evidence may be excluded if its probative value is substantially

outweighed by the danger of unfair prejudice, confusion of the issues, or

misleading the jury, or by considerations of undue delay, or needless presentation

of cumulative evidence.” Tex. R. Evid. 403. Relevant evidence is generally

admissible, but it is properly excluded under Rule 403 when its probative value is

substantially outweighed by the danger of unfair prejudice. In keeping with the

presumption of admissibility of relevant evidence, trial courts should favor

admission inn close cases. Montgomery v. State, 810 S.W.2d at 389.



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      The term “probative value” refers to the inherent probative force of an item

of evidence - that is, how strongly it serves to make more or less probable the

existence of a fact of consequence to the litigation - coupled with the proponent's

need for that item of evidence. Gigliobianco v. State, 210 S.W.3d 637, 641 (Tex.

Crim. App. 2006). When conducting the balancing test under Rule 403, the trial

court determines whether the probative value of the evidence is substantially

outweighed by one of the following countervailing considerations listed in the rule.

Crank v. State, 761 S.W.2d 328, 342 n.5 (Tex. Crim. App. 1988), overruled on

other grounds by, Alford v. State, 866 S.W.2d 619, 624 (Tex. Crim. App. 1993).

      “Unfair prejudice” refers to a tendency to suggest decision on an improper

basis, commonly, though not necessarily, an emotional one. Gigliobianco v. State,

210 S.W.3d 637 at 641 (citing Montgomery v. State, 810 S.W.2d at 389). Evidence

might be unfairly prejudicial if, for example, it arouses the jury’s hostility or

sympathy for one side without regard to the logical probative force of the evidence.

Id. at 641.

      “Confusion of the issues” refers to a tendency to confuse or distract the jury

from the main issues in the case. Gigliobianco v. State, 210 S.W.3d 637 at 641.

Evidence that consumes an inordinate amount of time to present or answer, for

example, might tend to confuse or distract the jury from the main issues.

“Misleading the jury” refers to a tendency of an item of evidence to be given undue

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weight by the jury on other than emotional grounds. For example, “scientific”

evidence might mislead a jury that is not properly equipped to judge the probative

force of the evidence. Id. “Undue delay” and “needless presentation of cumulative

evidence” concern the efficiency of the trial proceeding rather than the threat of an

inaccurate decision. Id.

      A trial court must balance (1) the inherent probative force of the proffered

item of evidence along with (2) the proponent's need for that evidence against

(3) any tendency of the evidence to suggest decision on an improper basis, (4) any

tendency of the evidence to confuse or distract the jury from the main issues,

(5) any tendency of the evidence to be given undue weight by a jury that has not

been equipped to evaluate the probative force of the evidence, and (6) the

likelihood that presentation of the evidence will consume an inordinate amount of

time or repeat evidence already admitted. Id. at 641-42.

      When the opponent of evidence satisfactorily demonstrates that its probative

value is far less than the danger of unfair prejudice it poses, and he objects to its

receipt on that basis, the trial judge must not admit it.          Fuller v. State,

829 S.W.2d 191, 206 (Tex. Crim. App. 1992), overruled on other grounds by

Castillo v. State, 913 S.W.2d 529 (Tex. Crim. App. 1995).           In making this

determination, the trial judge should consider the inherent tendency that some

evidence may have to encourage resolution of material issues on an inappropriate

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basis and should balance carefully against it if the host of factors affecting

probativeness, including weight of the evidence and the degree to which its

proponent might be disadvantaged without it. Id.

      State’s Exhibit 12 constitutes evidence that is not relevant to any issue in the

trial - other than an attempt to invoke sympathy because Demetrius was grievously

injured by Gobert. an attempt to invoke sympathy is the principal evil to be

avoided when it comes to Rule 404(a) evidence. Therefore, the admission of

State's Exhibit 12 violates Rule 401 of the Texas Rules of Evidence because it is

not relevant and the Trial Judge erred in admitting it.

      Even if State’s Exhibit 12 is relevant and is not inadmissible character

evidence, its probative value is far less than the danger of its unfair prejudice. It is

this ‘unfair prejudice’ that violates Rule 403 of the Texas Rules of Evidence. Tex.

R. Evid. 401. The State was not satisfied with merely proving that Gobert had

injured Demetrius. Instead, the State chose to introduce Exhibit 12 to invoke

sympathy and unfairly prejudice Gobert before the jury.

      Finally, the Trial Judge failed to perform the required balancing test to

determine whether the probative value outweighed its prejudice as required by

Rule 403 and Montgomery. Tex. R. Evid. 403; Montgomery v. State, 810 S.W.2d

at 389. Without this balancing test, it is impossible for this Court to determine the

efficacy of the following factors: (1) the inherent probative force of the proffered

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item of evidence along with (2) the proponent's need for that evidence against

(3) any tendency of the evidence to suggest decision on an improper basis, (4) any

tendency of the evidence to confuse or distract the jury from the main issues,

(5) any tendency of the evidence to be given undue weight by a jury that has not

been equipped to evaluate the probative force of the evidence, and (6) the

likelihood that presentation of the evidence will consume an inordinate amount of

time or repeat evidence already admitted. Montgomery v. State, 810 S.W.2d at

389.

            C. Harm Analysis

       Because of its ultimate and extreme inflammatory nature, the prejudice

caused by the admission of State’s Exhibit 12, i.e., the likelihood that the jury

would use it improperly outweighed its probative value. The inflammatory nature

of this type of evidence is so extreme there is no reasonable inference other than

the jury would have improperly considered it when it was determining Gobert’s

guilt. Ultimately, this evidence was such as to encourage resolution of material

issues on an emotional and improper basis rather than on the basis of the evidence

on which the allegations of wrongdoing were grounded. Gobert was improperly

convicted of this offense based on this irrelevant and prejudicial evidence in

violation of the Texas Rules of Evidence. Santellan v. State, 939 S.W.2d at 168.

Smith v. State, 12 S.W.3d 149, 152 (Tex. App. -- El Paso 2000, pet. ref'd). “This

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prohibition is not only a substantial right, but a basic tenet of our criminal justice

system.” Smith v. State, 12 S.W.3d at 152.

      The trial court abused its discretion by allowing State’s Exhibit 12 into

evidence. When such evidence is presented to a jury, for the reasons set out above,

it necessarily falls within the harm parameters set out by Texas. R. App. P. 44.2 as

an error affecting the substantial rights of the accused to a fair trial. The result of

the improper and inflammatory evidence admitted in this case is a guilty verdict

that is clearly wrong and unjust that “shocks the conscience” and “clearly

demonstrates bias.” Santellan v. State, 939 S.W.2d at 164. As a result, the trial

court erred when it failed to grant habeas relief on this issue and no reasonable

jurist can countenance this misapplication of federal constitutional law.

      D. Conclusion

      Appellate counsel was ineffective for failing to claim on appeal that the trial

court erroneously overruled trial counsel’s objection.      If Appellate counsel had

raised this claim on appeal, the Texas Court of Criminal Appeals would have

reversed Gobert’s conviction and given him a new trial.            But for Appellate

counsel’s unprofessional errors, the result of Gobert’s appeal would have been

different. See Strickland v. Washington, 466 U.S. 668, 687, 104 S.Ct. 2052, 80

L.Ed.2d 674 (1984).



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      The trial court’s finding that Appellant counsel was not ineffective in failing

to raise this issue is the result of a misapplication of the facts of this case to well-

settled federal law under Strickland.

       CLAIM NUMBER V: STATE HABEAS             COUNSEL WAS INEFFECTIVE UNDER
       MARTINEZ V. RYAN FOR FAILING TO FULLY INVESTIGATE AND DEVELOP
       CLAIM FIVE IN THE STATE HABEAS WRIT ADDRESSING WHETHER TRIAL
       COUNSEL RENDERED INEFFECTIVE ASSISTANCE OF COUNSEL BY FAILING
       TO THOROUGHLY INVESTIGATE THE TESTIMONY OF TASHA LASS PRIOR TO
       CALLING HER AS A DEFENSE WITNESS DURING THE GUILT/INNOCENCE
       PHASE OF TRIAL.



A.    Martinez Unexhausted Claim Standard

      Due to the ineffective assistance of State habeas counsel, this claim was not

fully adjudicated in the State courts. Although State habeas counsel raised this

claim in Gobert’s State habeas writ, he failed to adequately investigate and raise

facts in the state court in support of this claim. As consequence, this claim remains

essentially unexhausted.

      In Dickens v. Ryan, 740 F.3d 1302 (9th Cir. 2014), an en banc panel of the

Ninth Circuit held that an IAC claim adjudicated on the merits in state court is

nonetheless unexhausted, and may be procedurally defaulted, if it is fundamentally

altered by new facts alleged in a federal habeas petition. In Dickens, the petitioner

argued in state court that his sentencing counsel provided ineffective assistance by

failing to direct the work of a court-appointed psychologist and to adequately


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investigate the petitioner's background. Id. at 1317. The state court denied the

claim on the merits, finding that counsel's performance was not deficient and that

the petitioner had failed to demonstrate he was prejudiced. Id. In his federal habeas

petition, however, the petitioner “changed his claim to include extensive factual

allegations suggesting Dickens suffered from FAS and organic brain damage.” Id.

(emphasis added).

      In determining whether the petitioner's claim was unexhausted, the court in

Dickens explained that factual allegations not presented to a state court may render

a claim unexhausted if the allegations “fundamentally alter” the legal claim

presented and considered by the state courts. Id. at 1317 (citing Vasquez v. Hillery,

474 U.S. 254, 260 (1986)). It further observed that new evidence fundamentally

alters a claim if it places the claim in a significantly different and stronger

evidentiary posture than it was in state court. See Aiken v. Spalding, 841 F.2d 881,

883, 884 n.3 (9th Cir. 1988).

      In accordance with Dickens, counsel raises this unexhausted and

procedurally defaulted claim under the Supreme Court’s holding in Trevino.

Recently, in Trevino v. Thaler, the Supreme Court held that the holding of

Martinez applies to Texas: “[A] procedural default will not bar a federal habeas

court from hearing a substantial claim of ineffective assistance at trial if, in the

initial-review collateral proceeding, there was no counsel or counsel in that

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proceeding was ineffective.” Trevino v. Thaler, 133 S. Ct. 1911 (U.S. 2013) (citing

Martinez v. Ryan, 132 S. Ct. 1309, 182 L. Ed. 2d 272 (2012)). Gobert submits that

State habeas counsel was ineffective for failing to present this claim in his State

writ of habeas corpus.

      State habeas counsel should have fully developed this claim prior to raising

it in the State habeas writ. As a consequence, State habeas counsel’s performance

was deficient. The State Bar of Texas has identified the “Duties of Habeas Corpus

Counsel” in the State Bar of Texas’ Guidelines and Standards for Texas Capital

Counsel.

http://www.texasbar.com/Content/NavigationMenu/ForLawyers/Committees/Texa

sCapitalGuidelines.pdf).

      The Texas State Bar, in identifying the duties of capital habeas counsel,

identified one duty as follows: Habeas corpus counsel cannot rely on the

previously compiled record, but must conduct a thorough and independent

investigation.   Specifically, habeas counsel cannot rely on the work of, or

representations made by, prior counsel to limit the scope of the post-conviction

investigation. Counsel must not assume that the trial record presents either a

complete or accurate picture of the facts and issues in the case. Further, the State

Bar has also stated that state habeas “counsel has a duty to conduct a searching

inquiry to assess whether any constitutional violations may have taken place.” Id.

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      It should have been obvious to trial counsel that by failing to thoroughly

investigate Gobert’s jail record, including his history of inappropriate relations

with a female jailer, that it was a disastrous move to call Deputy Lass to testify at

trial as to a trivial issue concerning the lack of privacy of inmate’s property while

in jail. State habeas counsel failed to even raise this point in the state court,

thereby leaving this claim unexhausted at the federal habeas level.

B.    Facts in Support of Unexhausted Claim

      In the state habeas writ, counsel argued that trial counsel was ineffective in

failing to investigate Tasha Lass prior to calling her as a defense witness during the

guilt/innocence phase of trial and that her recall by the State during the punishment

phase of the trial prejudiced the outcome of the penalty phase of trial (SHCR

2/369). State habeas counsel (“SHC”) raised the scantest of facts in support of the

IAC claim. Rather than developing the underlying facts in support of this claim

from the record, SHC simply copied a brief summary of the facts about Lass’s

testimony out of the Texas Court of Criminal Appeal’s direct appeal opinion.

Gobert v. State, 2011 WL 5881601, *2 (Tex. Crim. App. 2011). The State, in its

answer to the state habeas writ, also pointed out this fact to the trial court.

      The Gobert admits his claim was denied on direct appeal and makes
      no claim that the record was incomplete at that time, or that additional
      information has been or could be gathered to substantiate this claim.
      In fact, in summarizing the facts supporting this ground, the Gobert
      copied four paragraphs from the Court of Criminal Appeals’ opinion

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      on direct appeal verbatim, with the addition of one citation to the
      record and one switch of the word appellant to Gobert.

State’s Answer to Habeas Writ at 31.


       Rather than expanding upon the direct appeal issue with additional facts in

support of the claim, SHC simply argued that “Gobert’s trial counsel admitted to

the trial judge [during the punishment trial and after they’d already called Lass as a

defense witness in the guilt/innocence phase] that he failed to conduct any

investigation into the background of Lass or her relationship with Appellant”

(SHCR 2/368).      Although SHC explained that the defense team called Lass

(without knowing what her testimony would be) for the sole purpose of

establishing the lack of privacy of inmates in the Travis County jail, he failed to

offer any facts supporting exactly why this was subpar conduct by trial counsel (31

RR 5). By failing to do so, SHC guaranteed that the CCA, the very court that

already rejected the claim on direct appeal, would again summarily rejected the

claim on state habeas review.

      At the time the defense called Deputy Lass, she was employed as a jail guard

with the Travis County Sheriff’s Office (31 RR 5). Lass testified that she worked

at the Travis County downtown jail (31 RR 6). The defense called Lass in the

hope of contradicting the testimony of a prior State witness, Homero Carrillo, an

inmate who was briefly housed in the Travis County Jail with Gobert (29 RR 26),

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and to show the jury just how easy it would be for Carrillo to gain access to his

cellmate, Gobert’s, legal papers and learn the facts of his case.

      The State called Carrillo to testify that while he was in custody with Gobert,

he bragged about how he repeatedly stabbed his girlfriend and her son (29 RR 28).

Gobert bragged to Carrillo about how he was manipulating the system and that

there was not enough evidence to prove his guilt for the murder (29 RR 28).

Gobert also bragged that he had no remorse for what he did (29 RR 29). Carrillo

testified to details about the crime including how Gobert wrapped up Cotton with

an extension cord and that he took a knife and some bloody clothes from the crime

scene (29 RR 30). Carrillo added that the police were never able to recover this

evidence because Gobert washed the bloody clothes and discarded the knife (29

RR 30).

      On cross-examination, the defense team simply established that Gobert and

Carrillo were only cellmates for a month (29 RR 33). Defense counsel did not

question Carrillo concerning the issue of whether he in fact had access to any of

Gobert’s discovery or trial materials during the time they were cellmates. Instead,

defense counsel simply asked him if it was true that “in a jailhouse, … if people

are getting along, may times they’ll share stuff, like commissary, like food or little

things like that ….” (29 RR 33).         Defense counsel did nothing to raise the

possibility in the jury’s eyes that Carrillo learned all the above details about

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Gobert’s offense from seeing his legal papers and not because Gobert made all

those damning admissions alleged supra. This sort of thorough cross-examination

by counsel would have all but negated the need to even call Lass to testify in the

first place.

       SHC stated none of the above record facts in the writ. These facts were

critical to painting the correct picture as to what might have been the reasoning for

the defense electing to call Lass to testify. More troubling than this lapse, is the

fact that SHC failed to point out that Lass worked at the Travis County downtown

jail (31 RR 6) and Carrillo and Gobert were housed together at the Del Valle

complex (29 RR 28). Trial counsel called Lass, a jailer at the Travis County

downtown jail, to testify about inmate housing conditions and the lack of privacy

of inmate materials in the Del Valle Complex (“and just for the jurors information,

there is a Travis County Jail downtown and then there is the Travis County

Correctional Complex which is out in Del Valle….”) (31 RR 6). State habeas

counsel utterly failed to raise the fact that testimony by Deputy Lass concerning

jail cell conditions at the Travis County downtown jail offered nothing of

relevance to the issue of what those conditions were like at the Del Valle facility

where Gobert and Carrillo were cellmates.

               Q.    All right, And let me cover a couple of questions with
               you, Ms. Lass. At least until recently, was it common practice
               that more than one inmate would be housed in the same cell?

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             A.     Yes, sir.

             Q.   And how many typically in Travis County Jail, if there
             were more than one? How many would the cells be usually?

             A.     Two, two per cell.

             Q.     So two inmates?

             A.     Yes, sir.

             Q.     Does an inmate have any, say, closet or desk or any kind
             of secure container or anything that they can keep their papers,
             their commissary, that kind of thing?

             A.     No, sir.
                                          …

             Q.     So if an inmate is off, say, visiting his mama at visitation
             time or visiting his lawyer or whatever and his cellmate is left
             in his cell, is it possible for a cellmate to have access to the
             other person’s papers, commissary, whatever?

             A.     Yes, sir.

(31 RR 7) (emphasis added).

All of trial counsel’s questions were premised on what conditions were like at the

Travis County Jail, not what cell conditions were like at the Travis County

Correctional Complex in Del Valle. Rather than calling a jailer who could offer

relevant testimony concerning the privacy and cellmate issues at the downtown jail

where Carrillo and Gobert were housed, trial counsel called Lass to testify to

conditions at a totally different facility. Trial counsel claimed in his affidavit that

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Lass was the only jailer that his investigator was able to contact (SHCR 1/165).

The fact that Lass was a witness of last resort, in no way excuses counsel’s

decision to call her to testify without properly vetting her. Counsel could easily

have served a subpoena on any number of jailers at the Del Valle complex who

could have testified as the issue of jail cell privacy.

      SHC failed to mention or raise any of the above points in support of his

claim that Gobert’s trial counsel was ineffective in failing to properly investigate

Lass prior to calling her to testify. Instead SHC simply cut-and-pasted a few

general facts from the direct appeal brief and adopted the same exact argument

raised by appellate counsel. This is troubling because the direct appeal brief also

failed to raise any of the above facts. This failure by SHC created in an insufficient

factual record before the state courts and renders this claim essentially

unexhausted.

      The State’s answer to Gobert’s writ also failed to raise these critical facts

and points from the record. As a consequence, the trial court made findings of fact

and conclusions of law relating to this claim on less than a full factual record. Left

with no new information to substantiate this claim, the CCA adopted the trial

court’s findings. The FFCL reinforces the point that SHC did nothing to develop

this claim by noting that “Gobert does not contend there is any additional

information available at this time that was not available at the time of the direct

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appeal” regarding this claim (SHCR 1/164). The FFCL goes on to note that:

       According to Anschutz, Gobert provided Lass’s name, along with
       several others, when counsel asked him for the names of Travis
       County Jail staff who may have positive things to say about him. Aff.
       Of Kent Anschutz. Lass was the only person on the list whom
       counsel’s investigator was able to reach, and she agreed to testify
       about jail procedures to rebut a state witness. According to Anschutz,
       counsel had no reason to suspect any secret relationship between
       Gobert and Lass, and even after they conducted an investigation into
       her background during the day-long continuance, they discovered
       nothing in her background that would have raised any suspicions even
       if known before calling her as a witness.

(SHCR 1/164).

These comments by trial counsel confirm that an investigator actually made

contact with Lass prior to her being called to testify. That means trial counsel had

an opportunity to confirm that Lass’s testimony at trial would have no relevance or

bearing whatsoever on the issue of cell conditions at the Del Valle complex prior

to calling her to testify.

       The FFCL next notes that trial counsel Paul Quinzi “confirmed that it was

Gobert’s idea to call Lass as a witness, and they did so for the limited purpose of

showing he did not have an expectation of privacy in his jail cell. Aff. Of Paul

Quinzi” (SHCR 1/164) (emphasis added). It should have been obvious to the

entire trial team prior to calling Lass to testify that she worked at a different facility

than where Gobert and Carrillo were cellmates (Carrillo testified earlier in the trial

that he met Gobert in the Del Valle complex) (29 RR 28).

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      According to the FFCL, trial counsel Martinez went further in adding that

not only did Gobert insist that Lass be called to testify, but that he also “believed

that standby appellate counsel Karyl Krug was undermining his efforts and knew

of a relationship between Lass and Gobert (SHCR 1/165). Martinez essentially

retreats from his absolute discretion as trial counsel in deciding which witness

should be called to testify and passes the blame for calling Lass to testify onto

Gobert.

      The entire defense team in fact goes to great lengths to suggest that they

were completely caught off guard by the inappropriate relationship between Gobert

and Lass. It is, however, difficult to accept this premise in lieu of all the

information counsel likely knew about Gobert’s conduct while in the Travis

County Jail. In the course of preparing the punishment case, the trial team must

have been aware that Gobert was involved in an inappropriate relationship with at

least one other female jailer, Patricia Wieczoerk (34 RR 46-53). According to

Wiecoerk’s superior at the Travis County Sheriff’s Office, Captain Lisa Brown,

Wiecoerk was reprimanded and placed on restrictive duty as a result of an

inappropriate relationship with Gobert (34 RR 47-49).

      Q.    And did—was Wiecoerk upset when you and her sergeant
      confronted her with this relationship?

      A.     Yes, she was upset about—I don’t think she was upset about
      the relationship so much as the fact that she was going to be placed on

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         restricted duty and everybody would know why.


(34 RR 49-50) (emphasis added).

Rather than be placed on restrictive duty, Wieczoek resigned the next day (34 RR

50). After she resigned, Wieczoek returned to the jail to visit Gobert 17 times. Id.

Captain Brown acknowledged that although she did not listen to the recordings of

the calls between Wieczoek and Gobert, she was “told that they were of a romantic

nature” (34 RR 52).13 Defense counsel asked no questions of Captain Brown on

cross-examination (34 RR 53).

         It is unimaginable that Gobert’s trial team would have been unaware of his

inappropriate relationship with a jailer during their investigation and preparation of

Gobert’s punishment phase case. It is certainly standard operating procedure in a

death penalty case for counsel to become familiar with an inmate’s disciplinary

record while in custody awaiting trial to seek out areas that may prove problematic

during the punishment phase. As a consequence, the entire defense team should

have been on notice that Gobert exploited openings to have inappropriate

relationships with female jailers to suit his needs (“Yeah, but if a guard give me

[Gobert] an opportunity as a woman to be with her, of course, I would accept that.

I’m not going to sit up here and lie and say I wouldn’t”) (38 RR 193).


13	  This testimony by Captain Brown begs the question of whether the defense reviewed these calls as part of its trial
preparation in this case.
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      If counsel had conducted a thorough investigation in this case, then most

certainly would have seen a potential problem with calling Lass. The first red flag

to counsel should have been that Lass, a deputy sheriff, agreed to come in and

testify on behalf of the defendant in a capital murder trial without the need for a

subpoena (“Lass was the only person on the list whom counsel’s investigator was

able to reach, and she agreed to testify about jail procedures to rebut a witness for

the State”) (Affidavit of Anschutz) (emphasis added). It utterly defies logic and

common trial practice in a criminal case that an agent of the State, a deputy sheriff,

would willing come into a courtroom in a death penalty trial and offer testimony

unfavorable to the State and of benefit to the defendant unless forced to do so by

an official subpoena. Couple this clear breach with common practice with the fact

this same agent of the State, Deputy Lass, testified at trial in civilian clothes and

thereafter lingered in the courtroom commiserated with the defendant’s family (34

RR 60). Despite all these obvious red flags, defense counsel now maintains that

they had no reason to believe that there was some sort of inappropriate relationship

between Gobert and Lass and that calling her to testify on his behalf about matters

to which she had no first-hand familiarity (cellmate conditions in the De Valle

Complex), was nothing short of sound trial strategy. Compounding the problem

with all this is the fact that SHC raised none of these points in Gobert’s writ.

      The full extent of the damage to Gobert’s case occasioned by Lass’s

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testimony did not materialize until she was recalled by the State to testify during

the punishment trial. Lass was first called to testify by the State on March 4, 2010

(34 RR 54). She acknowledged that she was involved in an ongoing affair with

Gobert and that he proclaimed his love for her (34 RR 59). Lass testified that she

smuggled a cellphone into the jail so that Gobert could regularly talk to her during

the course of the trial (34 RR 68).

      After the defense rested its punishment case, the State moved to reopen their

case and recall Lass (36 RR 145). After Lass testified on March 4, 2010, she was

arrested and charged with introducing contraband into a jail facility (36 RR 146).

On Sunday, March 7, 2010, Lass met with a defense attorney and allegedly

disclosed to her counsel that Gobert recruited her to help him escape from custody

(36 RR 147). Her counsel immediately sought a meeting with Travis County

District Attorney’s Office to make them aware of this bombshell evidence. Id.

When Lass was recalled to testify for the State on Monday, March 8, 2010, she

went into graphic and horrific detail about Gobert’s escape plan. She recounted to

the jury that Gobert wanted her to smuggle a .45 caliber firearm, silencer and four

magazines of ammunition to use in his escape (34 RR 163). She told jurors that

Gobert allegedly planned to get the attention of the post officer, Deputy Fernandes,

after the jail hand been cleaned for the night (34 RR 165). Gobert would then shoot

Fernandes, drag his dead body into the cell and then change into his uniform (34

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RR 170-71). Lass added that Gobert planned to shoot any jailer or inmate who

thereafter got in the way of his escape (34 RR 171-73). After hearing all these

horrific details, there was utterly no chance that Gobert would escape imposition of

the death penalty.

      C.     Cause and Prejudice under Trevino and Martinez

      There can be no doubt that by failing to properly investigate Lass prior to

calling her to testify as to a trivial matter concerning jail privacy, the trial team

rendered ineffective assistance of counsel that prejudiced the outcome of the

punishment trial. SHC failed to properly investigate, develop and present this

viable ineffectiveness claim. Thus, under the principle established in Trevino, this

claim, at least as it applies to the ineffectiveness of trial counsel, is not barred from

this court’s review. However, the principles established in Trevino and Martinez

are also applicable to this claim as a whole, including the Due Process arguments.

Trevino pointed out that generally, “if a convicted state criminal defendant can

show a federal habeas court that his conviction rests upon a violation of the Federal

Constitution, he may well obtain a writ of habeas corpus that requires a new trial, a

new sentence, or release.” Trevino, 133 S. Ct. at 1911. Of course, there are many

traps for the unwary defendant, one being the general requirement that claims first

be presented to the state courts, this is referred to as procedural default. Id.

However, the Supreme Court has pointed out “the doctrine barring procedurally

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defaulted claims from being heard is not without exceptions. A prisoner may

obtain federal review of a defaulted claim by showing cause for the default and

prejudice from a violation of federal law.” Id. (internal quotations omitted).

      To succeed in establishing cause to excuse the procedural default of his

ineffective assistance of trial counsel claims, Mr. Gobert must show that (1) his

underlying claims of ineffective assistance of trial counsel are “substantial,”

meaning that he “must demonstrate that the claim[s] ha[ve] some merit,” Martinez,

132 S.Ct. at 1318; and (2) his initial state habeas counsel was ineffective in failing

to present those claims in his first state habeas application. See id.; Trevino, 133

S.Ct. at 1921. See Preyor v. Stephens, 12-70024, 2013 WL 3830160 (5th Cir. July

25, 2013).


      As stated supra, SHC presented scant and insufficient factual allegations in

support of this IAC claim in state court. SHC’s ineffectiveness in this respect

renders this claim unexhausted because all the never-before-raised facts in the

present claim “fundamentally alter” the legal claim presented and considered by

the state courts. See Dickens, 740 F.3d at 1317. The new facts and evidence

presented in this writ are significantly different and stronger than the evidence

presented by SHC in state court and therefore fundamentally alter this claim on

federal habeas review. See Aiken, 841 F.2d at 884.


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       A properly investigated and well-reasoned writ by SHC on this claim would

have likely exhausted the issue in the state courts. That, however, is not the case.

By simply cribbing the direct appeal brief, SHC failed to adequately develop and

present this claim in state court. As a consequence, this claim remains essentially

unexhausted. SHC’s failure to adequately raise this claim therefore amounts to a

total deprivation of Mr. Gobert’s right to counsel under the Sixth Amendment.

This claim therefore meets the “substantial” requirement set forth in Martinez

because such a fundamental deprivation of counsel at both the trial and habeas

level shakes the very “bedrock” of our justice system.


      To demonstrate prejudice, Mr. Gobert must also show that there is a

reasonable probability that, but for counsel's unprofessional errors, the result of the

proceeding would have been different. A reasonable probability is a probability

sufficient to undermine confidence in the outcome. Strickland, 466 U.S. at 694.

“The likelihood of a different result must be substantial, not just conceivable.”

Harrington v. Richter, 562 U.S. 86, 131 S.Ct. 770, 792, 178 L.Ed.2d 624 (2013).

In the present case, Mr. Gobert meets this very high burden of prejudice. If trial

counsel had thoroughly investigated Gobert’s jail conduct, they would have known

and foreseen the risk akin to calling Lass as a witness at trial. SHC’s failure to even

suggest these facts to the state court further compounds this inequity.


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      Accordingly, Mr. Gobert has established that the cause for the default of his

ineffective assistance of trial counsel was the result of his State habeas counsel’s

ineffectiveness. He is therefore entitled to consideration by this Court of the merits

of this otherwise procedurally defaulted claim. Martinez, 132 S.Ct. at 1320.


      C LAIM V( A ): GOBERT’S 6th AMENDMENT RIGHT TO
      COUNSEL WAS VIOLATED WHEN HE RECEIVED
      INEFFECTIVE ASSISTANCE OF COUNSEL AS A RESULT OF
      HIS LEGAL TEAM CALLING TASHA LASS TO TESTIFY
      DURING THE GUILT-PHASE AND THEREBY FAILING TO
      ADEQUATELY INVESTIGATE THE FACTS OF THE
      PUNISHMENT CASE AS REQUIRED BY STRICKLAND V.
      WASHINGTON, 466 U.S. 668 (1984) .

             EXHAUSTION:

      The undersigned hereby incorporated the facts and legal arguments set forth

supra in Claim V. Assuming arguendo that the Court finds that Claim 5 was

exhausted in the state courts, Gobert raises this claim in the alternative. This claim

was properly preserved for federal review, having been presented in the State

habeas writ as Claim V (SHCR 2/369). The trial court entered FFCLs denying this

claim (SHCR 1/165).

ISSUE RESTATED: The trial court’s FFCL that this claim was barred because
Gobert’s appellate counsel raised this claim on direct appeal and state habeas
counsel failed to offer new evidence and that trial counsel was nevertheless not
ineffective for failing to thoroughly investigate Lass is the result of a
misapplication of the facts of this case to well-settled federal law under Strickland.

A.     Facts Supporting Gobert’s Claim

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      Under the standards recognized by the court in Strickland v. Washington,

466 U.S. 668 (1984), Gobert received ineffective assistance of counsel as a result

of his legal team’s failure to investigate its own witness, Tasha Lass, prior to

putting her on the stand to testify about jail conditions. Gobert also received

ineffective assistance of counsel when trial counsel failed to prepare him to testify

during the punishment phase of his trial.

      A habeas petitioner claiming ineffective assistance of counsel must prove

that counsel’s performance was unconstitutionally deficient and that the deficient

performance prejudiced her defense. See Strickland v. Washington, 466 U.S. 668,

687 (1984). “‘Counsel’s performance is considered deficient if it falls below an

objective standard of reasonableness as measured by professional norms.’” Neal v.

Puckett, 286 F.3d 230, 236 (5th Cir. 2002) (en banc) (quoting Strickland). This

Court “must determine whether there is a gap between what counsel actually did

and what a reasonable attorney would have done under the circumstances.” Id.

      To establish prejudice, a petitioner must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different. A reasonable probability is a probability

sufficient to undermine confidence in the outcome. Id. at 391; See also Perillo v.

Johnson, 205 F.3d 775, 781 (5th Cir. 2000). The relevant query is whether one



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juror’s mind might have been changed had counsel performed adequately.

Kirkpatrick v. Whitley, 992 F.2d 491, 497 (5th Cir. 1993).

      The Strickland standard applies in both the guilt/innocence and punishment

phases of a trial. Strickland, 466 U.S. at 686-87.

B     Facts Supporting Gobert’s Claim

1. Tasha Lass

      The defense called Deputy Tasha Lass in the guilt stage to testify to the lack

of privacy in the Travis County jail cells. Her testimony could explain how

appellant’s cellmate might have learned about the details of the capital murder

from a source other than appellant’s confession to him.          When the defense

requested that Deputy Lass be allowed to remain in the courtroom after her short

testimony was complete, however, the prosecutors’ suspicion were aroused. They

investigated and later called Deputy Lass during the punishment phase to testify to

her improper relationship with appellant and to the fact that appellant had

manipulated her into sneaking a cell phone into the jail for him. The State called

her again when, at the suggestion of her own attorney, she admitted that appellant

had tried to talk her into bringing him a .45 pistol, silencer, and four magazines of

ammunition to help him implement his escape plan.

      After hearing the testimony of the escape plan, Gobert’s trial counsel made

an oral motion for continuance because Deputy Lass’s testimony was “highly

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inflammatory” and “devastating, to say the least. . . . I mean, for all we know she

may be psychotic.” Counsel explained, “We need to have my investigator check

her background, check some of the stuff she said, whether or not it’s true, classic

impeachment stuff that we’re now being denied because all of a sudden this stuff

just came up.” 37 R.R. 4

      The trial judge told the prosecutors to give defense counsel any criminal

record they could find on Deputy Lass, and he suggested that counsel take her on

voir dire to “establish a baseline” for impeachment research. After completing that

voir dire, the trial judge postponed cross-examination until the next day to give the

defense time to research possible avenues of impeachment. The next day, defense

counsel said that they had not had enough time to make a thorough investigation,

so the trial judge gave them a daylong continuance and ordered jailers to permit

defense counsel to view appellant’s cell and the jail layout.

      When the court reconvened, defense counsel made another oral motion for

continuance. At that point, the trial judge overruled the motion, stating that cross-

examination was likely the best means of discovering information because he

would not allow other witnesses to impeach Deputy Lass on collateral matters.

2. Failure to Prepare Gobert to Testify




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           Prior to starting trial, Gobert’s trial attorney knew that Gobert was intending

to testify. In fact, in a interview for the Austin-American Statesman on February

21, 2010, (before trial started) trial counsel stated the following:

             “Gobert will testify that he killed Cotton, said Leonard Martinez,
             one of his lawyers. Martinez said that the two had a long and at
             times intimate relationship and that the fatal stabbing came in a
             fit of passion.”14

Despite knowing that Gobert was intending to testify, trial counsel did not

prepare him to testify and, basically, “threw him to the wolves.”

       C Argument and Authorities

           Trial counsel carries the obligation to make an independent investigation of

the facts of the case and not blindly rely on the veracity either of his client’s

version of the facts or witness statements in the State’s file. “Counsel has a duty to

make reasonable investigations or to make a reasonable decision that makes

particular investigations unnecessary.” Strickland, supra, 466 U.S. at 691.

           Gobert’s trial counsel admitted to the trial judge that he did not conduct any

investigation into the background of Lass or her relationship with Gobert prior to

calling her to testify. This failure to investigate, or even question, Lass prior to her




14 Kreytak, Seven, “After years of delays, capital murder trial begins today,” Austin-American
Statesman (Feb. 21, 2010), available at: www.statesman.com/news/local/after-years-of-delays-
capital-murder-trial-begins-265379.html
	  
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testimony proved to be a critical mistake when she testified about her relationship

to Gobert and the escape plan.

         The Texas Court of Criminal Appeals denied this claim on direct appeal. In

denying this claim, the Court excused trial counsel’s failure to investigate Lass

because: “Appellant’s counsel had no reason to suspect any secret relationship

between appellant and a law-enforcement officer and thus no reason to investigate

that relationship or the officer’s background.” Gobert v. State, No. AP-76,345

(Tex. Crim. App. - 2010) (page 25).15 However, it defies imagination that an

experienced trial attorney would not question why a jailer would voluntarily,

without a subpoena, testify on behalf of a capital murder defendant. Indeed, the

prosecutors quickly figured this out and investigated Lass overnight thereby

discovering her relationship with Gobert.

D Summary of Ineffective Investigation Argument

         It is well settled that a criminal defense lawyer must have a firm command

of the facts of the case as well as governing law before he can render reasonably

effective assistance of counsel.                  A natural consequence of this notion is that

counsel has the responsibility to seek out and interview potential witnesses. The

failure to interview witnesses is not trial strategy unless and until the trial attorney

has conducted the necessary legal and factual investigation which would enable

15	  As noted supra in Claim V, state habeas counsel added nothing of substance to the claim raised by appellate
counsel.
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him to make an informed rational decision. Counsel has a duty to bring to bear

such skill and knowledge as will render the trial a “reliable adversarial testing

process.” Strickland, 466 U.S. at 688.

      The failure of Gobert’s defense team to conduct an adequate punishment

investigation resulted in grievous harm to Gobert.            There is a reasonable

probability that, if this evidence had been presented, the outcome would be

different. The trial court’s FFCL are therefore the result of a misapplication of

well-settled federal law under Strickland to the facts of this case.

       CLAIM NUMBER VI: STATE HABEAS COUNSEL WAS INEFFECTIVE UNDER
       MARTINEZ V. RYAN FOR FAILING TO RAISE THE ISSUE OF WHETHER TRIAL
       COUNSEL RENDERED INEFFECTIVE ASSISTANCE OF COUNSEL BY FAILING
       TO TIMELY PURSUE THE INVESTIGATION AND FILING OF A MOTION FOR
       NEW TRIAL AND THEREAFTER MOVING TO WITHDRAW FIVE DAYS PRIOR TO
       THE FILING DEADLINE FOR SAID MOTION.

      Mr. Gobert hereby reiterates the facts set out in Claims I and II for relief and

hereby incorporates them by reference in support of this claim.

A.    Martinez Unexhausted Claim Standard

      Due to the ineffective assistance of State habeas counsel, this claim was not

adjudicated in the State courts. State habeas counsel failed to raise this issue in

Mr. Gobert’s State habeas writ. As a consequence, counsel raises this unexhausted

and procedurally defaulted claim under the Supreme Court’s holding in Trevino.

Recently, in Trevino v. Thaler, the Supreme Court held that the holding of


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Martinez applies to Texas: “[A] procedural default will not bar a federal habeas

court from hearing a substantial claim of ineffective assistance at trial if, in the

initial-review collateral proceeding, there was no counsel or counsel in that

proceeding was ineffective.” Trevino v. Thaler, 133 S. Ct. 1911 (U.S. 2013) (citing

Martinez v. Ryan, 132 S. Ct. 1309, 182 L. Ed. 2d 272 (2012)). Gobert submits that

State habeas counsel was ineffective for failing to present this claim in his State

writ of habeas corpus.

      State habeas counsel should have discovered and raised this claim. As a

consequence, State habeas counsel’s performance was deficient. The State Bar of

Texas has identified the “Duties of Habeas Corpus Counsel” in the State Bar of

Texas’     Guidelines      and   Standards     for   Texas     Capital     Counsel.

http://www.texasbar.com/Content/NavigationMenu/ForLawyers/Committees/Texa

sCapitalGuidelines.pdf).

      The Texas State Bar, in identifying the duties of capital habeas counsel,

identified one duty as follows: Habeas corpus counsel cannot rely on the

previously compiled record, but must conduct a thorough and independent

investigation.   Specifically, habeas counsel cannot rely on the work of, or

representations made by, prior counsel to limit the scope of the post-conviction

investigation. Counsel must not assume that the trial record presents either a

complete or accurate picture of the facts and issues in the case. Further, the State

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Bar has also stated that state habeas “counsel has a duty to conduct a searching

inquiry to assess whether any constitutional violations may have taken place.” Id.

      It should have been obvious to trial counsel that   .

      The record establishes that at trial, defense counsel offered the
      audiovisual recording of appellant's oral statement without
      qualification and for all purposes while cross-examining one of the
      detectives who interviewed appellant. The prosecutor did not object,
      and the recording was published to the jury. By offering his oral
      statement into evidence, appellant waived error concerning the trial
      court's ruling on his motion to suppress this statement.

Soliz v. State, 432 S.W.3d 895, 903 (Tex. Crim. App. 2014) cert. denied, 135 S. Ct.

1154, 190 L. Ed. 2d 915 (2015).

B.    Facts in Support of Unexhausted Claim

      After sentencing, the trial court entered a certification of the defendant’s

right to Appeal (SHCR 1/94). On March 15, 2010, trial court appointed Karyl

Krug as Gobert’s direct appeal counsel (SHRC 1/96).           On March 30, 2010,

Gobert’s trial counsel, Leonard Martinez, filed a motion seeking to have Ms. Krug

removed as appellate counsel and requesting the appointment of “qualified”

appellate counsel (SHCR 1/98-103). Mr. Martinez claims in the motion that after

Ms. Krug was appointed to handle the interlocutory appeal of Gobert’s suppression

motion, the two counsel “developed a personal conflict over another unrelated

case” (SHCR 1/99). To summarize, Mr. Martinez claimed that as a result of this

conflict, Ms. Krug had: 1) failed to maintain communication with lead trial

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counsel; 2) failed to communicate to lead counsel any issues Gobert may

communicated to appellate counsel; 3) appellate counsel failed to offer “any

assistance or ask for any information to determine whether there were any

deficiencies that need to be addressed”; 4) appellate counsel failed to advise lead

trial counsel that she continued to have contact with the Defendant and “that she

was providing the Defendant any information or advice; and 4) appellate counsel

“never advised the Defendant that there had developed a personal conflict between

her and lead counsel” (SHCR 1/99). Additionally, Martinez claims that he “was

finally advised that Ms. Krug had been the source of information denigrating lead

counsel and it was the Defendant who advised lead counsel [of this information in

a letter].” Id.   Martinez maintained that Krug was actively undermining his

representation of Gobert and encouraged him to request the appointment of

another trial lawyer. Id.    Thereafter, Martinez and Gobert reconciled and he

remained his trial counsel. Id.

      In an astonishing admission, Martinez advised that as a consequence of this

rift with Krug he was forced to abandon his “originally developed” trial strategy

and pursue a “different strategy” that he believe was not the “best strategy” (SHCR

1/99-100). Martinez’s motion also claimed that his decision to call Tasha Lass was

also the result of Ms. Krug’s “alienation efforts” (SHCR 1/101). The decision by

trial counsel to call Lass to impeach the testimony of a jail information who earlier

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testified at trial proved to be a disastrous trial strategy that all but guaranteed

Gobert would receive the death penalty. Martinez maintained that Krug failed to

disclose to the defense team that Lass had previously sought her legal counsel and

that she, Lass, told Krug of her inappropriate sexual relationship with Gobert while

he was in custody. Id.

      On April 5, 2010, Krug filed a response to Martinez’s motion requesting the

appointment of new appellate counsel (SHCR 1/107-19). Krug sets out a backdrop

for the trial court of “a long and wearisome road [she’s travelled] with Mr.

Martinez, from defending Mr. Martinez from allegations of ineffective assistance

of counsel in the Rosa Estela Olvera Jimenez [case], to filing an ineffective

assistance of counsel claim against Mr. Martinez in the same case” (SHCR 1/107).

She claimed that “[i]t is Mr. Martinez’s reaction to the latter that resulted in his

attempts to have the undersigned counsel removed as appellate counsel in this

unrelated case.” Id.

      Krug also advised the trial court that:

             Mr. Martinez told this Court and all counsel that he planned to
      file a motion for new trial in this case. He lied. The undersigned
      counsel found out at the close of business on Friday, April 2, 2010,
      that Mr. Martinez had filed a motion to withdraw wherein he stated
      for the first time that he did not intend to file a motion for new trial.
      This gives the undersigned counsel less than five business days in
      which to investigate, draft and file a motion for new trial in a death
      penalty case. Mr. Martinez’s conduct in this regard is completely
      inexcusable.

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Id.

Ms. Krug then continues with a chronology of what she describes as

“fabrictions or delusions” by Martinez that “conflated the personal, the

political, and the professional to justify his actions and accusations in the

present case. Id.    Rather than retread this history of resentment and

animosity, it suffices to simply say that Mr. Martinez and Ms. Krug have an

unworkable professional and personal relationship.

      As a consequence of all this back and forth bickering by counsel,

Gobert was denied the effective assistance of trial counsel at the very critical

stage surrounding his possible motion for new trial. Krug urged in her

motion that:

      Martinez made a point of telling the undersigned counsel and the
      Court on March 24 and even before that he was going to filed the
      motion for new trial in this case. Exhibit S. The undersigned counsel
      was informed at the close of business on April 2, Good Friday, that
      Mr. Martinez had filed a motion to withdraw in which he stated he
      would not file the motion for new trial. The undersigned counsel
      could not even start on the motion until Monday, April 5, because it
      was too late to pull the Clerk’s file on Friday. That gives the
      undersigned counsel exactly five business days, or less, to investigate
      and file a motion for new trial in a death penalty case. As the Court is
      aware, the Court of Criminal Appeals held that the motion for new
      trial period is a critical stage of a criminal proceeding in which a
      defendant is entitled to the effective assistance of counsel. Mr.
      Martinez, by refusing to withdraw [after sentencing], insisting he was
      going to do the motion for new trial, then withdrawing without filing
      the motion or informing the undersigned that he was doing so, has
      effectively denied the Defendant any representation at all during the

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         25 of the 30 days in which to file a motion for new trial.16

         State habeas counsel failed to raise this viable ineffectiveness claim. Thus,

under the principles established in Trevino, this claim, at least as it applies to the

ineffectiveness of trial counsel, is not barred from this court’s review. However,

the principles established in Trevino and Martinez are also applicable to this claim

as a whole, including the Due Process arguments. Trevino pointed out that

generally, “if a convicted state criminal defendant can show a federal habeas court

that his conviction rests upon a violation of the Federal Constitution, he may well

obtain a writ of habeas corpus that requires a new trial, a new sentence, or release.”

Trevino, 133 S. Ct. at 1911. Of course, there are many traps for the unwary

defendant, one being the general requirement that claims first be presented to the

state courts, this is referred to as procedural default. Id. However, the Supreme

Court has pointed out that “the doctrine barring procedurally defaulted claims from

being heard is not without exceptions. A prisoner may obtain federal review of a

defaulted claim by showing cause for the default and prejudice from a violation of

federal law.” Id. (internal quotations omitted).

         To succeed in establishing cause to excuse the procedural default of his

ineffective assistance of trial counsel claims, Mr. Gobert must show that (1) his

16 Texas Rule of Appellate Procedure 25.2(b) requires that in every death penalty case, the clerk of the trial
court shall filed a notice of conviction with the Court of Criminal Appeals within 30 days after the
defendant is sentenced to death, thereby divesting the trial court of jurisdiction to consider a motion for
new trial filed after 30 days of sentencing].
	  
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underlying claims of ineffective assistance of trial counsel are “substantial,”

meaning that he “must demonstrate that the claim[s] ha[ve] some merit,” Martinez,

132 S.Ct. at 1318; and (2) his initial state habeas counsel was ineffective in failing

to present those claims in his first state habeas application. See id.; Trevino, 133

S.Ct. at 1921. See Preyor v. Stephens, 12-70024, 2013 WL 3830160 (5th Cir. July

25, 2013).


      State habeas counsel's failure to raise trial counsel's last-minute

abandonment of his commitment to investigate and file a motion for new trial in

this case prejudiced the outcome of Gobert's case. As stated supra in Claim 1,

Jason Gibson offered evidence establishing that Gobert and Cotton were

romantically involved and that he therefore did not murder her in the course of

committing a robbery. This evidence, could have and should have been

investigated by Mr. Martinez and presented in Gobert's motion for new trial. If

presented, this evidence would have no doubt prompted a hearing in the trial court

that would have had a significant impact on the ultimate outcome of this case. This

is just one example of what could have been raised in a motion for new trial had

Martinez not abandoned Gobert at this critical stage.


      To demonstrate prejudice, Mr. Gobert must also show that there is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the

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proceeding would have been different. A reasonable probability is a probability

sufficient to undermine confidence in the outcome. Strickland, 466 U.S. at 694.

“The likelihood of a different result must be substantial, not just conceivable.”

Harrington v. Richter, 562 U.S. 86 (2013). In the present case, Gobert meets this

very high burden of prejudice. State habeas counsel further compounds this

inequity by failing to raise this issue in Gobert’s State writ.


      Accordingly, Gobert has established that the cause for the default of his

ineffective assistance of trial counsel was the result of his State habeas counsel’s

ineffectiveness. He is therefore entitled to consideration by this Court of the merits

of this otherwise procedurally defaulted claim. Martinez, 132 S.Ct. at 1320.


      CLAIM VII: GOBERT’S DEATH SENTENCE WAS ARBITRARILY AND
      CAPRICIOUSLY ASSIGNED BASED ON THE JURY’S ANSWER TO THE
      UNCONSTITUTIONALLY VAGUE FUTURE DANGEROUSNESS ISSUE

      EXHAUSTION:

       This claim was presented as Claim Six at pages 110-111 of Gobert’s state
writ, and as Claim 8 at pages 118-119.

      The FFCL rejected this claim at page 12.

      Texas employs a unique sentencing scheme which requires the jury to

predict “whether there is a probability that the defendant would commit criminal

acts of violence that would constitute a continuing threat to society.” TEX. CODE


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CRIM. PROC. art. 37.071 § 2(b)(1).17 The ABA has long recognized the problems

with this future dangerousness special issue. See Barefoot v. Estelle, 463 U.S. 880,

930 (1983) (Blackmun, J., dissenting) (citing the ABA amicus brief for the claim

that jurors are not well-suited to predict future dangerousness). Most recently, the

ABA released The Texas Capital Punishment Assessment Report which called on

Texas to “abandon altogether the use of the ‘future dangerousness’ special issue”

as it and other aspects of the Texas sentencing scheme “place limits on a juror’s

ability to give full consideration to any evidence that might serve as a basis for a

sentence less than death.” ABA, THE TEXAS CAPITAL PUNISHMENT ASSESSMENT

REPORT, at viii, xxxix .

              Among the ABA’s concerns with the Texas scheme is that the key terms of

the future dangerousness issue are undefined. See ABA Texas Assessment Report

at 308.                Additionally, the ABA notes that juries must unanimously find a

probability of future dangerousness before reaching the question of mitigation, thus

placing future dangerousness “at the center of the jury’s punishment decision.”

ABA, THE TEXAS CAPITAL PUNISHMENT ASSESSMENT REPORT, at 307.

              The concerns raised by the ABA are consistent with violations of Gobert’s

Eighth and Fourteenth Amendment rights as articulated in Supreme Court doctrine.


              17	  
                  If	  jurors	  answer	  this	  question,	  referred	  to	  as	  Special	  Issue	  One,	  with	  a	  “Yes,”	  jurors	  are	  asked	  to	  answer	  
another	  Special	  Issue.	  	  If	  the	  jurors	  answer	  “No”	  to	  this	  question,	  the	  defendant	  is	  automatically	  sentenced	  to	  a	  
term	  of	  life	  without	  the	  possibility	  of	  parole.	  
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The future dangerousness special issue is unconstitutionally vague, fails to narrow

the class of death-eligible defendants, leads to the arbitrary and capricious

imposition of the death penalty, and limits the jury’s ability to give full

consideration to evidence that may serve as a basis for a sentence less than death.

As such, Gobert’s death sentence was unlawfully and unconstitutionally imposed

in violation of his applicable state and federal Constitutional rights and United

States Supreme Court and state case law, and must therefore be reversed.

      Article 37.071, section 2(b)(1) of the Texas Code of Criminal Procedure is

unconstitutionally vague in that it fails to define any of the key terms in the future

dangerousness special issue. As a result, “[j]urors are left to comprehend [these

terms] so broadly that a death sentence would be deemed warranted in virtually

every capital murder case.” ABA, THE TEXAS CAPITAL PUNISHMENT ASSESSMENT

REPORT,at viii.

      The Supreme Court has long held that juror discretion must be channeled in

capital cases. Gregg, 428 U.S. at 189 (citing Furman, 408 U.S. at 238 (“Where

discretion is afforded a sentencing body on a matter so grave as the determination

of whether a human life should be taken or spared, that discretion must be suitably

directed and limited so as to minimize the risk of wholly arbitrary and capricious

action.”). In Godfrey v. Georgia, the Court held that a state’s aggravating factors

must not be defined in such a way that people of ordinary sensibilities could find

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that nearly every murder met the stated criteria. 446 U.S. at 428-29. In order to

avoid the arbitrary and capricious imposition of the death penalty struck down in

Furman, states must narrow the class of death-eligible defendants “by providing

specific and detailed guidance to the sentencer.” McCleskey, 481 U.S. at 303

(internal citations and quotation omitted); see also Maynard v. Cartwright, 486

U.S. 356, 362 (1988) (“Since Furman, our cases have insisted that the channeling

and limiting of the sentencer’s discretion in imposing the death penalty is a

fundamental constitutional requirement for sufficiently minimizing the risk of

wholly arbitrary and capricious action.”).

      While the Texas future dangerousness issue is not presented to the jury until

the punishment phase of trial, it must be found beyond a reasonable doubt before

mitigating evidence may be considered.        TEX. CODE CRIM. PROC. art. 37.071

§ 2(b)–(e). Accordingly, it acts as a de facto determinant of death eligibility and

therefore must meaningfully narrow the class of death-eligible defendants.

      Texas does not statutorily define the key terms in the future dangerousness

special issue.   Rather, the terms are left to be interpreted according to their

ordinary meaning. See Druery v. State, 225 S.W.3d 491, 509 (Tex. Crim. App.

2007). Absent a statutory definition to the contrary, the term “probability” is

reasonably understood to mean some “likelihood of the occurrence of any

particular form of an event.” Granviel v. State, 552 S.W.2d 107, 117 n. 6 (Tex.

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Crim. App. 1976); see also Jurek, 522 S.W.2d at 945 (Odom, J., dissenting) (“The

statute does not require a particular degree of probability but only directs that some

probability need be found.”). The degree of violence is not specified and could

realistically range from capital murder down to simple assault. See Christopher

Slobogin, Capital Punishment and Dangerousness, in MENTAL DISORDER               AND

CRIMINAL LAW: RESPONSIBILITY        AND   COMPETENCE 119, 121, 125 (Robert F.

Schopp et al. eds., 2009) (questioning what qualifies as “dangerousness” and

“criminal acts of violence”). Essentially, the jury is asked to determine whether

there is any likelihood that Gobert might commit any act of violence in the future

that poses a continuing threat to society. Psychiatrists, however, are unable to

completely rule out the possibility of any person committing future acts of

violence, much less a person that was just convicted of a violent crime. See

Michael L. Radelet & James W. Marquart, Assessing Nondangerousness During

Penalty Phases of Capital Trials, 54 ALB. L. REV. 845, 849 (1989-1990)

(“Predictions of violent behavior are difficult because the probabilities considered

in the prediction are conditional. That is, each of us, given certain circumstances,

might engage in violent behavior in the future; thus, each of us has a non-zero

probability of killing another.”). Even when predictions are based on actuarial

data, which are now considered to be slightly more accurate than clinical

determinations, a defendant’s risk of future dangerousness is phrased in terms of

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non-zero probabilities. See, e.g., Laura S. Guy, et al., Assessing Risk of Violence

Using Structured Professional Judgment Guidelines, J. FORENSIC PSYCHOL. PRAC.,

May 2012, at 272 (“[Mental health professionals] are encouraged to communicate

level of risk using categorical levels of low, moderate, and high.”).

      The fact that every person has a non-zero probability of committing future

acts of violence shows that the future dangerousness special issue does nothing to

narrow the class of death-eligible defendants. Moreover, the fact that any capital

defendant is found not to be a future danger is evidence that the determination is

based on caprice rather than reason. In Gobert’s case, the fact that this dubious

determination had to be made beyond a reasonable doubt before the jury was

presented with the mitigation special issue limited the jury’s ability to give full

consideration to evidence that might serve as a basis for a sentence less than death.

See Tennard, 542 U.S. at 278 (“It is not enough simply to allow the defendant to

present mitigating evidence to the sentencer. The sentencer must also be able to

consider and give effect to that evidence in imposing the sentence.”).

      As a result, Gobert’s sentence was unlawfully and unconstitutionally

imposed in violation of his applicable state and federal Constitutional rights, and

therefore must be reversed.

      CLAIM VIII: GOBERT’S FOURTEENTH AMENDMENT DUE PROCESS
      RIGHTS WERE VIOLATED UNDER    APPRENDI BECAUSE IT PUT
      THE BURDEN OF PROVING THE MITIGATION SPECIAL ISSUE ON

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      GOBERT RATHER THAN REQUIRING THE STATE                  TO   MAKE   THE
      FINDING BEYOND A REASONABLE DOUBT

      Exhaustion:

      This claim was raised as Claim Seven of the state writ at pages 112-117.

      The FFCL rejected this claim at pages 13.

      A.     Baseline Principle: The Texas Mitigation Special Issue Includes
             Consideration of Aggravating Factors
             1.    Special Issues Under Article 37.071

      Before a defendant may be sentenced to death in Texas, the jury must

answer statutory special issues in a certain way. See TEX. CODE CRIM. PRO. art.

37.071 (Art. 37.071). After a Texas defendant is convicted of capital murder,

a series of questions known as “special issues” are submitted to the jury. Id.

Based on the jury’s answer to the special issues the defendant will be

sentenced to life in prison or death. Id. In Gobert’s case, pursuant to Art.

37.071, sec. 2(b), the jury was first asked the following question: “Do you find

beyond a reasonable doubt that there is a probability that the defendant, Milton

Gobert, would commit criminal acts of violence that would constitute a

continuing threat to society?” The state was required to prove this special issue

beyond a reasonable doubt, and the jury was instructed that they could not

answer this special issue “yes” unless they agreed unanimously. See Art.

37.071(d)(2). This claim does not involve the first special issue because

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the jury was required to find this “aggravating factor” beyond a reasonable

doubt.

         If the jury finds the answer to special issue no. 1 to be “yes,” they are

instructed to move onto the second special issue, which asks: “Do you find

from the evidence, taking into consideration all of the evidence, including the

circumstances of the offense, the defendant’s character and background, and the

personal moral culpability of the defendant, Milton Gobert, that there is a

sufficient mitigating circumstance or circumstances to warrant that a sentence

of life imprisonment rather than a death sentenced be imposed?” See Art.

37.071(e)(1). This is known as the mitigation special issue and was adopted to

meet the Eighth Amendment requirement that jurors in death penalty cases be

allowed to consider all mitigation evidence when considering the death penalty.

See Penry v. Lynaugh, 492 U.S. 302 (1989).

              2.    Aggravating Circumstances Can Be Considered                 in
                    Connection With The Mitigation Special Issue

         The cynosure of this sentencing rubric is Texas Court of Criminal

Appeals doctrine interpreting the mitigation special issue to encompass

aggravating evidence which is only relevant to the mitigating issue. In Jackson

v. State, the Court explained that “we have recently recognized that aggravating

circumstances can be considered in connection with the mitigation special

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issue.” 992 S.W.2d 469, 478 (Tex. Crim. App. 1989) (citing Mosley v. State, 983

S.W.2d 249, 264-272 (Tex. Crim. App. 1998)). “In Mosley, we explained

that aggravating circumstances may be relevant to determine whether a

particular mitigating circumstance or set of circumstances is sufficient to

warrant a life sentence.” Id.

             3.     Conclusion

      As    the    Texas   mitigation   special   issue encompasses aggravating

circumstances, the jury should be instructed that it must find those aggravating

circumstances beyond a reasonable doubt before they can consider those factors

in answering the mitigation special issue.

       B.    At A Minimum, No Reasonable Jurist Could Countenance The
             State’s Court’s Misapplication of Federal Constitutional Law

      No Fifth Circuit case has held that reasonable doubt can never control the

selection phase. While this is true of one type of case (not imposing this standard

concerning an absence of mitigating circumstances) it is an entirely different

matter when aggravating evidence is blended with mitigation evidence at the

selection phase.     Penry is based upon the core principle that the Eighth

Amendment requires individualized sentencing in which the capital jury can

consider and give effect to any mitigating evidence that is relevant to the

defendant’s moral culpability and may persuade the jury that a life sentence is

warranted rather than death. Penry v. Lynaugh, 492 U.S. at 319.              These
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“fundamental principles” are applied to all mitigation evidence, regardless of type

or category. Abdul-Kabir, 127 U.S.at 1670-71. The State must not be allowed to

accomplish in two moves what it cannot do in one: prohibit a jury’s full

consideration of relevant mitigation evidence by relaxing the Constitutional

requirements imposed on aggravating evidence.



      C.     The Conclusion That Apprendi is Not Applicable to This Claim is
                  Contrary to Clearly Established Federal Law
      Notwithstanding the self-professed “novelty” of this claim, the conclusion

that Apprendi is not applicable to this claim is contrary to clearly established law.

The State must prove aggravating factors considered by the jury in answering

the mitigation special issue beyond a reasonable doubt.

      Ring decided the exact same issue raised here: does Apprendi apply to the

Arizona capital sentencing scheme even though the statutory maximum for that

crime was the death penalty? Id. at 591. “In Arizona, following a jury

adjudication of a defendant's guilt of first-degree murder, the trial judge, sitting

alone, determines the presence or absence of the aggravating factors required

by Arizona law for imposition of the death penalty.” Id. Apprendi held that

“[o]ther than the fact of a prior conviction, any fact that increases the penalty

for a crime beyond the prescribed statutory maximum must be submitted to a

jury, and proved beyond a reasonable doubt.” 530 U.S. at 490. Thus, since
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Apprendi applies to the finding of aggravating factors in Ring, this same finding

must    also     apply   to   aggravating   factors   in   Texas’    death   penalty

jurisprudence.

       Ring recognized that “[u]nder Arizona law, Ring could not be sentenced

to death, the statutory maximum penalty for first-degree murder, unless further

findings were made.” 536 U.S., at 592. It necessarily follows that a Texas

capital defendant could not be sentenced to death (the statutory maximum)

unless the first special issue was answered “yes” and the second special issue

answered “no”. TEX. CODE CRIM. PROC. ART. 37.071 2(d)(2).

       The Ring Court then explained that, “[i]f a State makes an increase in a

defendant’s authorized punishment contingent on the finding of a fact, that fact—

no matter how the State labels it—must be found by a jury beyond a reasonable

doubt.” 536 U.S., at 602. This applies to the issue at hand because the State

increased the defendant’s sentence to death, based on the jury’s finding that

mitigating evidence did not overcome aggravating evidence so as to warrant a life

sentence. “The required finding [of an aggravated circumstance] expose[d] [Ring]

to a greater punishment than that authorized by the jury's guilty verdict.” Id. at

602 (internal citation omitted).

       It necessarily follows that Apprendi applied to Ring despite the fact that the

judge’s finding did not increase the statutory maximum for the crime Ring was
                                         124
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convicted of. “Because Arizona’s enumerated aggravating factors operate as ‘the

functional equivalent of an element of a greater offense,’ the Sixth Amendment

requires that they be found by a jury.” Id. at 609 (citing Apprendi at 494, n.19).

Likewise, the finding that mitigating evidence does not call for sentence of life is

the equivalent of an element of a greater offense, especially where the jury is

permitted to consider aggravating factors in deciding on the mitigation special

issue.

         CLAIM IX: GOBERT’S FOURTEENTH AMENDMENT RIGHT TO DUE
         PROCESS AND EIGHT AMENDMENT RIGHT TO BE FREE FROM
         ARBITRARY AND CAPRICIOUS PUNISHMENTS WERE VIOLATED
         BECAUSE THE TEXAS DEATH PENALTY STATUTE LACKS MINIMAL
         STANDARDS FOR A JURY TO DETERMINE WHO SHOULD LIVE AND WHO
         SHOULD DIE

         CLAIM X: GOBERT’S FOURTEENTH AMENDMENT/DUE PROCESS RIGHTS
         AND EIGHTH AMENDMENT RIGHTS WERE VIOLATED UNDER PENRY V.
         JOHNSON BECAUSE THE MITIGATION SPECIAL ISSUE SENDS MIXED
         SIGNALS

         EXHAUSTION:

         Claim 9 was raised in the state writ on pages 120-22.

         Claim 10 claim was raised in the state writ on pages 123-126.

         The FFCL denied relief on Claim 9 at page 13 and Claim 10 on page 14.

         A.    Baseline Legal Principles

         “Mitigating evidence concerning a particular defendant’s character or

background plays a constitutionally important role in producing an individualized

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sentencing determination that the death penalty is appropriate in any given case.”

Moore v. Johnson, 194 F.3d 586, 612 (5th Cir. 1999). Capital juries must be

afforded the opportunity to consider and give effect to all evidence in mitigation of

a death sentence. See, e.g., Skipper v. South Carolina, 476 U.S. 1 (1986); Eddings

v. Oklahoma, 455 U.S. 104 (1982); Lockett v. Ohio, 438 U.S. 586 (1978) (plurality

opinion). Jury instructions that may reasonably be construed to limit the jury's

consideration of relevant mitigating evidence accordingly violate the Eighth

Amendment.18 See, e.g., Tennard v. Dretke, 524 U.S. 274, 284-85 (2004); Penry v.

127 Johnson, 532 U.S. 782, 797 (2001); Hitchcock v. Dugger, 481 U.S. 393

(1987). This is so because “it is only when the jury is given a ‘vehicle for

expressing its “reasoned moral response” to that evidence in rendering its

sentencing decision,’... that we can be sure that the jury ‘has treated the defendant

as a “uniquely individual human being” and has made a reliable determination that

death is the appropriate sentence ....’ ” Penry, 532 U.S., at 797 (citations omitted).

         B.       Issue Overviewed

         “[T]he relevant inquiry [is] whether there was a reasonable likelihood that

the jury would interpret [the jury instructions and verdict forms] in a manner that


18
  In capital cases, the Supreme Court has “addressed the relevance standard applicable to mitigating evidence... in
the most expansive terms.... ‘Relevant mitigating evidence is evidence which tends logically to prove or disprove
some fact or circumstance which a fact-finder could reasonably deem to have mitigating value.” Tennard, 524 U.S.
274, 284 (2004) (citations omitted). “[V]irtually no limits are placed on the relevant mitigating evidence a capital
defendant may introduce concerning his own circumstances.” Id. at 285 (citations omitted). See, e.g., Coble v.
Quarterman, 496 F.3d 430, 444-45 (5th Cir. 2007).
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precluded it from fully considering and giving full effect to all of the defendant's

mitigating evidence.” Nelson v. Quarterman, All F.3d 287, 293 (5th Cir. 2006) (en

banc) (citing Tennard, 542 U.S., at 288-89, and Smith v. Texas, 543 U.S. 37, 38

(2004) (per curiam)). Here, there is an unacceptable risk that one or more jurors

was unable “to express his reasoned moral response to evidence that has mitigating

relevance,” id., because he or she reasonably construed the jury instructions and

verdict forms to require that he find that each and every prong of the court’s

composite mitigating factors was both true and worthy of weight in order to

consider any aspect of those factors in deciding Gobert’s sentence. Cf. McCoy v.

North Carolina, 494 U.S. 433, 440 (1990) (“it would be the ‘height of arbitrariness

to allow or require the imposition of the death penalty” where 1 juror was able to

prevent the other 11 from giving effect to mitigating evidence” because of

instructions that could reasonably be construed to require jury unanimity regarding

mitigating factors) (quoting Mills v. Maryland, 486 U.S. 367, 374 (1988)). Here, it

would be the “height of arbitrariness” to permit or require Gobert’s jurors to ignore

mitigating evidence they found to exist because it had been inextricably linked by

the instructions and verdict forms to evidence they concluded had not been proved

by a preponderance of the evidence.19


19
  Gobert does not contend that the Constitution or FDPA require a district court to instruct the jury on the specific
mitigating factors alleged in any given case. The Supreme Court has held that such instructions are not generally
required under the Eighth Amendment, Buchanan v. Angelone, 522 U.S. 269 (1998).
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             C.            The Texas Statute and Gobert’s Jury Instructions

             Article 37.071 of the Texas Code of Criminal Procedure governs the

instructions given to Texas capital juries. The statute requires a trial court to

submit at least two issues to the jury: (1) whether there is a probability that the

defendant constitutes a continuing threat to society; and (2) whether, considering

all the evidence, there are sufficient mitigating circumstances to warrant a sentence

of life imprisonment without parole.                                                     TEX. CODE CRIM. PROC. art. 37.071, §

2(b)(1), (e)(1). With respect to the mitigating circumstances special issue, the

court must instruct the jury that, if it answers that a circumstance warrants a

sentence of life imprisonment without parole rather than a sentence of death, the

defendant will receive a life sentence and will not be ineligible for parole. Id. at §

2(e)(2)(A)-(B). Furthermore, the court must instruct the jury to answer this special

issue “Yes” or “No,” that it may not answer “No” unless by unanimous agreement,

that it may not answer “Yes” unless ten or more jurors agree,20 and that the jurors

need not agree on which evidence in particular is mitigating. Id. at § 2(f)(1)-(3).

             In addition to these procedural instructions, Texas law requires the court to

instruct the jury that it “shall consider mitigating evidence to be evidence that a

juror might regard as reducing the defendant’s moral blameworthiness.” TEX.

CODE CRIM. PROC. art. 37.071, § 2(f)(4) (emphasis added).                                                     No definition of


20	  This	  instruction	  is	  itself	  unconstitutional.	  	  See	  Claim	  Fifteen,	  ante.	  
                                                                                      128
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“moral blameworthiness” is provided, nor are additional instructions given as to

the relationship between this instruction and the demands of the special issue itself.

      As directed by the statute, the trial court in Gobert’s case gave the statutorily

required instructions during the punishment phase of trial and before the jury

retired to deliberate. In particular, the court’s charge included the following:

      Whether, taking into consideration all of the evidence, including the
      circumstances of the offense, the defendant’s character and
      background, and the personal moral culpability of the defendant, there
      is a sufficient mitigating circumstance or circumstances to warrant
      that a sentence of life imprisonment without parole rather than a death
      sentence be imposed.

Further tracking Article 37.071, the charge included the following paragraph: “In
deliberating on Special Issue Number 3, you shall consider mitigating evidence to
be evidence that a juror might regard as reducing the defendant’s moral
blameworthiness.” (Id. at 2127 (emphasis added).


      D.     Texas’s Statute Unconstitutionally Limits the Categories of
             Evidence a Capital Jury May Find Mitigating and to Warrant a
             Life Sentence


      The Supreme Court requires that a jury “be permitted to ‘consider fully’ []

mitigating evidence” that provides a basis for a sentence of life rather than death.”

Abdul-Kabir v. Quarterman, 550 U.S. 233, 260 (2007). “[S]uch consideration,”

the Court has explained, “would be meaningless unless the jury not only [has] such

evidence available to it, but also [is] permitted to give that evidence meaningful,

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mitigating effect in imposing the ultimate sentence.”       Id. (internal quotations

omitted). Each juror is entitled to broad discretion in assessing the import of that

mitigating evidence which the defense proffers; at the same time, the State may not

limit this evidence to those categories which the State deems as mitigating. As

said the Court in Tennard v. Dretke:

      [A] State cannot bar the consideration of . . . evidence if the sentencer could
      reasonably find that it warrants a sentence less than death.

542 U.S. 274, 285 (2004) (internal quotations omitted).

      See also McCleskey v. Kemp, 481 U.S. 279, 304 (1987) (“[T]he Constitution

limits a State’s ability to narrow a sentencer’s discretion to consider relevant

evidence that might cause it to decline to impose the death sentence.”).

      Consistent with this jurisprudence, the avenues of mitigation open to a

capital jury cannot be limited to evidence that relates solely to the defendant’s

culpability, the nature of his crime, or what the crime says about that individual

defendant. See Abdul-Kabir, 550 U.S. at 246 (establishing a low threshold for

what constitutes “mitigating evidence,” viz., that which “might provide a basis for

refusing to impose the death penalty on a particular individual, notwithstanding the

severity of his crime or his potential to commit similar offenses in the future”).

For example, evidence that a defendant has adjusted well in prison prior to his trial

qualifies as mitigating evidence because “there is no question but that [inferences


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drawn from the evidence] would be ‘mitigating’ in the sense that they might serve

‘as a basis for a sentence less than death.’” Skipper v. South Carolina, 476 U.S. 1,

4-5 (1986) (quoting Lockett, 438 U.S. at 604).

      Importantly, the Skipper Court observed that the proffered evidence—the

testimony of two guards and a prison visitor—“would not relate specifically to

petitioner’s culpability for the crime he committed.” Id. at 4. Even still, it could

“hardly be disputed” that the evidence’s exclusion “deprived petitioner of his right

to place before the sentencer relevant evidence in mitigation of punishment.” Id. at

4.   See also Abdul-Kabir, 550 U.S. at 259 (“Like Penry’s evidence, Cole’s

evidence of childhood deprivation and lack of self-control did not rebut either

deliberateness or future dangerousness but was intended to provide the jury with an

entirely different reason for not imposing a death sentence.”).

      Like the defendant in Skipper, Gobert presented evidence to the jury

regarding his background and character as mitigating evidence. Some of this

evidence related to the conceptualization of mitigation—affirmed in Penry v.

Lynaugh—that “defendants who commit criminal acts that are attributable to a

disadvantaged background . . . may be less culpable than defendants who have no

such excuse.”    492 U.S. 302 (1989) (Penry I) (internal quotations omitted),

overruled on other grounds by Atkins v. Virginia, 536 U.S. 304, 321 (2002). This

evidence bolstered the argument that, although legally and morally to blame for the

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crime, Gobert nevertheless was a worthwhile person undeserving of a death

sentence. The evidence that Gobert’s background contributed to his committing

the crime held meaningful potential for jurors to decide against a sentence of death.

See Penry I, 492 U.S. at 327 (“[S]o long as the class of murderers subject to capital

punishment is narrowed, there is no constitutional infirmity in a procedure that

allows a jury to recommend mercy based on the mitigating evidence introduced by

a defendant.”).

      Texas’s statutorily-mandated instruction fatally undermines the jury’s

capacity to give effect to this broader type of mitigating evidence by calling upon

jurors to “consider mitigating evidence to be evidence that a juror might regard as

reducing the defendant’s moral blameworthiness.” TEX. CODE CRIM. PROC. art.

37.071, § 2(f)(4) (emphasis added). Put differently, this instruction precluded

jurors from considering mitigating evidence unrelated to Gobert’s “moral

blameworthiness,” a limitation wholly at odds with three decades of U.S. Supreme

Court precedent. Were any of Gobert’s jurors to credit such evidence—that is,

evidence they found to warrant a life sentence but that did not reduce Gobert’s

moral blameworthiness for the crime—that juror necessarily and untenably would

violate the court’s instructions.   Penry II, 532 U.S. at 800.       Because “[w]e

generally presume that jurors follow their instructions,” there exists a reasonable



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probability that the result of Gobert’s trial would have been different had a

constitutionally adequate instruction been given. Id. at 799.

      D.     Conclusion

      “[W]hen the jury is not permitted to give meaningful effect or a ‘reasoned

moral response’ to a defendant’s mitigating evidence—because it is forbidden

from doing so by statute or a judicial interpretation of a statute—the sentencing

process is fatally flawed.” Abdul-Kabir, 550 U.S. at 264. At Gobert’s trial, the

jury was prohibited from giving effect—meaningful or otherwise—to mitigating

evidence falling outside the boundaries specified in its instructions, and this

prohibition thereby unconstitutionally limited the jury’s ability to give its

“reasoned moral response.” See also Skipper, 476 U.S. at 8 (“The exclusion by the

state trial court of relevant mitigating evidence impeded the sentencing jury’s

ability to carry out its task of considering all relevant facets of the character and

record of the individual offender.”).

      Although the U.S. Supreme Court has upheld Texas’s capital punishment

statute, it did so “on the basis of assurances that the special issues would be

interpreted broadly enough to enable sentencing juries to consider all of the

relevant mitigating evidence a defendant might present.” Penry I, 492 U.S. at 318.

Since then, the Court has repeatedly expressed its concerns “regarding the extent to

which the jury must be allowed not only to consider such evidence, or to have such

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evidence before it, but to respond to it in a reasoned, moral manner and to weigh

such evidence in its calculus of deciding whether a defendant is truly deserving of

death.” Brewer v. Quarterman, 550 U.S. 286, 296 (2007). In this case, application

of the Texas capital punishment statute impaired Gobert’s right to have all

mitigating evidence considered by the jurors as they assessed whether he deserved

a life or death sentence. Penry I, 492 U.S. at 320 (“[T]he Texas death penalty

statute was applied in an unconstitutional manner by precluding the jury from

acting upon the particular mitigating evidence [the defendant] introduced.”).

Therefore, no reasonable jurist could countenance the state district court’s

conclusion that, “Because the consideration and weighing of mitigating evidence is

an open-ended, subjective determination engaged by each individual juror…

V.A.C.C.P. does not unconstitutionally narrow the jury’s discretion to factors

concerning only moral blameworthiness.”

            CLAIM XI: TEXAS’ 12-10 RULE AS AMENDED IN 1991
            VIOLATES THE EIGHTH AND FOURTEENTH AMENDMENTS AS
            CONSTRUED BY MILLS V. MARYLAND AND MCKOY V. NORTH
            CAROLINA


      EXHAUSTION: This claim was presented as Claim 11 in the state writ at
pages 127-139.

      The FFCL denied relief on page 14.




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      Gobert argues that Texas’s capital sentencing scheme, by affirmatively

misleading jurors about their individual ability to give effect to their personal

belief regarding mitigation, violates the Eighth and Fourteenth Amendments. This

claim is based on Mills v. Maryland, where the Court ruled that the petitioner’s

sentence could not stand where it was possible that some “jurors were prevented

from considering factors which may call for a less severe penalty [than death.]”

486 U.S. 367, 376 (1988). As this Court has repeatedly recognized, “[s]ubsequent

to Mills, the Supreme Court has explained that ‘Mills requires that each juror be

permitted to consider and give effect to mitigating evidence when deciding the

ultimate question whether to vote for a sentence of death.”” See, e.g., Miller v.

Johnson, 200 F.3d 274, 288 (5th Cir. 2000) (citing McKoy v. North Carolina, 494

U.S. 433, 442–43, 110 S.Ct. 1227, 1233 (1990)); Jacobs v. Scott, 31 F.3d 1319,

1328 (5th Cir. 1994).

      The constitutional defect with Texas’ current jury instructions is that they,

by statute and as applied in Gobert’s case, mislead jurors about their individual

ability to give effect to mitigating circumstances. Although Texas’s sentencing

statute gives individual jurors the power to prevent the death penalty if they believe

mitigating circumstances call for a sentence of life, that same statute also misleads

jurors into believing their individual belief is immaterial unless they are able to

persuade nine of their fellow jurors that their view of the evidence is correct. See

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TEX. CODE CRIM. PRO. ART. 37.071.21 Gobert does not argue that it is necessary to

instruct jurors about the consequences of a single holdout juror although that

would give meaning to Texas Code of Criminal Procedure art. 37.071 Sec. 2 (g) (if

the jury is unable to answer either of the special issues the court shall sentence the

defendant to life in prison).22 Rather, Gobert argues that Texas’s sentencing

scheme misleads jurors about their individual ability to “give effect to mitigating

evidence when deciding the ultimate question whether to vote for a death

sentence.” McKoy, 494 U.S. at 442-43.

             Gonert concedes that the Fifth Circuit has “repeatedly held that Texas’s 12-

10 Rule does not run afoul of Mills. Reed v. Stephens, 739 F.3d 753,779 (5th Cir.

2014); Parr v. Thaler, 481 F. App'x 872, 878(5th Cir. 2012); Druery v. Thaler, 647

F.3d 535, 542-43 (5th Cir. 2011); Greer v. Thaler, 380 F. App'x 373, 389 (5th Cir.

2010)).. However, prior decisions rejecting the Mill’s and McKoy argument have

never addressed whether or not the 1991 change in capital sentencing laws brought

Texas’s sentencing scheme within the purview of clearly established Supreme




21	  In	  judging	  the	  constitutionality	  of	  the	  of	  a	  capital	  sentencing	  statute,	  a	  court	  must	  ask	  how	  a	  reasonable	  juror	  
could	  view	  his	  or	  her	  role	  under	  the	  statutory	  scheme.	  California	  v.	  Brown,	  479	  U.S.	  538,	  541	  (1985).	  
22 Gobert understands that the Eighth Amendment does not require that the jurors be instructed as to the
consequences of their failure to agree. Jones v. United States, 527 U.S. 373, 381 (1999). However, a jury cannot be
“affirmatively misled regarding its role in the sentencing process.” Romano v. Oklahoma, 512 U.S. 1, 9 (1994). The
“12-10" rule produces this type of misleading effect. In fact, it misleads and diminishes the individual role of each
juror in the assessment of punishment by suggesting that a life sentence cannot be assessed unless ten jurors believe
a life sentence is appropriate.
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Court Precedent.23 Gobert argues that the 1991 change to Texas’s sentencing law

brought Mills into play, and requests this Court to grant a certificate of

appealability so that this issue can be fully briefed.

                 A. Texas’s Enigmatic 12-10 Rule

               Before a defendant may be sentenced to death in Texas, the jury must

answer statutory special issues in a certain way. See TEX. CODE CRIM. PRO. art.

37.071 (Art. 37.071). This was true during Gobert’s trial and remains so today. In

Gobert’s case two special issues were submitted to the Jury. See C.R. at p 567-576.

Pursuant to Art. 37.071, sec. 2(b), the jury was first asked the following question:

“Do you find beyond a reasonable doubt that there is a probability that the

defendant, Milton Gobert, would commit criminal acts of violence that would

constitute a continuing threat to society?” Id. at 574. The state was required to

prove this special issue beyond a reasonable doubt, and the jury was instructed that

they could not answer this special issue “yes” unless they agreed unanimously. Id.

at 568; See Art. 37.071(d)(2); Further, the jurors were instructed that they could

not answer this special issue “no” unless ten or more jurors agreed. Id.

              More relevant to this issue is the second special issue submitted in Gobert’s

case. The jury was instructed that they could answer special issue no. 2 only if they

23	  This	  idea	  is	  based	  on	  the	  research	  conducted	  by	  undersigned	  counsel,	  which	  has	  not	  uncovered	  a	  case	  
discussing	  the	  effect	  of	  the	  1991	  law	  change	  on	  the	  Mills	  argument.	  Gobert	  does	  recognize	  this	  Court	  addressed	  
the	  law	  change	  in	  Blue	  v.	  Thaler,	  665	  F.3d	  647,	  662	  (5th	  Cir.	  2011),	  however,	  Blue	  involved	  a	  challenge	  to	  the	  12-­‐10	  
brought	  pursuant	  to	  Romano	  v.	  Oklahoma,	  not	  Mills	  and	  McCoy.	  	  
	  
                                                                                        137
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answered special issue no. 1 “yes.” Because the jury answered special issue no. 1

in the affirmative they moved on to special issue no. 2 which asked: “Do you find

from the evidence, taking into consideration all of the evidence, including the

circumstances of the offense, the defendant’s character and background, and the

personal moral culpability of the defendant, Milton Gobert, that there is a sufficient

mitigating circumstance or circumstances to warrant that a sentence of life

imprisonment rather than a death sentenced be imposed?” see also Art.

37.071(e)(1). However, the jury was also instructed that they may not answer

special issue no. 2 “no” unless they agreed unanimously, and that they may not

answer special issue no. 2 “yes” unless ten or more of them agreed to do so.

      The verdict form used in the petitioner’s case gave the jury two options in

answering each special issue. They could only answer yes or no. Id. Further, the

jury was instructed that “should you return an affirmative finding on Special Issue

No. 1 and a negative finding on Special Issue No. 2 the court will sentence the

defendant to death.” The Jury was never told what would happen if the requisite

number of jurors failed to agree on either issue, or if it was possible to return a

verdict without reaching an agreement on one of the special issues.

      Strangely, Texas jurors are never informed that the Code of Criminal

Procedure specifically states that “[i]f the jury returns a negative finding on any

issue submitted under Subsection (b) of this article [future dangerousness] or an

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affirmative finding on an issue submitted under Subsection (e) [mitigation] of this

article or is unable to answer any issue submitted under Subsection (b) or (e) of

this article, the court shall sentence the defendant to confinement in the

institutional division of the Texas Department of Criminal Justice for life.” Art.

37.071 sec. 2(g). This is because “[t]he court, the attorney representing the state,

the defendant, or the defendant’s counsel may not inform a juror or a prospective

juror of the effect of a failure of a jury to agree on issues submitted under

Subsection (c) or (e) of this article.” Id.at sec. 2(a)(1). Thus, the Texas 12-10 rule

hides from jurors the fact that one or more jurors who believe that a life sentence is

proper have the power to follow their belief, and that the end result will be a life

sentence.

        B.   Clearly Established Supreme Court Precedent
      The Supreme Court’s ruling in Mills v. Maryland has been described by that

court as follows:

      [In Mills v. Maryland] we reversed a death sentence imposed under
      Maryland's capital punishment scheme because the jury instructions
      and verdict form created “a substantial probability that reasonable
      jurors ... well may have thought they were precluded from considering
      any mitigating evidence unless all 12 jurors agreed on the existence of
      a particular such circumstance.” We reasoned that allowing a
      “holdout” juror to prevent the other jurors from considering mitigating
      evidence violated the principle established in Lockett v. Ohio, 438
      U.S. 586 (1978), that a sentencer may not be precluded from giving
      effect to all mitigating evidence.

McKoy v. North Carolina, 494 U.S. 433, 439-440 (1990).
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      The Mills court ruled that the petitioner’s sentence could not stand where it

was possible that some “jurors were prevented from considering factors which may

call for a less severe penalty [than death.]” Mills v. Maryland, 486 U.S. 367, 376

(1988) (internal quotations removed). Petitioner Mill’s death sentence was

overturned because of the possibility that individual jurors were prevented from

giving effect to mitigating evidence on the ground that the jury as a whole did not

agree on the existence of particular mitigating evidence. The principle established

from this ruling is that all jurors in capital cases must be able to give weight to any

mitigating evidence presented, and that requiring unanimous agreement that certain

evidence mitigates in favor of a life sentence violates the Eighth and Fourteenth

Amendments.

      This principle is applicable to Texas’ 12-10 rule. While Texas’ scheme does

not require unanimous agreement by the jurors before a life sentence can be

imposed, it does affirmatively mislead jurors into believing that their independent

belief that a life sentence is proper is irrelevant unless nine other jurors agree with

them. Texas capital jurors, and the jurors in the Gobert’s case, are explicitly told

that they cannot return a “yes” verdict on special issue no. 2 unless ten or more of

them agree to do so. Further, by statute, Texas capital jurors are precluded from

being told that a single juror’s refusal to answer “no” on special issue no. 2 will

result in a life sentence. Thus, individual jurors in Texas are denied the ability to

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give weight to mitigating evidence they believe calls for a life sentence unless they

can convince nine other jurors to agree with them.

      The statutory mandate that jurors must be affirmatively misled about their

individual ability to give effect to mitigating evidence only exasperates the

problem. See Art. 37.071 Sec. 2(a). The Supreme Court in Mills pointed out that

“common sense and what little extrinsic evidence we possess suggest that juries do

not leave blanks and do not report themselves as deadlocked over mitigating

circumstances after reasonable deliberation unless they are expressly instructed to

do so.” Mills v. Maryland, 486 U.S. 367, 383 (1988). As Texas’ jurors are not

instructed to do so, and indeed are instructed that death will be imposed unless 10

or more jurors disagree with that decision, a single hold out juror will clearly be

pressured to set aside his conscience and vote with his remaining jurors. After all,

the verdict form provided to jurors only allows one of two answers to the special

issues, yes or no. The pressure this rule puts on a single holdout juror is obvious.

      That Mills requires each individual juror be able to give effect to any

mitigating evidence they personally deem relevant was made clear in McKoy v.

North Carolina, 494 U.S. 433, 442-443 (1990) (emphasis added). Once again, the

Texas Statute at issue violates this clearly established federal principle by

instructing jurors that they cannot give effect to mitigating evidence which calls for

life in prison unless nine of their counterparts agree with them.

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             The District Court’s decision is diametrically opposed to the Seventh

Circuit’s decision in Kubat v. Thieret.24 In Kubat, the trial court erroneously

instructed the jury in a capital case that it must “unanimously conclude that there is

a sufficiently mitigating factor or factors to preclude imposition of the death

sentence” before a life sentence would be imposed. Kubat v. Thieret, 867 F.2d 351,

369 (7th Cir. 1989). The Kubat Court, relying on Mills, held that the death sentence

imposed in that case must be overturned “on the grounds that one or more of the

jurors might have been precluded from considering mitigating factors.” Id. at 373.

The court explained as follows:

             The same analysis applies in Kubat's case. Kubat's jurors were never
             expressly informed in plain and simple language that if even one juror
             believed that the death penalty should not be imposed, Robert Kubat
             would not be sentenced to death. On the contrary, the instructions
             emphasized unanimity. As discussed in part III, A., 2., above, there is
             a substantial possibility that one or more of Kubat's jurors might have
             been precluded from granting mercy to Kubat because of a mistaken
             belief that the sufficiency of mitigating factors had to be found
             unanimously.

Id. at 372.

             While the jurors in Gobert’s case were not instructed that they had to be

unanimous in their decision that mitigating circumstances called for life in prison,

they were instructed that at least ten jurors must agree before a life sentence would

24	  Gobert	  understands	  Kubat	  “does	  not	  supercede	  intervening	  Fifth	  Circuit	  precedent	  regarding	  challenges	  to	  
Texas'	  12–10	  rule.”	  Druery	  v.	  Thaler,	  647	  F.3d	  535,	  543	  (5th	  Cir.	  2011).	  However,	  as	  explained	  below,	  Druery	  is	  
distinguishable	  from	  Gobert’s	  case	  because	  it	  relied	  on	  cases	  discussing	  the	  pre-­‐1991	  formulation	  of	  capital	  
punishment	  in	  Texas.	  	  
	  
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be imposed. For this reason, Texas’s 12-10 rule creates a substantial possibility

that one or more of the petitioner’s jurors might have been precluded from granting

mercy because of their mistaken belief that sufficient mitigating factors had to be

found by ten or more jurors.

      In Davis v. Mitchell, the Sixth Circuit granted relief to a habeas petitioner on

similar grounds, reversing the ruling of the district court. Davis v. Mitchell, 318

F.3d 682 (6th Cir. 2003). In that case, “[i]mmediately following the trial court's

instruction regarding mitigating circumstances, the trial judge . . . gave the jury a

unanimity instruction, stating, ‘[n]ow, as you know, since this is a criminal case,

the law requires that in order for you to reach a decision all 12 of you must be in

agreement.’” Id. at 684. In addition, the “judge gave the jury a so-called ‘acquittal-

first’ instruction stating that it must first analyze whether the elements allowing the

death penalty were present, and only if they were not present, should the jury move

on to consider life imprisonment.” Id. In reaching their decision the Sixth Circuit

noted that “[i]nstructions that leave a jury with the impression that juror unanimity

was required to mitigate the punishment from death to life imprisonment clearly

violate the Eighth Amendment, and therefore the writ of habeas corpus must issue

setting aside the death sentence.”

      In analyzing the issue in Davis the Sixth Circuit reviewed the Federal Death

Penalty Act enacted in 1994. The court noted that under this act “[a]ny one or more

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jurors may find the existence of a mitigating factor and may then consider that

factor in weighing the aggravating and mitigating factors even though other jurors

may not agree that the particular mitigating factor has been established. This

weighing decision must be made by each juror giving individual consideration to

the aggravating factors unanimously found by all of the jurors and such mitigating

factors as may be found by each juror.” Id. at 686-687 (emphasis added). The court

then went onto note that the reason for adopting this language in the Federal Death

Penalty Act was to “bring us into conformity with Tuesday’s Supreme Court

decision in Maryland versus Mills” which held that “even if one juror says there

was mitigating circumstances of any sort, the death penalty cannot be imposed.”

Id. The Sixth Circuit then agreed with congress that the Eight Amendment and

“Mills require[] that each juror be permitted to consider and give effect to

mitigating evidence when deciding the ultimate question whether to vote for a

sentence of death.” Id. (internal citation omitted).

      These cases show that clearly established federal law requires that capital

jurors be made aware of their individual “power to prevent the death penalty by

giving effect to mitigating circumstances absent an agreement of the other jurors

regarding the presence of those mitigating circumstances.” Id. at 690. Texas capital

jurors are given this power by statute, but they are also affirmatively misled about

this power, as required by the same statute. Art. 37.071, sec. 2(a), (g). Finally, it is

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because reasonable jurors, upon receiving instructions identical to those provided

to the jury in Gobert’s case may have believed they did not individually have the

power to stop the infliction of the death penalty that the Texas 12-10 rule violates

the 8th and 14th Amendment’s as interpreted by Mills and McKoy.

       C.    The1991 Change Affects the Mills and McKoy Arguments

      The state argued, and the FFCL accepted, that this claim has been

consistently rejected by the appeals courts. However, the Fifth Circuit in rejecting

similar claims has repeatedly relied upon cases decided before Texas Code of

Criminal Procedure 37.071 was drastically changed in September of 1991, even

when denying similar claims for post-1991 cases. In so doing this Court has not

specifically addressed the fact that the Texas Sentencing Scheme has changed, or

how this change affects the Mills and McCoy analysis.

      Before 1991, Texas’s death penalty sentencing scheme consisted of asking

jurors a series of three questions:

      “(1) whether the conduct of the defendant that caused the death of the
      deceased was committed deliberately and with the reasonable expectation
      that the death of the deceased or another would result;

      “(2) whether there is a probability that the defendant would commit criminal
      acts of violence that would constitute a continuing threat to society; and

      “(3) if raised by the evidence, whether the conduct of the defendant in
      killing the deceased was unreasonable in response to the provocation, if any,
      by the deceased.”


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Art. 37.071(b) (Supp.1975-1976). If the jurors unanimously agreed that each of

these questions had been proven beyond a reasonable doubt a sentence of death

would result. Id. If the jury answered any of these questions ‘no,’ then life

imprisonment would result. Id. Much like today, a yes answer had to be unanimous

and a no answer had to be supported by ten of the jurors. Id.

      Although the pre-1991 sentencing statute failed to specifically allow

consideration of mitigation evidence, the Supreme Court upheld the statute because

the Texas Court of Criminal Appeals “indicated that it will interpret this second

question so as to allow a defendant to bring to the jury’s attention whatever

mitigating circumstances he may be able to show.” Jurek v. Texas, 428 U.S. 262,

272 (1976). Thus, juries in Texas were allowed to consider mitigation evidence,

although they were never told so. Of course the infirmities of the pre-1991

sentencing scheme were brought to light when the Supreme Court held that Johnny

Paul Penry had been sentenced to death in violation of the Eighth Amendment

because his jury had not been adequately instructed with respect to mitigating

evidence. See Penry v. Lynaugh, 492 U.S. 302 (1989) (Penry I); Penry v. Johnson,

532 U.S. 782 (2001). As a result, the Texas death penalty sentencing scheme was

changed to expressly allow juries to consider mitigation evidence.

      In 1991 the Texas legislature amended Code of Criminal Procedure art. Tex.

Code Crim. Pro. Art. 37.071 to include a true “mitigation special issue.” See 1991

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Tex. Sess. Law Service Ch. 838 (S.B. 880). Related to Gobert’s case, the two

special issues in question became the following:

      1) Whether there is a probability that the defendant would commit criminal
      acts of violence that would constitute a continuing threat to society;

      2) Whether, taking into consideration all of the evidence, including the
      circumstances of the offense, the defendant’s character and background, and
      the personal moral culpability of the defendant, there is a sufficient
      mitigating circumstance or circumstances to warrant that a sentence of life
      imprisonment rather than a death sentenced be imposed.

Id.; See TEX. CODE CRIM. PRO. art. 37.071 (Vernon Supp. 1993-present). The jury

could not answer special issue no. 2 “no” unless they agreed unanimously, and

they could not answer special issue no. 2 “yes” unless ten or more of them agreed

that mitigation called for a life sentence. Id.

      This Court has repeatedly held that Mills did not apply to the pre-1991

sentencing scheme because “Mills involve[d] statutory schemes different from the

Texas sentencing statute and different legal standards.” See, e.g., Webb v. Collins,

2 F.3d 93, 96 (5th Cir. 1993). This was true, as the pre-1991 sentencing scheme did

not actually involve a mitigation special issue. However, the post-1991 sentencing

scheme does include a mitigation special issue and is therefore much closer to the

sentencing scheme discussed in Mills. The problem is that this Court, in its

decisions related to the post-1991 sentencing scheme, has relied on decisions based

on pre-1991 sentencing schemes.


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      For example, in Druery v. Thaler, it was held that Teague bars review of this

claim and that Mills does not apply to Texas’s sentencing scheme. 647 F.3d 535,

543 (5th Cir. 2011) cert. denied, 132 S. Ct. 1550 (U.S. 2012)). Druery cites Miller

v. Johnson for the idea that “Mills is not applicable to the capital sentencing

scheme in Texas.” Id. (citing Miller v. Johnson, 200 F.3d 274, 288 (5th Cir.2000)).

Miller however is not applicable to the issue currently before this Court for many

reasons. First, “the jury at [Miller’s] trial was instructed what to do if they did not

reach agreement as set forth in the charge. The jury instructions provided that if

there was any special issue on which the vote of the jurors was not unanimously

‘yes’ or not at least ten in favor of an answer of ‘no,’ there should be no answer for

that special issue and the presiding juror should not sign his or her name to any

answer form for that special issue.” Miller, 200 F.3d at 288. Further, the Miller

case concerned the pre-1991 jury capital sentencing scheme which was not used in

Gobert’s case. Id. However, it is important that the Miller Court did recognize that,

“Mills requires that each juror be permitted to consider and give effect to

mitigating evidence when deciding the ultimate question whether to vote for a

sentence of death.” Id. Gobert argues that the post-1991 sentencing scheme does

not allow each juror to consider and give effect to mitigating evidence.


      Druery also cited Hughes v. Dretke, 412 F.3d 582, 593–94 (5th Cir.2005) for

the idea that the instant claim is Teague barred. Druery, 647 F.3d at 543. Although
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Hughes involved a crime committed after 1991 this Court’s decision only discusses

the application of the “future dangerousness” special issue. Hughes, 412 F.3d at

594. No mention was made of the mitigation special issue. Id. Further, this Court

in Hughes ruled only that the claim was Teague-barred, relying on Miller

(discussed above) and Jacobs v. Scott, 31 F.3d 1319, 1328–29 (5th Cir.1994).

Jacobs was decided based on the pre-1991 sentencing scheme. Jacobs, 31 F.3d at

1328-29. Although Jacobs ruled that the 12-10 claim in that case was procedurally

defaulted, The Court went on to explain that the substantive argument was

meritless because “[t]he [pre-1991] law in Texas is completely different from that

in Mills.” Id. at 1328. This is true, because the pre-1991 law in Texas did not

involve a mitigation special issue. Also, much like the Miller case, the jurors in

Jacobs were “instructed that each juror was to make his or her decision

independently.” Id. at 1329. No such instruction was given in Gobert’s case.

Finally, this Court once again pointed out that Mills has been interpreted to mean

“‘each juror [must] be permitted to consider and give effect to mitigating evidence

when deciding the ultimate question whether to vote for a sentence of death.’” Id.

(citing McKoy v. North Carolina, 494 U.S. 433, 442–43 (1990)).

      Gobert asserts that Texas’s post-1991 capital sentencing scheme, as applied

in his case, violates the Eighth and Fourteenth Amendments. The distinction

between the pre-1991 and post-1991 sentencing schemes, as related to Mills, has

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apparently not been addressed by this Court, and therefore Fifth Circuit precedent

does not dictate the outcome of this claim.

      As applied to the post-1991 sentencing statute, this claim is not Teague-

barred. Under Teague, new rules of constitutional criminal procedure will not be

announced on federal habeas review unless an exception applies. Webb v. Collins,

2 F.3d 93, 95 (5th Cir. 1993) (citing Teague v. Lane, 489 U.S. 288, 316 (1989).

However, Gobert asserts that applying Mills as interpreted by McKoy to Texas’s

post-1991 sentencing scheme does not create a new rule. “[A] case announces a

new rule when it breaks new ground or imposes a new obligation on the States or

the Federal Government.... To put it differently, a case announces a new rule if the

result was not dictated by precedent existing at the time the defendant's conviction

became final.” Teague, 489 U.S. at 301.

      That jury instructions which mislead individual jurors about their ability to

give effect to mitigating evidence are in violation of the Eight and Fourteenth

Amendments does not break new ground. The Supreme Court has long held that

“Mills requires that each juror be permitted to consider and give effect to

mitigating evidence when deciding the ultimate question whether to vote for a

sentence of death.” McKoy, 442–43. This well-recognized Supreme Court rule

dictates that the current Texas sentencing scheme is unconstitutional because it

requires jury instructions which mislead individual jurors to believe that their

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individual vote for life is meaningless unless at least nine more of their follow

jurors agree.


                C LAIM XII: GOBERT’S 4TH, 5TH, 6TH, 8TH AND 14TH
                AMENDMENT RIGHTS WERE VIOLATED WHEN THE
                TRIAL COURT ERRED IN ADMITTING FUTURE
                DANGEROUSNESS TESTIMONY BY A.P. MERILLAT
                DURING THE PUNISHMENT TRIAL.

                EXHAUSTION:

      This claim was properly preserved for federal review, having been presented

at pages 3-14 of the Gobert’s direct appeal brief as Claim One. See Gobet v. State,

2011 WL 1505343, *2-14 (April 11, 2011). The CCA denied relief on direct

appeal as to this claim. See Gobert v. State, 2011 WL 5881601, *6 (Tex. Crim.

App. 2011).

ISSUE RESTATED: The CCA’s holding that Merillat’s testimony concerning
specific acts of violence by Gobert while incarcerated did not violate Gobert’s 8th
Amendment right to an individualized assessment of his future dangerousness was
the product of an unreasonable analysis of the facts of this cause and how those
facts apply against the backdrop of well settled Supreme Court precedent.

A.     Facts Supporting Gobert’s Claim

      Trial counsel filed a motion in limine with regard to the testimony of Mr.

A.P. Merillat (34 RR 105) (III CR 464). Trial counsel argued that the Eighth

Amendment required a greater degree of accuracy of fact-finding in a capital case

than in a non-capital case, citing Woodson v. North Carolina. 428 U.S. 280, 305

(1976), and Gilmore v. Taylor. 508 U.S. 333 (1993). Trial counsel's specific
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concern was that the State would offer evidence of the potential for violence in the

Texas prison system, including specific instances of violence, prison conditions

generally, and classification issues which he deemed irrelevant to Appellant's case.

He also objected that the Court of Criminal Appeals had never reached the issue of

whether this type of testimony violated the right to individualized sentencing under

Jurek v. Texas. 428 U.S. 262 (1976), and Lockett v. Ohio. 438 U.S. 586, 604-05

(1978).


      According to appellant counsel’s brief, “the trial judge was sufficiently

concerned about this motion to plaster it with notes (III CR 464).” Gobert, 2011

WL 1505343 at 2 (the trial court noted that “he was overruling the

objection/motion insofar as it complained about constitutional rights, because

jurors need to know that prison society is not peaceful”). Id.


      Trial counsel objected to both anecdotal and alleged “statistical” evidence

coming in through Merillat. The trial judge overruled all but the part about the

anecdotal evidence. When that testimony was nevertheless admitted, as to specific

prosecutions, the defense asked for and was granted a running objection to

Merillat's testimony (34 RR 119-20). In response to a question about whether he

had ever been subpoenaed, Merillat said in front of the jury:


          Yes, sir. I have been subpoenaed by defense attorneys all over the
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         state in many, many capital cases, and I've always cooperated,
         never refused to do so. I think that's wrong to do that if I refuse to
         cooperate. But after I get through talking to them or they learn
         what I'm going to say, they don't put me on the stand. Well, that's
         not my call. I'm available. I will -1 will respond. I will do whatever
         it takes. But when they hear what I'm going to say - and usually
         when I talk to defense lawyers, I say, here's my testimony. I'll tell
         them the whole thing. There's no secrets or anything. I'll even tell
         them how to keep me off the stand if they want to know that, and
         it's their choice - it had been their choice not to put me on. I don't
         have any say in the matter.

Id. (Emphasis added).

      Merillat then offered that he recently compiled “statistics,” at which point

the defense asked for a Daubert hearing outside the presence of the jury, since this

was the first they had heard of statistics, “to determine what he’s an expert in and

what the basis of that expertise is” (34 RR 126).


      Merillat's area of expertise is this:

      Historically speaking is all I can go by, what I've done in the past; and
      that's opportunities to be violent within the Texas prison system, no
      matter a person's conviction or their classification, and whether or not
      the prison is able to prevent any inmate of any stripe from taking
      advantage of those opportunities. I will never say that your particular
      client will do anything one way or the other. I've never testified to
      that, and I never would. I can't do that. That's primarily just from
      what's happened in the past, is opportunities and /or prevention.

(34 RR 128). When further queried about his “expertise,” he stated it this way:

      If I had to label it, I would say prison society. I'm talking about Texas
      prison society. I can't speak to any other state. The violence in the
      Texas prison system and the general prison inmate life and
      classification and the daily life of prison inmates in Texas.

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(34 RR 129).

      Merillat also stated, on March 4, 2010, “I know the Court of Criminal

Appeals has held up my testimony in capital cases across the State” (34 RR 130).

Fellow practitioners of this discipline included only “my partner, Roy Smith,”

another former investigator for his particular inmate prosecution unit in Huntsville

(34 RR 131). Merillat called his “peer review” the prosecutors across the state who

have read his book, put out by TDCAA (34 RR 133). He agreed that he was

basically “a law enforcement officer that uses law enforcement techniques to

investigate specific crimes committed within” prison society (34 RR 135).


      The Court ultimately decided that Merillat was a Rule 702 expert and the

defenses Daubert/Kelly objections were overruled (34RR145).


      The statistics offered by Merrillat related to the number of violent crimes

committed in TDCJ (34 RR 152-53). When the jury returned, Merillat was allowed

to testify that between 2000 and 2008, there were 111 homicides and 6262 assaults

in TDCJ (34 RR 149). The Court also overruled Appellant's Rule 703 objection,

made because Merillat's testimony had no relationship whatsoever to the issue of

individualized sentencing (34 RR 151).


      Merillat was also permitted to broadcast a documentary to the jury that he

created about the lives of inmates (34 RR 167-68). He testified that “many female

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guards have been victimized horribly by convicts” (34 RR 172). Mr. Martinez's

objection to the anecdotal nature of that statement was sustained and his request for

an instruction given, but his motion for mistrial was overruled (34 RR 172).

Merillat testified that there were many potential victims in TDCJ besides guards

(34 RR 173). He described weapons that were made or smuggled in and how a “zip

gun” was made (34 RR 176). He said inmates had 24 hours a day, seven days a

week in which to make weapons out of anything they could get their hands on (34

RR 177). He testified that inmates would have “many opportunities” to commit

criminal acts of violence while in prison (34 RR 180).


      When asked on cross-examination how many people with life sentences had

committed murder, Merillat offered one name: Kenneth McDuff; even though he

had to know Kenneth McDuff had been released from prison when he committed

murder and was, therefore, no longer a part of the prison society he was testifying

about (34 RR 204).


      The book Merillat wrote, Future Danger, is put out by the Texas District and

County Attorneys Association, or TDCAA (34 RR 207). Merillat persisted in

testifying to specific anecdotes even though instructed not to (34 RR 211). Even

the prosecutor objected to the anecdotal nature of Merillat's testimony (34 RR

214). While he testified on the one hand about an inmate who has improved his

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life, he immediately followed that testimony with this statement: “Education had

done very little from what I have seen to change a man's way of thinking” (34 RR

216-17). The changes he saw were “spiritual” (3 RR 217).


B.    Arguments and Authorities: Daubert/Kelly Objection


      A trial court's responsibility under Texas Rule of Criminal Evidence 702 is

to determine whether proffered scientific evidence is sufficiently reliable and

relevant to assist the jury. See, e.g., Daubert v. Merrell Dow Pharms., Inc., 509

U.S. 579 (1993); Kelly v. State, 824 S.W.2d 568, 572-73 (Tex.Cr.App. 1992);

Jordan v. State, 928 S.W.2d 550, 554-55 (Tex.Cr.App. 1996). The proponent of

the scientific evidence bears the burden of demonstrating by clear and convincing

evidence that the evidence is reliable. This is accomplished by showing: (1) the

validity of the underlying scientific theory; (2) the validity of the technique

applying the theory; and (3) proper application of the technique on the occasion in

question. Kelly, 824 S.W.2d at 573. Before scientific evidence may be admitted,

the trial court must conduct a hearing outside the presence of the jury to determine

whether the proponent has established all three criteria. Id.; Massey v. State, 933

S.W.2d 141, 152 (Tex. Cr. App. 1996); Campbell v. State, 910 S.W.2d 475, 478-79

(Tex. Cr. App. 1995), cert. denied, 517 U.S. 1140 (1996). This pre-admission

determination is required whether the science at issue is novel or well established.

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Hartman v. State, 946 S.W.2d 60, 63 (Tex.Cr.App. 1997); cf. Kumho Tire Co., Ltd.

v. Carmichael, 526 U.S. 137 (1999) (holding that trial court's “gatekeeping”

function under Federal Rule of Evidence 702 applies to all expert testimony - not

just scientific testimony).


      In evaluating such scientific evidence, the CCA must look at four general

observations as a guide into scientific reliability: (1) falsifiability; (2) peer review

and publication; (3) the existence of methodological standards, including the error

rate; and (4) general acceptance within the relevant scientific field. Daubert, 509

U.S. at 593-94. The goal of these “flexible” guidelines is to evaluate the

admissibility of expert testimony by the standards that comparable experts within

the same scientific field use in evaluating each other's professional work. See id.


      Expert testimony is unreliable if it is not grounded “in the methods and

procedures of science” and is no more than “subjective belief or unsupported

speculation.” Robinson, 923 S.W.2d at 557 (quoting Daubert, Inc., 509 U.S. at

579). In evaluating expert testimony, the trial court must “assess whether the

expert made an adequate effort to tie the relevant facts of the case to the scientific

principles about which he testified.” Morales v. State, 32 S.W.3d 862, 866 (Tex.

Crim. App. 2000). If the expert does not tie the facts to his expert testimony, the

testimony is neither helpful nor admissible. See Griffith v. State, 983 S.W.2d 282,

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287-88 (Tex. Crim. App. 1998); see also Rousseau v. State, 855 S.W.2d 666, 686

(Tex. Crim. App. 1993).


       Merillat's testimony in the present case had no particular relevance to

Gobert’s punishment trial. As noted in Gobert’s direct appeal brief “Merillat's

prides himself on the irrelevance of his testimony, mistaking it for a badge of

neutrality, clearly knowing that his testimony can only militate in favor of death.”

Gobert, 2011 WL 1505343 at *13.


       Merillat's alleged “area of expertise” is neither a hard science nor a soft

science. The CCA understood this principle as evidenced in its opinion in Coble v.

State, 330 S.W.3d 253, 287 (Tex. Crim. App. 2010) ( “‘Soft’ science does not

mean soft standards. When ‘soft’ sciences are at issue, the trial court must inquire

“(1) whether the field of expertise is a legitimate one, (2) whether the subject

matter of the expert's testimony is within the scope of that field, and (3) whether

the expert's testimony properly relies upon and/or utilizes the principles involved in

the field’”).


       There are no tangible and testable principles in Merillat's field of expertise.

As noted in the direct appeal brief, “[h]is testimony is that TDCJ is so grossly

incompetent and so dangerous that the safety of all who enter there is in jeopardy.”

Gobert, 2011 WL 1505343 at *13. Such “expert” testimony has no relevance to
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this the ultimate issue of Gobert’s future dangerousness and a a consequence fails

to meet the reliability standard of Rule 702 and Daubert. The CCA’s failure to

apply the facts of Gobert in accordance with Daubert and its progeny is therefore

at total odds with well-settled federal law. See Gobert v. State, 2011 WL 5881601,

*6 (Tex. Crim. App. 2011) (holding the trial court did not err in admitting

Merillat’s testimony over Gobet’s Rule 702 objections).


      C.     Arguments and Authorities: 8th Amendment Objection


      The CCA’s holding that Merillat’s testimony was not a clear violation of the

Eighth Amendment is the result of a misapplication of the facts of this case to well-

settled federal precedent. There can be no disputing that Merillat’s testimony was

harmful. Merillat's relentless message to the jury was that TDCJ is a death trap,

and the only way to make sure that Appellant does not add to it is to kill him, since

TDCJ is totally ineffectual in safeguarding any of the many, many potential

victims who work and enter there. This argument is unconstitutional and irrelevant

because it has nothing to do with the individualized sentencing of Gobert.


      As Mr. Merillat slyly noted at the beginning of his testimony, no defense

attorney would ever call him as a witness, because his testimony would be bad

from the standpoint of any defense attorney, despite the occasional anecdote about

that one fellow who turned his life around after undergoing a “spiritual” change.
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Regardless, Merillat clearly knows, and anybody who reads his testimony knows,

that his testimony militates in favor of killing anybody facing the death penalty.

Once Mr. Merillat has testified about the Texas Seven, it is clear that his expert

opinion includes injecting as many specific horror stories as possible despite any

instruction or objection.


      As Mr. Anschutz stated in his motion, this Court has yet to decide whether

this kind of testimony meets the heightened standard of reliability required by the

Eighth Amendment in death penalty cases. A quick review of Mr. Merillat's

“many” (as he put it) cases shows that Mr. Anschutz is correct.


      In Estrada v. State. 313 S.W.3d 274, 286 (Tex.Crim.App. 2010), the State

confessed error based upon Merillat's erroneous testimony, and this Court

sustained that point of error. Merillat was again a rebuttal witness. When he

volunteered in Gobert's trial that the Court of Criminal Appeals had upheld his

testimony many times, he failed to mention his error or the confession of error in

this trial. Surely he was made aware of his “inadvertent” error because he testified

correctly about G3 status and capital life inmates in Gobert's trial.


      As noted by the United States Supreme Court in Jurek v. Texas, 428 U.S.

262 (1976), “[w]hat is essential is that the jury have before it all possible relevant

information about the individual defendant whose fate it must determine.” Id. at
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276. “[I]n capital cases the fundamental respect for humanity underlying the Eight

Amendment requires consideration of the character and record of the individual

offender and the circumstances of the particular offense as a constitutionally

indispensable part of the process of inflicting the penalty of death.” Woodson, 428

U.S. at 304, 96 S.Ct. at 2991 (citations omitted); see also Payne v. Tennessee, 501

U.S. 808, 111 S.Ct. 2597, 115 L.Ed.2d 720 (1991); Barefoot v. Estelle, 463 U.S.

880, 103 S.Ct. 3383, 77 L.Ed.2d 1090 (1983); Lockett, 438 U.S. at 608, 98 S.Ct. at

2966–67 (Burger, J., joined by Stewart, Powell, Stevens, JJ.); Bradley, 880 F.Supp.

at 285 (citing Jurek, 428 U.S. at 276, 96 S.Ct. at 2958). The anecdotal testimony

offered by Merillat to the jury in this case offends both the 8th Amendment and the

Court’s holding and Jurek. “Given a jury's role during the sentencing phase of a

capital case, ‘the matter pending before the jury’ is to determine whether or not the

defendant ought to receive the death penalty.” Id. at 249 (citing Caldwell v.

Mississippi, 472 U.S. at 320, 329 (1985)). The Eight Amendment “requires

consideration of aspects of the character of the individual offender ... as a

constitutionally indispensable part of the process of imposing the ultimate

punishment of death.” Woodson v. N. Carolina, 428 U.S. 280, 281 (1976). The

CCA’s application to the facts of this case therefore runs contrary to well-settled

federal precedent. See Gobert v. State, 2011 WL 5881601, *6 (Tex. Crim. App.



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2011) (holding that Merillat’s “background testimony” did not violate the 8th

Amendment requirement of individualized sentencing).

            C LAIM XIII: GOBERT’S 4TH, 5TH, 6TH, 8TH AND 14TH
            AMENDMENT RIGHTS WERE VIOLATED WHEN THE
            TRIAL COURT ERRED IN ADMITTING FUTURE
            DANGEROUSNESS TESTIMONY BY DR. RICHARD
            COONS DURING THE PUNISHMENT TRIAL.

            EXHAUSTION:

      This claim was properly preserved for federal review, having been presented

in Gobert’s direct appeal brief as Claim Two. See Gobet v. State, 2011 WL

1505343, *14-16 (April 11, 2011). The CCA denied relief on direct appeal as to

this claim. See Gobert v. State, 2011 WL 5881601, *6 (Tex. Crim. App. 2011).

ISSUE RESTATED: The CCA’s holding that Dr. Coon’s testimony rendering an
opinion as the issue of future dangerousness based totally on hypothetical scenarios
violates well settled federal precedent under Daubert, offends Gobert’s 8th
Amendment right to an individualized assessment of his future dangerousness and
was the product of an unreasonable analysis of the facts of this cause and how
those facts apply against the backdrop of well settled Supreme Court precedent.

A.     Facts Supporting Gobert’s Claim

      Gobert’s defense counsel objected to the testimony of Dr. Richard Coons on

the issue of future dangerousness (“doctor will be rendering an opinion as to future

dangerousness based on a hypothetical given to him by the State”). See Gobet,

2011 WL 1505343, *14. Trial counsel argued that under Kelly and Daubert. et

cetera, that Dr. Coons lacked specialized knowledge that would assist the jury in

understanding the evidence or determine a fact in issue in the Gobert’s punishment
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trial (“It will cause the jury to abandon their proper role and merely accede to his

professional opinion”) Gobet, 2011 WL 1505343, *14. Trial counsel also argued

that Dr. Coons was not sufficiently qualified by knowledge, skill, experience,

training, or education to render a reliable opinion about future danger. Id. (“in fact,

he does not have and has not propounded a sufficiently valid scientific technique or

theory that has been accepted as valid by the scientific community”). Gobert’s

counsel maintained that “psychiatry is not the study of the prediction of future

danger; it is, as he [Coons] has acknowledged, the study of mental disease and

mental disorders. Future dangerousness is not one of those. Basically his

qualifications do not relate to making such predictions.” Id. Defense counsel added

that Dr. Coons failed to identify any scientific literature or documentation to

support his purported technique. Id. (“He has not identified any potential rate of

error so that we know whether or not the opinion is reliable or useful. There really

are only a couple of folks that he had mentioned as experts in this areas to

potentially even evaluate his technique and is not certain of their - these other

people's techniques”). Gobert’s counsel added that:


      “[b]asically the scientific theory that he propounds is not a subject to
      adequate understanding by this Court. The opinion would be based
      merely upon speculation. The field of expertise that he claims to be
      relying on is not a legitimate one, and to the extent that he is a
      psychiatrist, the subject matter of this testimony is not within the
      scope of that field. Basically his testimony does not rely upon
      principles that are involved in the field of psychiatry. The information
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      - he has an inadequate factual basis to make such an opinion.
      Basically in balancing the probative value of his opinion with the
      prejudicial effect, it is clear that whatever probative value would be
      substantially outweighed by prejudice - the risk of prejudice, and that
      the jury will improperly use this opinion. The admission of this
      opinion before the jury would deny the defendant the right to due
      process, due course of law, ineffective (sic) assistance of counsel,
      imposition of cruel and unusual punishment as protected in the U.S.
      Constitution Amendments Five, Six, Eight, Fourteen, and Texas
      Constitution, Article I, sections 10 [and] 13, and also violate the
      requirement of heightened reliability imposed upon the Court by the
      Supreme Court in death penalty cases. As a result we would basically
      argue that this type of testimony fails the test under Kelly and Daubert
      and would ask that it be excluded.

(36 RR 252-54) (I CR 121-50).


      The trial court overruled Gobert’s objections and permitted Dr. Coons to

testify based upon imaginary scenarios (36 RR 255-56). Under cross-examination,

Dr. Coons was unable to point to any research or studies that supported as any of

his predictions as reliable and legitimate. To compound the illegitimacy of his

findings, Dr. Coons could not point to a single prior prediction that ultimately was

proven accurate (36 RR 279-80). Despite the hugely speculative nature of his

predictions, however, Dr. Coons testified that Gobert would be a future danger to

society unless the jury killed him. Id.


B.    Arguments and Authorities: Dr. Coon’s Opinion


      The Texas Court of Criminal Appeals held in this case that the trial court


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abused its discretion in admitting Dr. Coons’s opinion on future dangerousness, but

noted that the admission of said testimony amounted to harmless error. See Gobert,

2011 WL 5881601 at *7 (citing State v. Coble, 330 S.W.3d at 279-80). The CCA

concluded that:


      Given the overwhelming evidence of appellant's life-long penchant for
      violence, the circumstances of the capital murder, the evidence of his
      conspiracy to commit capital murder to effectuate his escape from jail,
      his own testimony concerning his prior violence in prison and toward
      anyone—including his own mother—who angers him, we are
      confident that this error did not affect appellant's substantial rights to a
      fair sentencing trial.

                                          …

      In this trial, unlike that in Coble, the jury was not considering the
      future dangerousness of a model prisoner. The evidence in this case
      showed that, during prior periods of incarceration, appellant had

      • attacked a fellow prison inmate with a hoe, gashing him in the back;

      • threatened to hit a prison guard with a hoe;

      • threatened to fight other prison guards;

      • gotten into “five or six” fights with fellow prison inmates;

      • gotten into “four or five” fights with fellow jail inmates;

      • developed inappropriate relationships with at least two female jail
      guards and manipulated them into providing him with contraband or
      special privileges;

      • plotted to murder a jailer and steal his car keys and car to effectuate
      appellant's escape;

      • plotted to kill any other inmates or jailers who might witness that
      planned escape; and
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      • manipulated his leg brace so that it could not lock and impede his
      mobility in the courtroom during his capital-murder trial.

                                         …

      Furthermore, the State did not emphasize or rely upon Dr. Coons's
      opinion in closing argument.
Id.

      The CCA’s holding that Dr. Coons’s testimony was harmless in this case is

the result of an unreasonable application of well-settled federal law to the facts of

this case. See Gobert v. State, 2011 WL 5881601, *7-8 (Tex. Crim. App. 2011).

      As noted by the United States Supreme Court in Jurek v. Texas, 428 U.S.

262 (1976), “[w]hat is essential is that the jury have before it all possible relevant

information about the individual defendant whose fate it must determine.” Id. at

276. “[I]n capital cases the fundamental respect for humanity underlying the Eight

Amendment requires consideration of the character and record of the individual

offender and the circumstances of the particular offense as a constitutionally

indispensable part of the process of inflicting the penalty of death.” Woodson, 428

U.S. at 304, 96 S.Ct. at 2991 (citations omitted); see also Payne v. Tennessee, 501

U.S. 808, 111 S.Ct. 2597, 115 L.Ed.2d 720 (1991); Barefoot v. Estelle, 463 U.S.

880, 103 S.Ct. 3383, 77 L.Ed.2d 1090 (1983); Lockett, 438 U.S. at 608, 98 S.Ct. at

2966–67 (Burger, J., joined by Stewart, Powell, Stevens, JJ.); Bradley, 880 F.Supp.

at 285 (citing Jurek, 428 U.S. at 276, 96 S.Ct. at 2958). Although the CCA

regarded Dr. Coons’s testimony as harmless in this case, the Texas court failed to
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consider how such testimony offended both the 8th Amendment and the Court’s

holding and Jurek. “Given a jury's role during the sentencing phase of a capital

case, ‘the matter pending before the jury’ is to determine whether or not the

defendant ought to receive the death penalty.” Id. at 249 (citing Caldwell v.

Mississippi, 472 U.S. at 320, 329 (1985)). The Eight Amendment “requires

consideration of aspects of the character of the individual offender ... as a

constitutionally indispensable part of the process of imposing the ultimate

punishment of death.” Woodson v. N. Carolina, 428 U.S. 280, 281 (1976). The

CCA’s application to the facts of this case therefore runs contrary to well-settled

federal precedent.


              C LAIM XIV: GOBERT’S 5TH, 6TH, 8TH AND 14TH
              AMENDMENT RIGHTS WERE VIOLATED TRIAL COURT
              OVERRULED HIS OBJECTIONS CHALLENGING THE
              CONSTITUTIONALITY OF TEXAS ARTICLE OF
              CRIMINAL PROCEDURE 37.071.

              EXHAUSTION:

      This claim was properly preserved for federal review, having been presented

at pages of the Gobert’s direct appeal brief as Claim Three. See Gobet v. State,

2011 WL 1505343, *15-29 (April 11, 2011). The CCA denied relief on direct

appeal as to this claim. See Gobert v. State, 2011 WL 5881601, *8 (Tex. Crim.

App. 2011).


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ISSUE RESTATED: The CCA’s holding that Article 37.071 is: 1) not “too
broad” to guarantee fair application of the death penalty; 2) an inadequate and
unconstitutional because the future dangerousness issue is submitted to the jury for
determination, but not set forth in the indictment; and 3) unconstitutional because it
permits unreliable evidence to suffice as the basis for a death verdict is all the
product of an unreasonable analysis of the facts of this cause and how those facts
apply against the backdrop of well settled Supreme Court precedent.

   A. Facts Supporting Gobert’s Claim

      In a pretrial hearing, the defense litigated what the defense referred to as

“several non-evidentiary motions” regarding the constitutionality of 37.071. After

the presentation of evidence, the judge overruled the motions after the defense

informed the Court he stood on those motions for argument, even though the trial

judge had read none of them and said as much (3 RR 4-6). At the commencement

of hearings the defense attorney stated, “This is on a Gore v. Bush motion, Your

Honor, the protection (sic) issue on 37.071 and its application on a statewide

basis.” (2 RR 5).


      The issues raised in one of the pretrial motions, as the State reiterated,

focused on whether future dangerousness should be considered by the grand jury

and included in the indictment as a element of the offense under Ring v. Arizona

and Apprendi v. New Jersey (3 RR 5-8). The trial court denied these motions (3

RR 8).


      Prior to that ruling, evidence was adduced as to whether the decision to seek

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the death penalty was arbitrary and capricious, due to such factors as the political

whims of the individual district attorney, or the financial ability of the county to

seek the death penalty, or the status of the victim as say, a sheriff’s captain (2 RR

9). The witnesses testified that there was no uniformity across the 254 counties of

Texas when it came to whether to seek the death penalty. One suggestion was to

give that authority to the grand jury rather than the district attorney.


      Texas attorney and board-certified specialist Gary Taylor testified as an

expert on capital litigation (3 RR 6). He testified that on a statewide perspective,

there is no “discernible standard applicable in the decision between who gets the

death penalty, and who doesn't” (2 RR 7). He testified that letting the grand jury

determine when to seek the death penalty would be one method of taking the

arbitrariness out of the decision to seek the death penalty (2 RR 8). In some

counties there is a committee that makes the decision to seek the death penalty; in

other counties it is left to the discretion of the individual district attorney (2 RR

10). Another suggestion Taylor made was to allow the AG to make the

determination pursuant to a certified policy as to whether to seek the death penalty

(2 RR 11).


      Texas Defender Service Director John Niland testified that there was no set

standard across the State when determining whether to seek the death penalty (2

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RR 16). He testified that the presence or absence of money and personnel was one

factor district attorneys use when deciding whether to seek the death penalty (2 RR

17). He stated that the Court of Criminal Appeals has declined to determine this

issue because they said they did not have enough information (2 RR 18). Mr.

Niland offered the opinion that future dangerousness as an element of the offense

should be determined by the grand jury under the Ring and Apprendi. as well as

Jones v. United States (2 RR 19). Another method, suggested by the Governor's

council in Illinois, the national Constitution Project, and the Massachusetts's

Governor's Council on Capital Punishment, was to set up committees in each

county, composed of individuals from diverse backgrounds, to make those

determinations (2 RR 19-20). Mr. Niland also expressed his concern that this was a

due process issue, and that capital defendants should be afforded the same due

process as non-capital defendants under the Eighth Amendment (2 RR 22).


      A third witness, Gerald Byington, a mitigation expert, testified that there is

no uniform standard or policy or principle by which it is determined, from county

to county, whether to seek the death penalty or not (2 RR 26). He cited factors such

as politics, money, court time and scheduling that go into determining whether to

seek the death penalty or not (2 RR 26).




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              John Stickels25, board certified criminal lawyer and Assistant Professor of

Criminology at UT Arlington, testified as well (2 RR 32-33). He testified that in

his studies he had determined that there are three main ways prosecutors prove

future dangerousness: (1) the facts of the crime; (2) psychiatric testimony; and (3)

the testimony of the “two guys from the special prosecution units in Huntsville,

Mr. Merillat (who testified in this case) and Mr. Smith, who come and testify about

future dangerousness” (2 RR 34).


              With regard to the psychological and psychiatric testimony, I have
              done extensive research of all of the academic - the published
              academic articles in psychiatry, psychology, criminology, criminal
              justice, sociology, and have not found a single peer reviewed article
              that supports the proposition that a psychologist or psychiatrist can
              accurately make a prediction of future dangerousness; in fact, I have
              found articles to the contrary - peer reviewed articles to the contrary
              that stand for the opposite proposition, that an opinion by a
              psychologist or a psychiatrist with regard to future dangerousness is
              not a valid or predictable opinion.... With regard to Mr. Merillat and
              Mr. Smith's testimony, there is no, again, published or accepted
              academic standards that apply to their testimony. Their testimony has
              not been subject to peer review. Their opinions have not been subject
              to peer review. Their methods to collect whatever data they have has
              not been subjected to peer review. There is nothing - no academic
              opinions that support their opinion about future dangerousness also....
              the American Psychiatric Association has long held that psychiatrists
              are not qualified to give opinions as to future dangerousness.... In my
              opinion, testimony by a psychiatrist or psychologist or by Mr. Merillat
              or Mr. Smith that a particular defendant will constitute a future danger
              to society is not based on any recognized scientific method, is not
              based on research and is, therefore - has not been subjected to peer
              review and is, therefore, unreliable.

25	  The	  same	  Mr.	  Stickles	  who	  acted	  as	  Mr.	  Gobert’s	  state	  capital	  habeas	  counsel	  in	  this	  case.	  	  
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(2 RR 35-37).


             Stickels testified that under Manson v. Brathwaite. 432 U.S. 98, 114 (1977),

the Supreme Court did not approve of juries making future dangerousness

determination based upon unreliable evidence (2 RR 38). It is Mr. Stickel’s

opinion that future dangerousness predictions are always unreliable and

inappropriate (2 RR 40). His suggestion was to remove future dangerousness from

the equation entirely and have juries, like in the federal system, find aggravating

factors beyond a reasonable doubt (2 RR 41).


             The defense filed numerous motions in support of its proposition that the

Texas death penalty statute is unconstitutional.26 In these collective motions,

defense counsel maintained that:


                          1. Section 19.02-19.03 of the Texas Penal Code was
                          unconstitutional (I CR 167);

                          2. Sections 19.02-19.03 of the Texas Penal Code violate the
                          Fifth, Sixth, Eighth and Fourteenth Amendments to the Federal
                          Constitution and Article I, Sections 3,10, 13, 19 and 29 of the
                          Texas Constitution because there is no ability by the jury to

26	  “Motion	  to	  Declare	  Section	  19.02-­‐19.03	  of	  the	  Texas	  Penal	  Code	  Unconstitutional”	  (I	  CR	  167);	  Motion	  to	  
Preclude	  the	  Death	  Penalty	  Due	  to	  the	  Grand	  Jury's	  Failure	  to	  Allege	  in	  the	  Indictment	  All	  Elements	  to	  Make	  the	  
Defendant	  Death	  Eligible”(I	  CR	  176);	  “Defendant's	  Objection	  to	  Penalty	  Phase	  Instructions	  to	  the	  Jury”	  (I	  CR	  182);	  
Motion	  (sic)	  Preclude	  Offer	  of	  Evidence	  of	  Extraneous	  Offenses	  (Ring	  v.	  Arizona)	  (I	  CR	  189);	  “Motion	  to	  Declare	  
Texas	  Death	  Penalty	  Statute	  to	  Be	  Unconstitutional”	  (III	  CR	  480);	  “Motion	  to	  Preclude	  the	  Death	  Penalty	  as	  a	  
Sentencing	  Option”	  (III	  CR	  493);	  “Memorandum	  in	  Support	  of	  Motion	  to	  Preclude	  Death	  Penalty	  as	  a	  Sentencing	  
Option”	  (III	  RR	  498);	  “Motion	  to	  Declare	  Texas	  Death	  Penalty	  Statute	  to	  Be	  Unconstitutional”	  (III	  CR	  542);	  “Motion	  
(sic)	  Preclude	  Death	  Penalty	  as	  a	  Sentencing	  Option	  and	  Declare	  Article	  37.071	  Unconstitutional”	  (IV	  CR	  800);	  
“Motion	  to	  Preclude	  Death	  Penalty	  as	  a	  Sentencing	  Option”	  (IV	  CR	  823);	  “Motion	  to	  Declare	  Texas	  Death	  Penalty	  
Statute	  to	  Be	  Unconstitutional”	  (IV	  CR	  836).	  
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     give effect to a sudden passion instruction in a case of self-
     defense, which was the defense in this case, absent jury
     nullification;

     3. The death penalty should be precluded in this case because
     the grand jury failed to make a finding in the Indictment as to
     all elements that made Gobert eligible for death (I CR 176); 4)
     Mr. Gobert’s Due process and Article I Section 10 of the Texas
     Constitution rights were violated because the grand jury failed
     to make a determination of those elements the jury must find to
     impose a death sentence.

     4. Mr. Gobert objected to the penalty phase instructions under
     Apprendi v. New Jersey. 530 U.S. 466 (2000) and Ring v.
     Arizona. 536 U.S. 584 (2002) to the jury because the charge
     requires the jury to return a verdict for conduct not charged by
     the grand jury, in particular future dangerousness (I CR 182);

     5. Mr. Gobert objectdd to the admissibility of evidence of
     extraneous offenses under Ring v. Arizona (I CR 189) (arguing
     that under the Fifth, Sixth, Eighth, and Fourteenth Amendments
     to the Federal Constitution, and under Articles 3, 10, 13, and 19
     of the Texas Constitution, as well as Ring, an indictment must
     allege all elements of a crime with which a defendant is
     charged, including the punishment special issues and
     extraneous offenses, even though Texas courts have rejected
     these arguments in the past);

     6. Mr. Gobert argued that the Texas death penalty statute is
     unconstitutional on the basis that is impossible to reliably
     predict future dangerousness (III CR 480);

     7. Mr. Gobert moved to peclude the death penalty as a
     sentencing option under Article 29 of the Texas Constitution,
     and Article 1.05, 1.06 and 1.09 of the Texas Code of Criminal
     Procedure because Article 37.071 fails to provide a mechanism
     as to who will determine against whom the death penalty is
     sought. Under Bush v. Gore's requirement of equal protection,
     the same method should be used in all 254 Texas counties. 531
     U.S. 98 (2000) (III CR 493);

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             8. Mr. Gobert objected to imposition of the death penalty under
             Furman v. Georgia. 408 U.S. 238, 359 (1972) (III RR 498);

      Gobert’s appellate counsel argued on direct appeal that “However many

motions were filed, the trial judge failed to read them between the time of the

original indictment in 2003 and the time of the hearing on them in January 2005.”

See Gobet, 2011 WL 1505343 at *23. Appellate counsel added that:


      This is an unusual case in that the trial judge declined to read the
      motions he was ruling on, and said so. The prosecutor only argued the
      Ring. Apprendi argument, which is one of several raised in this
      multitude of “non-evidentiary pretrial motions,” upon which defense
      counsel relied in lieu of argument.

      Since the trial judge shirked his duty to read the motions presented to
      him, this Court is not bound by his decision on these motions.
      Furthermore, unlike past cases, this case presents this Court with an
      abundance of evidence with which to determine that Article 37.071
      causes the death penalty to be arbitrarily, capriciously, wantonly and
      freakishly applied.

Id.

As a consequence, the state trial court failed to consider and apply well-settled

Supreme Court precedent to the facts of this case.


B. Argument and Authorities: Inadequacy and unconstitutionality of
prosecutorial discretion in determining whether to seek the death penalty:

      As was noted supra by the defenses expert witnesses, prosecutorial

discretion, and the factors that go into it, is simply too broad to guarantee that the

death penalty will be fairly and evenly applied in all 254 Texas counties. As Mr.

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Niland pointed out in his Memorandum in support of trial counsel's “Bush” motion,

on a per capita basis as well as a racial basis, there are wide discrepancies between

which county most often seeks the death penalty, if at all, as well as who gets the

death penalty based upon race (III CR 517-19). The other witnesses talked about

discrepancies based upon politics, budget, staffing, whether the determination is

made by an office holder or a group - all factors that have nothing to do with the

individual culpability of the accused. It should be noted that CCA has rejected

similar arguments in the past citing Bush v. Gore. 531 U.S. 98 (2000). Appellate

counsel conclude argument as to this claim by noting that the CCA has repeatedly

rejected this argument in prior opinions. See Gobert, 2011 WL 1505343 at *28

(citing Busby v. State. 253 S.W.3d 661, 667 (Tex. Crim. App.), cert, denied, 129

S.Ct. 625 (2008); Rayford v. State. 125 S.W.3d 521, 533-534 (Tex. Crim. App.

2003)). The CCA reaffirmed its prior position by again denying relief on this

ground in this case. See Gobert, 2011 WL 5881601 at *8. The CCA’s holding as to

this issue is the result of a misapplication of the facts of this case to well-settled

federal law.


      C.    Arguments and Authorities: Inadequacy and unconstitutionality
of submitting the future dangerousness issue to the jury:

      Mr. Gobert’s appellate counsel argued that the grand jury forum would be

the best venue to submit the issue of future dangerousness so that that it would be

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an element of the indictment and subject to the reasonable doubt standard under

Ring and Apprendi. Appellate counsel conceded, however, that the CCA has

previously rejected any argument that these cases have application to 37.071. See

Gobert, 2011 WL 1505343 at *28 (citing Rayford v. State. 125 S.W.3d 521, 534

(Tex. Crim. App. 2003). The CCA reaffirmed its prior position by again denying

relief on this ground in this case. See Gobert, 2011 WL 5881601 at *8. The CCA’s

holding as to this issue is the result of a misapplication of the facts of this case to

well-settled federal law.


     D.     Argument and Authority: Unreliability and unconstitutionality of
the types of evidence currently used by prosecutors to prove death-
worthiness:

      Mr. Gobert’s appellate counsel also raised a claim concerning the quality of

evidence the State may rely upon in proving a “death-worthiness” case.


      As was discussed, particularly by defense expert Dr. Stickel, evidence
      currently being used to obtain the death penalty once that decision is
      made is wholly unreliable, including psychiatric, and most
      particularly, in this case, the testimony of Mr. Merillat and Dr. Coons.
      Mr. Merillat's testimony is largely anecdotal and has nothing to do
      with the defendant's individual moral culpability, which was discussed
      in more detail in Point of Error Number One, supra. Mr. Merillat's
      testimony is basically that TCDJ is a violence-filled and dangerous
      place, and could therefore never militate in favor of doing anything
      other than killing the defendant. As he chuckled at the time of his
      testimony, defense lawyers never use him once they hear what he had
      to say. This Court has previously approved the use of psychiatric
      testimony based upon hypotheticals, as well as the testimony of Mr.
      Merillat. Mr. Merillat's testimony was previously approved as “expert-
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      educator” rebuttal testimony under Rule 702, where a defense expert
      had argued that opportunities for violence in TDCJ are low, and where
      the trial court ordered that specific instances of misconduct be
      excluded, in Coble v. State, 330 S.W.3d 253, 287-290 (Tex.Crim.App.
      2010). Here, the witness persisted in interjecting specific instances of
      misconduct and egregious facts, over the objections of both the
      prosecution and the defense.

      Dr. Coons' testimony was previously rejected by this Court as not
      even rising to the level of reliable TRE 702 expert evidence.

      While these attacks on Article 37.071 individually have been rejected,
      together they form a powerful basis from which to see that Article
      37.071 invites nothing but unfairness in determining who gets the
      death penalty, how that issue is determined, and the type of evidence
      typically relief on to make that determination.

See Gobert, 2011 WL 1505343 at *28.


      The CCA rejected this claim on appeal, holding in part that “the fact that

some prosecutors, in some cases, have offered some evidence that might be

improper does not render the statute unconstitutional in all its applications.” See

Gobert, 2011 WL 5881601 at *8.


      And appellant has failed to show that Article 37 .071 was
      unconstitutional as applied to him as we have already held that (1) the
      trial judge did not abuse his discretion in admitting Mr. Merillat's
      testimony, and (2) the erroneous admission of Dr. Coons's opinion
      testimony in this case was harmless. Appellant's third point of error is
      overruled.

Id.

As restated supra, the CCA’s holding as to this issue is the result of a

misapplication of the facts of this case to well-settled federal law.
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             C LAIM XV: GOBERT’S 5TH, 6TH AND 14TH AMENDMENT
             RIGHTS WERE VIOLATED WHEN HE RECEIVED
             INEFFECTIVE ASSISTANCE OF COUNSEL UNDER
             STRICKLAND AS A RESULT HIS TRIAL COUNSEL
             TELLING THE JURY THAT HE ADVISED HIS CLIENT
             NOT TO TESTIFY ON HIS OWN BEHALF, THEREBY
             UNDERMINING HIS RIGHT TO TESTIFY.

             EXHAUSTION:

      This claim was properly preserved for federal review, having been presented

in Gobert’s direct appeal brief as Claim Six. See Gobet , 2011 WL 1505343 at *32.

The CCA denied relief on direct appeal as to this claim. See Gobert, 2011 WL

5881601 at *11.

ISSUE RESTATED: The CCA’s holding that trial counsel’s introductory
questions expressing concern about Gobert’s decision to testify and subject himself
to cross-examination was not constitutionally deficient performance under
Strickland is the product of an unreasonable application of the facts of this case to
settled Supreme Court precedent.

      A. Facts Supporting Gobert’s Claim

      Mr. Martinez: At the end of the punishment phase, appellant's
      counsel informed the trial judge, outside the presence of the jury, that
      appellant insisted on exercising his right to testify (38 RR 38). All
      three defense counsel were concerned and registered their opposition,
      on the record, to appellant's decision. Mr. Martinez: He is wanting to
      testify on the grounds that he be able to plead fro his life without
      having to be cross-examined. I already told him that he is going to be
      cross-examined, and because of the rules in Teas he will be allowed—
      they will be allowed to go into everything, reopen everything,
      question him about every issue on this case, and it is not going to be a
      good thing. I am recommending that he not do it, and he would be
      violating my advice, he would be violating the advice of co-counsel,
      both co-counsels. I just think it is not—if I had the legal authority to
      say he cannot, if I had the authority, I would exercise that authority to
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      stop him.

      The Court: I don’t think you do. I think he has a constitutional right
      to testify if he wants to.

      Mr. Martinez: Right. Even though I think it is undermining his—also
      his right under the Sixth Amendment to have an effective lawyer.

      The Court: It is his call, I mean so ...

      Mr. Martinez: Your call, sir.

                                          …

      Mr. Anschutz: Judge, just for the record, I will add my word to Mr.
      Martinez’s. I have strenuously advised the defendant against taking
      the stand.

Id.

There can be no doubt that defense counsel made a clear and sufficient

record, outside the presence of the jury, as to their opposition to Gobert

taking the stand. It was therefore totally unnecessary and reckless of counsel

to engage Gobert in the same line of questioning in front of the jury. It

served no purpose other than to alienate Gobert from his defense counsel

team in the eyes of the jury.


      When lead counsel began his direct examination of Gobert before the jury,

he acknowledged his disagreement with appellant’s decision to testify and

characterized appellant’s decision to plead for his life as one that would subject

him to “dehumanization” by the prosecutor (38 RR 40).


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      Once examination commenced, Mr. Martinez said, “Let me just go through

some ground rules with you, okay, because you and I don't necessarily agree with

this, correct? Is that right?” Appellant responded, “Yes, sir, we don't agree” (38 RR

41). No sound strategy can be raised that would justify such comments by counsel.


      During direct examination, Mr. Martinez focused on Gobert’s childhood and

certain mitigating factors related to childhood abuse 38 RR 41-114). Mr. Gobert

was thereafter subjected to a vigorous cross-examination by the district attorney

(38 RR 115-208).


      B. Argument and Authorities


      Certain constitutional rights are so fundamental that they are deemed

personal to a defendant, and he alone may decide whether these rights will be

exercised or waived. United States v. Curtis, 742 F.2d 1070, 1076 (7th Cir. 1984).

In Wright v. Estelle, 572 F.2d 1071, 1077–80 (5th Cir.1977) (en banc ), Judge

Godbold, dissenting from the majority decision, which assumed the existence of a

personal constitutional right to testify for the purpose of applying a harmless error

analysis to the denial of that right, concluded that the right to testify in one's own

behalf also is of constitutional dimension, is personal to the defendant, and may not

be waived by counsel under the rubric of trial strategy.



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      Although the exercise of certain constitutional rights, such as a defendant's

Sixth Amendment right to present evidence and witnesses on his behalf, are subject

to control and direction by defense counsel, the decision whether the defendant

will testify falls within this category. See Wainwright v. Sykes, 433 U.S. 72, 93 n.

1, (1977) (Burger, J., concurring) (“Only such basic decisions as whether to plead

guilty, waive a jury, or testify in one's own behalf are ultimately for the accused to

make.”). See also ABA Standards for Criminal Justice, The Defense Function § 4–

5.2 (1980).

      A defendant’s personal right to forego the assistance of counsel and conduct

his own defense, recognized in Faretta, also encompasses his personal right to

testify in his own behalf as a part of that defense. See Faretta v. California. 422

U.S. 806 (1975). That a defendant's decision to do so may be unwise from a

tactical standpoint also may be said of a defendant's personal decision to proceed to

trial or to invoke his right to a trial by jury. But, as Judge Godbold put it, “[t]he

wisdom or unwisdom of the defendant’s choice does not diminish his right to make

it.” Estelle, 572 F.2d at 1079.


      When a defendant, such as Gobert, asserts that he desires to exercise his

constitutional right to testify truthfully, counsel's duty is to inform the defendant

why he believes this course will be unwise or dangerous. Curtis, 742 F.2d at 1076.

“If a defendant insists on testifying, however, irrational that insistence might be
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from a tactical viewpoint, counsel must accede.” Id. That is the extent, however, of

counsel’s obligation in this respect. To go to the length, as Mr. Martinez did in the

represent case, of essentially making Gobert look like a fool in front of the jury for

exercising that right served no purpose. As a consequence, trial counsel violated

Gobert's 5th, 6th and 14th Amendment rights and rendered ineffective assistance of

counsel.


      If counsel would have limited his comments regarding Gobert’s decision to

testify to confines of the trial judge and the State, his conduct would most certainly

by justified as sound action. But to interject such self-serving comments about

Gobert’s decision to testify in the presence of the jury was an inexcusable act by

counsel that did nothing to help his client’s case. This behavior by trial counsel

falls below prevailing norms established for trial counsel, particularly in a death

penalty case. Moreover, there can be doubt that counsel’s conduct had an adverse

effect on the outcome of the punishment trial. As a consequence, Gobert has

satisfied both the cause and prejudice prongs of Strickland.


      On appeal, the CCA attempted to offer cover for Mr. Martinez’s lapse in

judgment by suggesting that his “introductory colloquy … set the stage for the

beginning of counsel’s impassioned closing argument at punishment: ‘Milton

Dwayne Gobert wanted his opportunity to come up here and basically ask each one

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of you, don’t take my life.’” See Gobert, 2011 WL 5881601 at *11 (“the record in

this case reflects that counsel’s apparent strategy was a reasonable one: he was

framing appellant’s decision to testify and plead for his life as something he felt so

strongly about that he was willing to risk the consequences of a merciless cross-

examination”). The CCA also added that this strategy was in keeping with the

Eight Circuit’s holding in Noel v. Norris, 322 F.3d 500 (8th Cir. 2003) (finding that

counsel’s statement during direct examination that his client—a capital-murder

defendant—was testifying against counsel’s advice “was designed to impress the

jury with [the defendant’s] sincerity”).


      The CCA’s holding, however, runs contrary to well established federal law

in this respect and was the product of a misapplication of the facts of this case to

said law.


             C LAIM XVI: GOBERT’S 4TH AND 14TH AMENDMENT
             RIGHTS WERE VIOLATED BECAUSE THE SEARCH
             WARRANT USED TO SEARCH HIS HOME AND OBTAIN
             HIS DNA, ABSENT THE ILLEGALLY OBTAINED
             MATERIAL FROM HIS PREVIOUSLY SUPPRESSED
             CONFESSION, LACKED SUFFICIENT PROBABLE
             CAUSE.

             EXHAUSTION:

      This claim was properly preserved for federal review, having been presented

in Gobert’s direct appeal brief as Claim Seven. See Gobert , 2011 WL 1505343 at

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*34. The CCA denied relief on direct appeal as to this claim. See Gobert, 2011 WL

5881601 at *12.

ISSUE RESTATED: The CCA’s holding that after excising the Gobet’s
confession, there was still sufficient probable cause in the search warrant affidavits
to support the second search of his apartment and the search to obtain his DNA, is
the product of an unreasonable application of the facts of this case to settled
Supreme Court precedent.

   A. Facts Supporting Gobert’s Claim

      On direct appeal, Gobert argued that the trial judge erred in failing to grant

his motion to suppress evidence of his DNA and items taken from his apartment

and car under four separate search warrants. See Gobert, 2011 WL 5881601 at *12.

He argued that the first two affidavits did not establish probable cause to search

and the second two affidavits were based, in part, on his illegally obtained

confession. Id. He claimed that, without the inclusion of those statements, the

magistrate lacked a substantial basis for concluding that there was probable cause

to search appellant's apartment or obtain his DNA. We conclude that all four

affidavits contain sufficient, lawfully obtained, information to support a finding of

probable cause to search.


      State's Exhibits (“SX”) 5 and 6 are the search warrants originally obtained to

search Appellant's apartment and obtain his DNA on October 7, 2003, the day after

the murder. After the Appellant was illegally questioned, second search warrants

were obtained on October 15, 2003, using the illegally obtained material, in
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addition to the original allegations, to establish probable cause. SX 7 and 8.


      The defense objected to the search warrants as lacking probable cause (11

RR 4). SX 5 and 6 are for Appellant's car and home. SX 7 and 8 are for Appellant's

home and his DNA. Affidavits executed on October 15, in paragraphs 4 and 5,

contain information from the confession suppressed by the trial judge (11 RR 31).

The trial court denied the motion to suppress, finding that SX 5 and 6 had

sufficient information to support probable cause (12 RR 4-7).


      Objects obtained in with these search warrants includes bloody shoes and

gloves with the complainant's DNA on them. All items collected with the search

warrants are specified in the lists attached to those exhibits and include the

defendant's DNA.


      At a pretrial hearing, the trial judge granted Gobert's motion to suppress his

confession. See Gobert, 2011 WL 5881601 at *12. The judge found that, at the

beginning of the interview, appellant had invoked his Fifth Amendment right to

counsel, thus the detectives violated his Miranda rights in continuing to question

him after that Invocation. See State v. Gobert, 275 S.W.3d 888, 889 (Tex. Crim.

App. 2009) (upholding the trial court’s decision on interlocutory appeal from the

State). Gobert then filed a motion to suppress evidence obtained from four separate

search warrants.
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      At the suppression hearing, Officer Fuentes testified that he prepared

affidavits on October 7, 2003, to search appellant's apartment and car. He drafted

those affidavits and search warrants—State's Exhibit 5 & 6—at the time that

appellant was being interviewed by others, and he did not rely upon any

information from that ongoing interview. See Gobert, 2011 WL 5881601 at *12. In

his affidavit, Officer Fuentes relied upon information


      • from Demetrius that the murderer was “a male, not white, with a shaved
      head and mustache wearing a striped shirt and silver shorts,” and
      Demetrius's statement that the murderer put his mother's purse inside a black
      bag that the man brought with him;

      • from Christina Pocharansang that she suspected appellant was the murderer
      and her report that appellant had assaulted her the previous month, so she
      called Ms. Cotton to help her secretly move out of appellant's apartment, that
      Ms. Cotton had several friends help her move out, but in the process “they
      stole some of Gobert’s property”;

      • that appellant had open arrest warrants for parole violations and
      assault;

      • that when officers went to arrest appellant at his apartment, the
      manager showed them appellant's blue Taurus car;

      • that when officers arrested appellant, they saw what appeared to be
      blood in several places on the living room carpet;

      • that, after arresting appellant, one of the officers looked into
      appellant's blue Taurus and saw “what appeared to be blood on the
      steering column and on the driver's door lock”;

      • that, after arresting appellant, the officers saw knife cuts on
      appellant's hands;

      • from appellant's brother's girlfriend that appellant arrived at their

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      apartment shortly after the murders to take a shower and when he
      arrived he was carrying a black duffel bag.

See Gobert, 2011 WL 5881601 at *12-13.


      The CCA reasoned that Officer Fuentes went through all of this information

and verified that none of it came from Gobert. Id. at 13. The magistrate found

probable cause to search both appellant's apartment and car based on this

information and officers conducted those searches, under warrant, the next day. Id.

They seized numerous items of evidentiary value.


      Detective Burgh then compiled a second search warrant for appellant's

apartment on October 15, 2003. Id. This affidavit included the same information as

that in the first two affidavits, but added some information from Gobert's

confession as well. The only evidence seized under this third warrant was a black

and blue bag with toiletries in it. Id. Det. Burgh also compiled a November 5,

2003, search warrant and affidavit to collect appellant's DNA. Id. That affidavit

included the same information that was in the October 7th affidavits as well as

information from Gobert's confession. Id.


      The trial judge overruled the motion to suppress evidence and entered

findings that the first two search warrant affidavits contained sufficient facts to

establish probable cause and the second two affidavits contained sufficient facts to


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establish probable cause, even after appellant's illegally obtained statements were

excluded. Id. The CCA affirmed the trial court’s finding on direct appeal. Id.


   B. Argument and Authorities


      The cornerstone of the Fourth Amendment is that a magistrate may not issue

a search warrant without first finding “probable cause” that a particular item will

be found at a particular location. Probable cause for a search warrant exists if,

under the totality of the circumstances presented to the magistrate, there is at least

a “fair probability” or “substantial chance” that contraband or evidence of a crime

will be found at the specified location. Illinois v. Gates. 462 U.S. 213, 238, 243 n.

13 (1983). Probable cause for a search warrant does not require that, more likely

than not, the item or items in question will be found at the specified location. Texas

v. Brown, 460 U.S. 730, 742 (1983). In his determination of whether probable

cause exists, the magistrate may interpret the probable cause affidavit in a non-

technical, common-sense manner and he may draw reasonable inferences from it.

Illinois v. Gates. 462 U.S. at 235-38; Hankins v. State. 132 S.W.3d 380, 388 (Tex.

Crim. App. 2004).


      The duty of a reviewing court, including a reviewing trial court, is simply to

ensure that the magistrate had a substantial basis for concluding that probable

cause existed. Illinois v. Gates. 462 U.S. at 238. This “substantial basis” standard
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of review “does not mean the reviewing court should be a rubber stamp but does

mean that the magistrate's decision should carry the day in doubtful or marginal

cases, even if the reviewing court might reach a different result upon de novo

review.” W. LaFave, Search and Seizure: A Treatise on the Fourth Amendment §

11.7(C)) at 452 (4th ed. 2004 & Supp. 2009-2010) (internal punctuation omitted)

(citing cases); Flores v. State. 319 S.W.3d 697 (Tex. Crim. App. 2010).


      At the time the original search warrants, SX 5 and 6 were drawn up, there

was a lot of circumstantial evidence included, but the crux of the affidavits was

that Gobert's former girlfriend, Christina, thought he might be the killer. It was just

a guess. There was no other evidence specifically tying Gobert to the murder. It

was in affidavits 7 and 8 that the evidence tying Gobert to the murder was

included, but that evidence was illegally obtained and suppressed, first by the trial

court and then in State v. Gobert 275 S.W.3d 888 (Tex. Crim. App 2009).

Therefore, the fruits of all the search warrants in this case were fruits of the

poisonous tree which should be suppressed. Wong Sun v. United States, 371 U.S.

471, 488 (1963).       The CCA’s holding to the contrary is the result of a

misapplication of the facts of this case to well-settled federal law.




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                                       C ONCLUSION

           As this petition demonstrates, Petitioner Gobert’s rights under the federal

constitution were violated, unremedied by the Texas courts.

                                  RELIEF REQUESTED



Prayer for Relief



     WHEREFORE, Petitioner respectfully prays this Court:



1.        Order that Petitioner be granted leave to conduct discovery pursuant to Rule 6

of the Rules Governing § 2254 Cases and permit Gobert to utilize the processes of

discovery set forth in Federal Rules of Civil Procedure 26-37, to the extent

necessary to fully develop and identify the facts supporting his petition, and any

defenses thereto raised by the Respondents’ Answer;



     2.    Order that upon completion of discovery, Gobert be granted leave to amend

his petition to include any additional claims or allegations not presently known to

him or his counsel, which are identified or uncovered in the course of discovery

and that Devoe be granted to leave to expand the record pursuant to Rule 7 of the


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Rules Governing § 2254 Cases to include additional materials related to the

petition;



  3.   Grant an evidentiary hearing pursuant to Rule 8 of the Rules Governing §

2254 Cases at which proof may be offered concerning the allegations of this

petition;



  4.   Issue a writ of habeas corpus to have Gobert brought before it to the end that

he may be discharged from his unconstitutional confinement and restraint;



  5. Grant such other relief as may be appropriate and to dispose of the matter as

law and justice require.

       WHEREFORE, PREMISES CONSIDERED, Petitioner Gobert asks this

Court to hold hearings, make its findings of fact and conclusions of law, and find

that he was denied rights. He requests the Court to vacate his conviction and issue

a writ to the Respondent, or the warden of the Polunsky Unit, ordering release of

Gobert from custody, or alternatively, to reverse Gobert’s conviction and order a

new trial, or alternatively, to vacate his sentence of death and order a new trial on

sentencing.

                                       Respectfully submitted,

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                                       COURT APPOINTED LAWYERS FOR
                                       PETITIONER GOBERT

                              CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing Petition for Writ of

Habeas Corpus was served on all counsel of record by filing on the ECF System on

this 8th day of March 2016.



                                       _________________________________
                                       Seth Kretzer

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                                 V ERIFICATION

      As a representative for the petitioner, I verify that the foregoing is true and

correct to the best of my knowledge.

                                       Respectfully submitted,




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